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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK


   SUBHASH PATEL, Individually and On            Case No. 1:21-cv-04606-MKB-MMH
   Behalf of All Others Similarly Situated,

                                   Plaintiff,    AMENDED CLASS ACTION COMPLAINT
                                                 FOR VIOLATIONS OF THE
                        v.                       FEDERAL SECURITIES LAWS

   KONINKLIJKE PHILIPS N.V., FRANS
                                                 JURY TRIAL DEMANDED
   VAN HOUTEN, and ABHIJIT
   BHATTACHARYA,

                                   Defendants.
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          Lead Plaintiff Richard Sun and Plaintiff Subhash Patel (“Plaintiffs”), individually and on

  behalf of all others similarly situated, by Plaintiffs’ undersigned attorneys, for Plaintiffs’ complaint

  against Defendants, alleges the following based upon personal knowledge as to Plaintiffs and

  Plaintiffs’ own acts, and information and belief as to all other matters, based upon, inter alia, the

  investigation conducted by and through Plaintiffs’ attorneys, which included, among other things,

  a review of the Defendants’ public documents, conference calls and announcements made by

  Defendants, United States (“U.S.”) Securities and Exchange Commission (“SEC”) filings, wire

  and press releases published by and regarding Koninklijke Philips N.V. (“Philips” or the

  “Company”), communications with former employees, analysts’ reports and advisories about the

  Company, and information readily obtainable on the Internet. Plaintiffs believe that substantial

  additional evidentiary support will exist for the allegations set forth herein after a reasonable

  opportunity for discovery.

                                     NATURE OF THE ACTION

          1.      This is a federal securities class action on behalf of a class consisting of all persons

  and entities other than Defendants that purchased or otherwise acquired Philips securities between

  February 23, 2016 and November 12, 2021, both dates inclusive (the “Class Period”), seeking to

  recover damages caused by Defendants’ violations of the federal securities laws and to pursue

  remedies under Sections 10(b) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange

  Act”), codified as amended, 15 U.S.C. §§ 78j(b), 78t(a), and Rule 10b-5 promulgated thereunder,

  17 C.F.R. § 240.10b-5, against the Company and two its top officials.

          2.      Throughout the Class Period, Philips manufactured several popular Bi-Level

  Positive Airway Pressure (Bi-Level PAP), Continuous Positive Airway Pressure (CPAP), and

  mechanical ventilator devices. Many of these devices utilized polyester-based polyurethane (PE-

  PUR) foam (the “Foam”) for sound abatement purposes.


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         3.      These devices are life-saving for many. Throughout the Class Period, Philips sold

  millions of these devices, all the while touting their safety.

         4.      However, there was a problem known to Defendants, but undisclosed to the public.

  The Foam that was in these devices could degrade. Once the Foam degraded, it could break up

  into particles which then could enter a device’s air pathway and then be ingested or inhaled by the

  user. The degrading Foam could also “off-gas certain chemicals” that are known to cause

  headache, dizziness, irritation (eyes, nose, respiratory tract, skin), hypersensitivity, nausea,

  vomiting, and that possess other toxic properties with carcinogenic effects.

         5.      By the end of 2015 at the latest, Philips had received multiple complaints about the

  Foam degradation. Many of the complaints came from users who detected the presence of black

  debris or particles within the airpath of their machines. Philips later admitted it had received

  reports of headache, upper airway irritation, cough, chest pressure and sinus infection associated

  with use of devices with Foam from consumers. Philips even emailed the supplier of the Foam

  about the issue, yet the Complaint failed to warn the public at large.

         6.      Over the years, complaints kept pouring into Philips. And Philips generated

  internal reports related to these complaints – reports that documented types of harm that could be

  caused by the Foam degrading. Philips did not share these reports with the public, however. The

  Company also did not adequately address any of the issues raised in these reports. For the most

  part – with the possible exception of a part replacement to one type of marketed device (a

  procedure not reported to the FDA, as it was required to be under FDA regulations) – Philips kept

  all devices utilizing the Foam on the market without any changes.

         7.      Before mid-2021, Philips never disclosed to the public there was any issue with the

  Foam in its Bi-Level PAP, CPAP, and mechanical ventilator devices. It stated repeatedly it was




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  complying with all FDA regulations. It also promoted its products as safe, despite knowing

  otherwise.

         8.      Philips not only continued to tout the products with Foam that were already on the

  market, but it put new products containing the Foam on the market. At the height of the pandemic,

  it even received emergency authorization from the United States Food and Drug Administration

  (the “FDA”), the regulatory body overseeing this type of product, for a ventilator that contained

  this Foam. This same ventilator, the E30, was among the products that would need to be recalled

  less than fourteen months later.

         9.      On April 26, 2021, as part of its Quarterly Report for Q1 2021, released well before

  market close, Philips disclosed for the first time, under a section entitled “Regulatory Update,”

  that device user reports had led to a discovery that the Foam posed health risks to its users.

  Specifically, Philips disclosed that “the [PE-PUR] foam may degrade under certain circumstances,

  influenced by factors including use of unapproved cleaning methods, such as ozone[], and certain

  environmental conditions involving high humidity and temperature.” A reserve of EUR 250

  million was taken solely for repair of units in the field. If the devices were not repaired, the Foam

  could get caught in airways, possibly causing these life-saving devices to fail; additionally, users

  could ingest the Foam or ingest carcinogenic chemicals being outgassed from the Foam as it

  degrades.

         10.     In April 2021, the Company stated “[t]he majority of the affected devices are in the

  first-generation DreamStation product family” and mentioned no other product.

         11.     On this news – which did not inform the market of the full extent of the issues

  plaguing its devices – the stock closed down $2.28 to end the day at $57.74 on April 26, 2021.




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         12.     Then, on June 14, 2021, the other shoe dropped. Philips issued a major recall of 20

  products, including some of its popular sleep apnea DreamStation products and the E30 (in totality,

  the “Devices”). Philips had sold millions of the recalled Devices.

         13.     These were the Devices Philips recalled, but the Company did not indicate why it

  was only these products that were selected. Defendants stressed the recall was voluntary and pro-

  active. Defendants sought to spin the recall as something that had occurred because of recent

  testing. Van Houten, CEO of Philips, was quoted in the release as saying: “In consultation with

  the relevant regulatory agencies and in close collaboration with our customers and partners, we are

  working hard towards a resolution, which includes the deployment of the updated instructions for

  use and a comprehensive repair and replacement program for the affected devices. Patient safety

  is at the heart of everything we do at Philips.”

         14.     On news of the recall, Philips’ stock price fell $2.25 per share, or 3.98%, to close

  at $54.25 per share on June 14, 2021.

         15.     On July 22, 2021, the FDA identified this as a Class I recall, the most serious type

  of recall. According to the FDA website, FDA Class I recalls are only identified in “a situation in

  which there is a reasonable probability that the use of or exposure to a violative product will

  cause serious adverse health consequences or death.”

         16.     Users bringing lawsuits against Philips have alleged they developed multiple types

  of cancers as a result of their use of the Devices, including Bladder Cancer, Brain Cancer, Breast

  Cancer, Kidney Cancer, Leukemia, Liver Cancer, Lung Cancer, Lymphatic Cancer, Multiple

  Myeloma, Papillary Carcinoma, non-Hodgkin lymphoma, Prostate Cancer, Stomach Cancer and

  Thyroid Cancer. The chemicals in the Foam include isocyanates, some of which are compounds

  classified as potential human carcinogens and known to cause cancer in animals, according to the




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  Occupational Safety and Health Administration. They also cause asthma and lung problems and

  may have additional impact on the eyes, nose, throat and skin.

         17.     On July 26, 2021, as part of the release of its second quarter 2021 earnings, Philips

  reported it would need to take an additional EUR 250 million reserve, for a total of EUR 500

  million, to account for the recall. It also would not be taking new sleep system orders during the

  period in which it needed to repair and/or replace the impacted units. On a related July 26, 2021

  earnings call, van Houten signaled just how much of a loss this recall was for the Company, noting

  that even before Covid (when sales increased), “[t]he Sleep business is €1.1 billion, of which

  approximately 60% is systems, and 40% is masks and consumables. So then you can do your math

  and take out 60% of the systems as lost revenue.”

         18.     On this news, the stock fell $1.80 per share, or 3.75%, from a close of $47.94 on

  July 23, 2021 to a close of $46.14 on July 26, 2021.

         19.     But it was not until November 2021 that the market truly discovered the reality of

  the situation. Philips had been burying complaints for years – from its users, from the market at

  large and even from the FDA.

         20.     On November 12, 2021, the FDA took the unusual step of reporting lengthy

  findings of its site investigation of Philips Respironics (“FDA Form 483”). FDA Form 483

  documents years of malfeasance by Philips and, additionally, the inadequacy of even the recall

  and the reported replacement procedures. In the FDA Form 483 there were multiple damning

  observations about Philips.

         21.     In broad strokes, as detailed more fully below, the FDA site inspector made eight

  over-arching observations.




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          22.    Observation 1 was that Philips’ “risk analysis is inadequate” because the Company

  did not properly document why some devices were being recalled and not others; received several

  complaints beginning no later than 2015; and simply did not perform the proper analyses related

  to any risk posed by the Foam degradation—including not instituting a formal investigation until

  June 2019.

          23.    Further, as the second observation in the FDA Form 483, the FDA noted that Philips

  had not established proper procedures for corrective and preventive action and it seemed that

  Philips was just handling matters (or not handling matters) as suited the Company.

          24.    With Observation 3, the FDA Form 483 took Philips to task because the limited

  analysis the Company did conduct about Foam degradation was performed as if the Devices were

  used by people with healthy lungs and bodily functions, which is not usually the case.

          25.    Additionally, with Observation 4, the Company said even the select corrections that

  Philips had developed (after years of ignoring the issue) “were not adequately verified, reviewed,

  or validated before implementation.”

          26.    Observation 5 centered on the fact that Philips had not reported to the FDA, as

  required, a corrective field action on Trilogy ventilator devices that it had announced internally in

  2018.

          27.    Observation 6 explained that Philips management was aware of the Foam

  degradation issues and failed to properly react to it. Here, the FDA noted that the issue was

  discussed at several meetings attended by executives. Yet Philips continued to leave their potential

  harmful products on the marketplace – even touting them repeatedly during the pandemic.

          28.    Observations 7 and 8 both focused on different aspects of Philips’ failed quality

  control procedures. With Observation 7, FDA Form 483 focused on the fact that Philips had no




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  documentation that established quality requirements regarding the Foam. With Observation 8,

  FDA Form 483 focused on the fact that potential consultants were not properly evaluated and

  selected based on their qualification.

         29.     The FDA discovered years of complaints that Philips simply did not adequately

  address. A search of Philips’ internal database of consumer complaints performed as part of the

  FDA site inspection resulted in over 222,000 complaints that used keywords relevant to the Foam

  degradation issue. The FDA also found emails and reports where Philips recognized the issue,

  but, yet, nothing was done to correct it. The FDA even questioned the safety of the silicone foam

  which was at the center of the “repair and replace” program associated with the recall.

         30.     On the news of Philips’ longstanding coverup, and the possible ineffectiveness of

  its replacement plan, Philips’ stock price fell $5.46 per share, or 11.5%, to close at $42.16 per

  share on Monday, November 15, 2021.

         31.     Defendants promoted their products as safe – and, indeed, continue to develop new

  products during the Class Period utilizing the Foam – but they knew differently. Plaintiffs and the

  Class were plainly damaged by Defendants’ fraud.

                                   JURISDICTION AND VENUE

         32.     The claims asserted herein arise under and pursuant to Sections 10(b) and 20(a) of

  the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the

  SEC (17 C.F.R. § 240.10b-5).

         33.     This Court has exclusive subject-matter jurisdiction of all claims asserted herein

  pursuant to Section 27 of the Exchange Act, codified as amended, 15 U.S.C. § 78aa (for violations

  of the Exchange Act), and original subject-matter jurisdiction of all claims asserted herein pursuant

  to 28 U.S.C. § 1331 (for all claims arising under federal law). The Court also has subject-matter

  jurisdiction pursuant to the Class Action Fairness Act, Pub. L. No. 109-2, 119 Stat. 4, codified as


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   amended, 28 U.S.C. § 1332(d) because (1) the matter in controversy exceeds the sum or value of

   $5,000,000, exclusive of interest and costs, (2) the action is a class action, (3) there are members

   of the proposed Class who are diverse from all Defendants, (4) on information and belief, at least

   one Defendant is a subject of the Kingdom of the Netherlands, and (5) there are more than 100

   members in the proposed Class.

          34.     Venue is proper in this District pursuant to Section 27 of the Exchange Act (15

   U.S.C. § 78aa) and 28 U.S.C. § 1391(b). Pursuant to Philips’ most recent Annual Report, as of

   December 31, 2020, there were 905,128,293 of the Company’s common shares outstanding.

   Accordingly, there are presumably hundreds, if not thousands, of investors in Philips’ securities

   located within the U.S., some of whom undoubtedly reside in this Judicial District.

          35.     In connection with the acts alleged in this complaint, Defendants, directly or

   indirectly, used the means and instrumentalities of interstate commerce, including, but not limited

   to, the mails, interstate telephone communications, and the facilities of the national securities

   markets.

                                                PARTIES

          36.     Lead Plaintiff Richard Sun, as set forth in the attached Certification, acquired

   Philips securities at artificially inflated prices during the Class Period and was damaged upon the

   revelation of the alleged corrective disclosures.

          37.     Plaintiff Subhash Patel acquired Philips securities at artificially inflated prices

   during the Class Period and was damaged upon the revelation of the alleged corrective disclosures.

   His Certification is at ECF No. 1.

          38.     Defendant Philips is organized under the laws of the Kingdom of the Netherlands,

   with principal executive offices located at Breitner Center, Amstelplein 2, 1096 BC Amsterdam,

   the Netherlands. The Company’s common shares trade in an efficient market on the New York


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   Stock Exchange (“NYSE”) under the ticker symbol “PHG”. The term “Philips” includes Philips

   Respironics, Inc. a/k/a Respironics, Inc. (“Respironics”), a Delaware corporation, n/k/a Philips RS

   North America LLC, a Delaware limited liability company, whose principal offices are and were

   located at 6501 Living Place, Pittsburgh, Pennsylvania 15206, and which is, and at all relevant

   times was, a wholly owned subsidiary of Koninklijke Philips N.V. The term “Philips” also

   includes Philips North America LLC, a Delaware limited liability company with its principal

   offices located at 222 Jacobs Street, Floor 3, Cambridge, Massachusetts 02141, which is, and at

   all relevant times was, a wholly owned subsidiary of Koninklijke Philips N.V.

          39.     Defendant François Adrianus “Frans” van Houten (“van Houten”) has served as

   Philips’ Chief Executive Officer and Chairman of the Board of Management and the Executive

   Committee at all relevant times.

          40.     Defendant Abhijit Bhattacharya (“Bhattacharya”) has served as Philips’ Chief

   Financial Officer since October 12, 2015, as a Member of the Board of Management since

   December 18, 2015, and as a Member of the Executive Committee at all relevant times.

          41.     Defendants van Houten and Bhattacharya are sometimes referred to herein as the

   “Individual Defendants.”

          42.     The Court has personal jurisdiction over the Individual Defendants because the

   Individual Defendants conducted substantial business in this District, and the events giving rise to

   Plaintiffs’ claims arise out of and relate to the Individual Defendants’ contacts with this District.

   The Individual Defendants’ actions are controlled by Philips.          The Individual Defendants’

   affiliations with this District are so continuous and systematic as to render them essentially at home

   in New York. Further, the Individual Defendants have transacted business, maintained substantial

   contacts, purposefully targeted investors, and committed other overt acts in furtherance of the




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   unlawful acts alleged herein in this District, as well as throughout the United States. The unlawful

   acts of the Individual Defendants have been directed at, have targeted, and have had the effect of

   causing injury to investors who are citizens or nationals of the United States, and to investors who

   reside in, are located in, or are doing business in this District, as well as throughout the United

   States.

             43.   The Individual Defendants possessed the power and authority to control the

   contents of Philips’ SEC filings, press releases, and other market communications. The Individual

   Defendants were provided with copies of Philips’ SEC filings and press releases alleged herein to

   be misleading prior to or shortly after their issuance and had the ability and opportunity to prevent

   their issuance or to cause them to be corrected. Because of their positions with Philips, and their

   access to material information available to them but not to the public, the Individual Defendants

   knew that the adverse facts specified herein had not been disclosed to and were being concealed

   from the public, and that the positive representations being made were then materially false and

   misleading. The Individual Defendants are liable for the false statements and omissions pleaded

   herein.

             44.   Philips and the Individual Defendants are collectively referred to herein as

   “Defendants.”

                                   SUBSTANTIVE ALLEGATIONS

                                                Background

             45.   Philips operates as a health technology company in North America, Greater China,

   and internationally. On its website, Philips states its “purpose is to improve people’s health and

   well-being through meaningful innovation.” The Company makes everything from toothbrushes

   to baby bottles to car lights and, as relevant to this litigation, sleep and respiratory care products.




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          46.     At all relevant times, Philips used the means and instrumentalities of interstate

   commerce in the United States to design, manufacture, market to U.S. consumers, sell to U.S.

   consumers, distribute to U.S. consumers, and profit from U.S. consumers, certain Continuous

   Positive Airway Pressure (“CPAP”), Bi-Level Positive Airway Pressure (“BiPAP”), and

   mechanical ventilators, that Philips represented to investors were for the purpose of assisting

   individuals with a number of sleep, breathing, and respiratory conditions, including obstructive

   sleep apnea, central sleep apnea, complex sleep apnea syndrome, and Chronic Obstructive

   Pulmonary Disease (COPD), as well as to assist those individuals requiring invasive and

   non-invasive ventilators for acute and sub-acute hospital environments.

          47.     Sleep apnea is a common sleep disorder characterized by repeated interruptions in

   breathing throughout an individual’s sleep cycle. These interruptions, called “apneas,” are caused

   when the soft tissue in an individual’s airway collapses. The airway collapse prevents oxygen

   from reaching the individual’s lungs which can cause a buildup of carbon dioxide. If the

   individual’s brain senses the buildup of carbon dioxide, the individual will rouse briefly from sleep

   so that the individual’s airways can reopen to restore the flow of oxygen. Often, these interruptions

   are brief and individuals do not remember waking. Despite the brevity of the interruptions in

   oxygen flow, the sleep cycle disruption caused by sleep apnea can dramatically impact a person’s

   lifestyle, including negatively impacting energy, mental performance, and long-term health.

          48.     CPAP therapy is a common nonsurgical treatment primarily used to treat sleep

   apnea, and typically involves the use of a nasal or facemask device that helps an individual to

   breathe by increasing the air pressure in the throat. BiPAP therapy is a common alternative to

   CPAP therapy in the treatment of sleep apnea. BiPAP therapy is a nonsurgical treatment that

   involves using a nasal or facemask device to maintain air pressure in an individual’s airways.




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   BiPAP therapy delivers two alternating levels (i.e., inspiratory and expiratory) of pressurized air

   into an individual’s airway, delivering one level of pressurized air to assist as a person inhales, and

   another level to assist in exhaling. Mechanical ventilators are used to help an individual to breathe

   when a patient cannot breathe autonomously, or when breathing autonomously is extremely

   difficult. Mechanical ventilators push airflow into a patient’s lungs to assist with breathing.

   Mechanical ventilation may be invasive (i.e., with a tube inserted into an individual’s airway by a

   medical professional in an inpatient setting) or non-invasive (i.e., a patient can connect the device

   at home without assistance of a medical professional).

          49.     Without medical insurance, Philips’ CPAP, BiPAP, and mechanical ventilator

   devices typically cost tens of thousands of dollars; with medical insurance, the devices cost several

   hundred, if not thousands, of dollars. Philips sold millions of these devices in the United States

   during the Class Period.

          50.     The Devices marketed and sold in the United States must adhere to the statutory

   framework set forth in the Federal Food, Drug, and Cosmetic Act (the “FD&CA”), Pub. L. No.

   75-717, 52 Stat. 1040 (June 25, 1938), codified as amended, 15 U.S.C. §§ 201 et seq., which

   governs the movement in interstate commerce of food, drugs, devices, and cosmetics.                 In

   particular, the Devices were subject to the duly-promulgated regulations and reporting

   requirements of the FDA at all relevant times.

          51.     Each of the Devices is or was a “device” within the meaning of Section 201(h)(1)

   of the FD&CA (15 U.S.C. § 321(h)(1)), because each is or was “an instrument, apparatus,

   implement, machine, contrivance, . . . or other similar or related article, including any component,

   part, or accessory,” that is or was “recognized in the National Formulary, or the United States

   Pharmacopeia” or its supplements, was “intended for use in the . . . cure, mitigation, treatment, or




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   prevention of disease, in man or other animals,” or is or was “intended to affect the structure or

   any function of the body of man or other animals,” and does or did “not achieve its primary

   intended purposes through chemical action within or on the body of man or other animals” and is

   or was “not dependent upon being metabolized for the achievement of its primary intended

   purposes.” Id.

          52.       Each year, and periodically, Philips were required to register each of the Devices

   with the FDA, and to comply with all other duly promulgated regulations issued by the FDA,

   pursuant to Section 515 of the FD&CA (15 U.S.C. § 360).

          53.       Each of the Devices was subject to premarket approval by the FDA, pursuant to

   Section 510(k) of the FD&CA (15 U.S.C. § 360(k)). Each of the Devices received such approval.

          54.       Each of the Devices was subject to classification by the FDA, pursuant to Sections

   513–15 of the FD&CA (15 U.S.C. §§ 360c–e).

          55.       Each of the Devices was subject to “performance standards” set by the FDA “to

   provide reasonable assurance of the safety and effectiveness of the device,” pursuant to Section

   514 of the FD&CA (15 U.S.C. § 360d).

          56.       At all relevant times, Philips was a “manufacturer” of the Devices because it

   “manufactures, prepares, propagates, compounds, assembles, or processes a device by chemical,

   physical, biological, or other procedure. 21 C.F.R. § 803.3(l). Specifically, Philips repackaged or

   otherwise changed “the container, wrapper, or labeling of a device in furtherance of the distribution

   of the device from the original place of manufacture,” initiated “specifications for devices that are

   manufactured by a second party for subsequent distribution by the person initiating the

   specifications,” manufactured “components or accessories that are devices that are ready to be

   used and are intended to be commercially distributed and intended to be used as is, or are processed




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   by a licensed practitioner or other qualified person to meet the needs of a particular patient,” and/or

   was “the U.S. agent of a foreign manufacturer.” Id. § 803.3(l)(1)–(4).

          57.      Each of the Devices was subject to certain annual, post-approval reporting

   requirements. For each Device, Philips was required to submit an annual report to the FDA

   certifying the Company was engaged in, among other things, the “[c]ontinuing evaluation of the

   safety effectiveness, and reliability of the device for its intended use.” 21 C.F.R. § 814.82(a)(2).

          58.      Each of the Devices was subject to certain periodic post-approval periodic reporting

   requirements. In each such periodic report, Philips was required, among other things, to submit

   “[u]npublished reports of data from any clinical investigations or nonclinical laboratory studies

   involving the device or related devices,” “[r]eports in the scientific literature concerning the

   device,” and “[c]hanges in the performance . . . of the device.” 21 C.F.R. § 814.84(b); id. §

   814.39(a)(6).

          59.      Each of the Devices was also subject to further reporting requirements with respect

   to certain adverse events or product problems. Specifically, for each Device, Philips was obligated

   to report to the FDA, “no later than 30 calendar days after the day that [Philips] receive[d] or

   otherwise bec[a]me aware of information, from any source, that reasonably suggests that a device”

   either “[m]ay have caused or contributed to a death or serious injury” or “[h]as malfunctioned and

   this device or a similar device [marketed by Philips] would be likely to cause or contribute to a

   death or serious injury, if the malfunction were to recur.” 21 C.F.R. § 803.50(a).

          60.      A “[m]alfunction means the failure of a device to meet its performance

   specifications or otherwise perform as intended.” See Final Rule, Medical Device Reporting:

   Electronic Submission Requirements, 79 Fed. Reg. 8,832, 8,847 (Dep’t Health & Hum. Servs.,

   Food & Drug Admin. Feb. 14, 2014) (codified at 21 C.F.R. § 803.3(k)).




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          61.     A “[s]erious injury means an injury or illness that: (1) [i]s life threatening, (2)

   [r]esults in permanent impairment of a body function or permanent damage to a body structure, or

   (3) [n]ecessitates medical or surgical intervention to preclude permanent impairment of a body

   function or permanent damage to a body structure. Permanent means irreversible impairment or

   damage to a body structure or function, excluding trivial impairment or damage.” Final Rule, 79

   Fed. Reg. at 8,848 (codified at 21 C.F.R. § 803.3(w)).

          62.     As part of its regulatory requirements, Philips needed to establish Corrective and

   Preventive Action (CAPA) programs. In simple terms, the government mandates that each

   manufacturer “establish and maintain procedures for implementing corrective and preventive

   action.” 21 C.F.R. § 820.100.

          63.     In plain language, a CAPA program is a well-documented system with two

   components: the corrective portion identifies the root cause of non-conformances, system failures,

   and other problems; the preventive portion is designed to ensure that the problems do not occur in

   the first place (or do not reoccur after identification in the corrective portion). According the FDA’s

   website, “The purpose of the corrective and preventive action subsystem is to collect information,

   analyze information, identify and investigate product and quality problems, and take appropriate

   and effective corrective and/or preventive action to prevent their recurrence.” According to the

   FDA: “One of the most important quality system elements is the corrective and preventive action

   subsystem.”

          64.     The Company itself is responsible for establishing a CAPA program in accordance

   with the CAPA Regulation; the FDA does not police compliance.




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          65.      Each of the Devices was also subject to the FDA’s Quality System Regulation, as

   set forth in part 820 of Title 21 of the Code of Federal Regulations. See generally 21 C.F.R.

   § 820.1–.250.

          66.      Specifically, “[m]anagement with executive responsibility” was required to

   “establish [the Company’s] policy for, and commitment to, quality,” and “[m]anagement with

   executive responsibility” was required to “ensure that the quality policy is understood,

   implemented and maintained at all levels of the organization.” 21 C.F.R. § 820.20(a) (emphasis

   added). Further, “[m]anagement with executive responsibility” was required to “review the

   suitability and effectiveness of the quality system at defined intervals and with sufficient frequency

   according to established procedures to ensure that the quality system satisfies the [FDA

   regulations] and [the Company’s] established quality policy and objectives.” Id. § 820.20(c). The

   Company was required to “establish procedures for quality audits and conduct such audits to assure

   that the quality system is in compliance with the established equality system requirements and to

   determine the effectiveness of the quality system.” Id. § 820.22. “A report of the results of each

   quality audit, and reaudit(s) where taken, shall be made and such reports shall be reviewed by

   management having responsibility for the matters audited. The dates and results of quality audits

   and reaudits shall be documented.” Id. (emphasis added).

          67.      The Company was required to “have sufficient personnel with the necessary

   education, background, training, and experience to assure that all activities [relating to quality

   system controls] are correctly performed.” 21 C.F.R. § 820.25(a). The Company was also

   required to “establish and maintain procedures to control product that does not conform to

   specified requirements,” addressing “the identification, documentation, evaluation, segregation,

   and disposition of nonconforming product. The evaluation of nonconformance shall include a




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   determination of the need for an investigation and notification of the persons or organizations

   responsible for the nonconformance. The evaluation and any investigation shall be documented.”

   Id. § 820.90(a). “Nonconformity means the nonfulfillment of a specified requirement.” Id.

   § 820.3(q).

          68.     Philips also represented it was following guidance from the International

   Organization for Standardization (ISO).       ISO 13485:2016: Medical devices — Quality

   management systems — Requirements for regulatory purposes is a document that “specifies

   requirements for a quality management system where an organization needs to demonstrate its

   ability to provide medical devices and related services that consistently meet customer and

   applicable regulatory requirements.”

          69.     Therefore, under multiple regulations and guidance, Philips was required to have

   the mechanisms in place to identify and investigate product and quality problems and take

   corrective action. It was also required to report problems and corrective actions to the FDA in

   almost all relevant circumstances.

          70.     Defendants were well aware of these requirements. Indeed, the Company had a

   history of failing to comply with the FDA’s quality systems regulations; on October 31, 2017, the

   Company entered into a Consent Decree with the Department of Justice to resolve allegations that

   Philips sold certain other devices that the Company knew were, or knowingly caused to become,

   adulterated by, among other things, failing to maintain “current good manufacturing practice

   (‘CGMP’) requirements set forth in 21 C.F.R. Part 820.”         Consent Decree for Permanent

   Injunction, United States v. Philips N. Am. LLC, Case No. 17-CV-11955, ECF No. 10 ¶¶ 1–4 (D.

   Mass. filed Oct. 31, 2017).




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                                           Relevant Products

          71.     Many of the products in Philips’ “Sleep and Respiratory Care” division were long

   industry leaders. The Devices were in the Sleep & Respiratory Care Division of Philips.

          72.     Specifically, the products that were subject to the recall are:

                    All Devices manufactured before 26 April 2021,
                               All serial numbers
           Continuous Ventilator             Trilogy 100
                                                Trilogy 200
                                                Garbin    Plus, Aeris,
                                                LifeVent
           Continuous Ventilator,               E30 (Emergency Use
           Minimum       Ventilatory            Authorization)
           Support, Facility Use                A-Series    BiPAP      V30
                                                Auto
                                                A-Series BiPAP Hybrid
                                                A30 (not marketed in the
                                                U.S.)
           Continuous Ventilator,               DreamStation ASV
           Non-life Supporting                  DreamStation        ST,
                                                AVAPS
                                                SystemOne ASV4
                                                C-Series ASV
                                                C-Series S/T and AVAPS
                                                OmniLab Advanced+
                                                A-Series BiPAP A40
                                                A-Series BiPAP A30
           Noncontinuous                        SystemOne (Q-Series)
           Ventilator                           DreamStation
                                                DreamStation Go
                                                Dorma 400
                                                Dorma 500
                                                REMstar SE Auto


          73.     The Devices are among the Philips Bi-Level PAP, CPAP and mechanical ventilator

   devices in the Philips product line that utilize the relevant Foam for sound abatement.




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          74.     According to the Company, the Trilogy devices “provide continuous or intermittent

   ventilatory support for the care of individuals who require mechanical ventilation” and are used

   for both and home and hospital use. The earliest of them was approved for use in America by the

   FDA in 2009.

          75.     According to the Company, the DreamStation devices are designed for the

   treatment of Obstructive Sleep Apnea and are used for both and home and hospital use. Philips

   launched its DreamStation product line in October 2015. Philips’ DreamStation products are

   among the best-selling CPAP machines on the market.

          76.     Each time one of the products in these lines came on the market, Philips touted its

   supremacy with no mention of negative reports on the Foam. For example, the DreamStation Go

   – designed with the same Foam the Company already knew was causing issues – was launched in

   2017. In an April 11, 2017 press release announcing the product’s launch, the Company stated:

   “At half the size of Philips’ previous generation devices, DreamStation Go delivers the same

   clinically-proven performance and comfort, for reliable, convenient therapy on-the-go. Designed

   with traveling patient needs in mind, DreamStation Go is the product of over 30 years of sleep

   therapy innovation.”

          77.     The release further promoted the entire DreamStation production line:

   “DreamStation Go is the latest addition to Philips’ award-winning Dream Family of sleep apnea

   products focused on connecting and supporting the patient, clinician, and homecare provider to

   enhance patient care and quality of life. Dream Family has impacted more than one million patient

   lives since launched in 2015.”

          78.     In the midst of the Covid-19 pandemic, Philips obtained emergency use

   authorization from the FDA for a new product, a ventilator E30, which also utilized the Foam.




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   Philips stated they were developing the product “with the needs of healthcare workers and COVID-

   19 patients in mind while also complying to medical device quality standards.” According to the

   Philips’ website: “This global ventilator solution, can be purchased by governments and hospitals

   who are experiencing ventilator shortages. The Philips Respironics E30 ventilator can be used

   when there is limited access to a fully featured critical care ventilator.”

          79.      Other impacted products are similarly used for ventilation.

                Philips Promotes Its Products as Safe Despite Knowledge of Problems

          80.      In each annual report during the Class Period, Philips stated in substance (though

   the exact words changed): “Philips actively maintains Quality Systems globally that establish

   processes for its product design, manufacturing and distribution processes; these standards are in

   compliance with Food and Drug Administration (FDA)/International Organization for

   Standardization (ISO) requirements. Our businesses are subject to compliance with regulatory pre-

   marketing and quality system requirements in every market we serve, and to specific requirements

   of local and national regulatory authorities including the US FDA . . .” But Philips was not overly

   concerned with quality – it was manufacturing devices with a foam that was breaking apart.

          81.      Philips “became aware of” the issue with polyester polyurethane foam degradation

   “and related field complaints in at least 2015 or earlier[.]” 1 According to the FDA, at least two of

   these complaints were from Trilogy 100 users and at least some others were from Trilogy 200

   users. On October 20, 2015, Philips sent an email to its Foam supplier implying that a customer

   made Philips aware of polyester polyurethane foam degradation issues.




   1
    Unless otherwise specified, all quotes come from the FDA Form 483. When the Complaint states
   “According to the FDA,” the information is coming from data the FDA made public in 2021. None
   of this was disclosed by Philips.


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          82.     Then, according to the FDA, on or around November 15, 2015, Philips was made

   aware of a preventative maintenance servicing procedure implemented by another Philips entity

   in another country on Trilogy ventilator products, but did not conduct any “further investigation,

   health hazard evaluation, risk analysis, or design review. . . in response to foam degradation issues

   and complaints in the field related to Trilogy ventilator products.” In other words, Philips did

   nothing in response to this news.

          83.     According to the FDA, Philips should have begun an investigation into these issues

   with the Foam, but it did not.

          84.     These degradation issues were extremely important as they can cause two serious

   issues, according to Philips’ own later admissions. First, Philips was aware that the Foam may

   degrade into particles which enter the device’s air pathway and be ingested or inhaled by the user.

   Second, Philips said the Foam may “off-gas certain chemicals” that may cause headache,

   dizziness, irritation (eyes, nose, respiratory tract, skin), hypersensitivity, nausea, vomiting, and/or

   have toxic and carcinogenic effects. In other words, products that people were using to save their

   lives could possibly cause cancer because of issues with this Foam.

          85.     None of the degradation issues was reported to the public. Additionally, none

   triggered a CAPA, as would have been industry standard. Philips kept products with the Foam on

   the market and continued to manufacture, market, and sell new ones.

          86.     On February 23, 2016, after Philips knew about the degradation issues, the

   Company again issued its 20-F touting the Company’s commitment to “quality system

   requirements” and their compliance with FDA regulations, despite not instituting a CAPA when

   the Company became aware of the foam degradation issues. Nowhere in the Company’s risks




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   disclosures is a mention of any risk associated with the Foam or possible regulatory action as a

   result of the Foam.

          87.     A couple of months later, according to the FDA, an internal report by Philips dated

   April 1, 2016, which utilized field samples obtained in October 2015 from the Trilogy 100

   ventilator, “document[ed] base polymer cleavage and embrittlement of the returned foam material

   of the related field samples.” In other words, samples from Trilogy 100 ventilators being used by

   real people in the field clearly displayed the Foam was disintegrating and breaking. Philips had a

   written analysis in April 2016 that documented the issue.

          88.     On August 5, 2016, according to the FDA, Philips’ foam supplier sent an email

   advising Philips that degradation of the Foam was “likely” and could occur somewhat quickly.

          89.     Still, a CAPA was not initiated and no design change was implemented. Moreover,

   investors were never alerted to these defects.

          90.     According to the FDA, another internal report, AST282T-161438, studied the

   Foam in the Company’s Trilogy 200 ventilator in response to two “customer complaints from

   2015” and found “bad resistance against high humidity in combination with high temperature.”

          91.     Later in 2016, according to the FDA, Philips conducted yet another test showing

   problems with polyester urethane foams. Test Report AST 282T-161459, dated November 25,

   2016, found that other tested foams showed “far better resistance to against high humidity”

   compared to the polyester urethane foams featured in PRI’s products and that degradation occurred

   “slowly and gradually.”

          92.     Philips could have potentially used one of those other foams in future products, and

   replaced the Foam in current products, but it did not do so. It did not report the findings of any of

   these test results to the FDA. It did not institute a CAPA to study these issues properly. Philips




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   documented, and thus knew of, a way to mitigate the risks associated with the Foam and to help

   users of its products, but Defendants kept this information to themselves.

          93.     For the year ended 2016, sales from the Company’s Sleep & Respiratory Care

   business accounted for 21% of all income from sales in the Personal Health segment.             For the

   same year, the Company reported income from sales from Personal Health of €7,099,000 and

   Company-wide income from sales of €24,516,000.

          94.     From 2014 to 2017, according to the FDA, Philips received at least thirty

   complaints specifically related to the Trilogy ventilator devices and eighty complaints related to

   degradation for the Foam on non-Trilogy ventilator devices from 2014 to 2017. A later search of Philips’

   database disclosed over 175,000 complaints that came up in a keyword search for the terms

   contaminants, particles, foam, debris, airway, particulate, airpath, and black. Additionally,

   according to the FDA, a 2021 Philips investigation, Philips also identified 110 complaints

   specifically related to foam degradation from 2014 to 2017.

          95.     However, Philips did not disclose any of this to the market, and its sales stayed

   strong. For the year ended 2017, sales from the Company’s Sleep & Respiratory Care business

   accounted for 22% of all income from sales in the Personal Health segment. For the same year,

   the Company reported income from sales from Personal Health of €7,310,000 and Company-wide

   income from sales of €17,780,000.

          96.     According to the FDA, by 2018, only around 20,000 of the over 175,000 complaints

   that came up in a keyword search involved Trilogy devices, meaning approximately 155,000

   involved other devices and hit on the terms contaminants, particles, foam, debris, airway,

   particulate, airpath, and black.




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          97.     However, in April 2018, when Philips finally instituted a CAPA in response to field

   complaints about its devices, it was only on Trilogy devices and only an informal CAPA.

   According to the FDA, Philips’ “process was to open CAPA requests, referred to as CAPA INVs,

   as a precursor to formal CAPAs, but would only be made into formal CAPAs, if approved by a

   CAPA Review Board, or delegate(s).” CAPA INV 0988 was opened on April 12, 2018, due to

   units returned from the field where the foam was degrading and getting into the units’ motor/air

   path. It was closed on June 20, 2018, and no formal CAPA was initiated or implemented.

          98.     According to the FDA, CAPA INV 0988 involved Trilogy 100 and 200 ventilator

   devices only and did not “include, investigate, or examine” all of the Philips medical devices with

   “similar air path assemblies and/or the affected polyester polyurethane foam, which is susceptible

   to degradation.” This despite the fact that, according to the FDA, before CAPA INV 0988 was

   instituted, Philips had received approximately eighty complaints related to foam degradation on

   non-Trilogy ventilator devices. Yet Philips still chose not to even look at any devices beyond

   Trilogy 100 and 200.

          99.     According to the FDA, CAPA INV 0988 – more than the Company had done in

   prior years – was still woefully insufficient, as a Health Hazard Evaluation report associated with

   CAPA INV 0988 made clear. As FDA Form 483 stated: “Health Hazard Evaluation ER2227646

   V06, approved and closed on 06/15/2018, related to CAPA INV 0988, and concerning Trilogy 100

   and 200 ventilator devices, documents typical and healthy lung and bodily functions, and does not

   conform to or address the user needs of the intended patient population of these ventilatory medical

   devices. The intended patient population of Trilogy 100 and 200 ventilator devices are individuals

   requiring mechanical ventilation, that potentially lack typical and healthy lung and bodily

   functions considered in your HHE. Furthermore, Health Hazard Evaluation ER2227646 V06 does




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   not consider patients with a tracheostomy, which are also part of the intended patient population

   of these Trilogy ventilator devices.” In other words, the Health Hazard Evaluation was conducted

   on a population that was not the targeted population. Therefore, the results were skewed positively.

          100.    According to the FDA, an internal report at Philips, known as Health Hazard

   Evaluation ER2227646 V06, further documents “the risk and hazard evaluation based on the use

   of a humidifier and/or bacterial filter with the use of Trilogy 100 and 200 ventilator devices, but

   neither component nor attachment is required for proper use of these ventilators.”

          101.    In summary, Philips in 2018 – after years of complaints – initiated an informal

   CAPA that evaluated Trilogy devices on an incorrect patient population using addition accessories

   not required for use of the Trilogy devices.

          102.    The FDA further found that CAPA INV 0988, and the related evaluations and

   studies, were insufficient because they failed to consider known data at that time. In Health Hazard

   Evaluation ER2227646 V06, Philips reports 17 complaints related to degradation of air inlet path

   foam. However, a search of the complaint database from 2008 to 2017 found over 175,000 total

   complaints with related keywords, of which 20,000 were associated with Trilogy devices.

          103.    As the FDA found later found, CAPA INV 0988 “did not accurately reflect the

   probability and severity of harm related to such foam degradation” because “potential foam

   degradation in Trilogy ventilator devices is not an isolated incident, and you also have not

   documented a detailed rationale for why harm is not likely to occur again.”

          104.    A corrective action was instituted as a result of CAPA INV 0988 however –

   according to the FDA, Philips issued a so-called “Field Communication,” which required that in

   certain circumstances the Inlet Air Path Assembly and Removable Air Path Foam in Trilogy

   devices were to be replaced. This was not reported to the FDA as required under the relevant




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   regulations. And, according to the FDA, Philips did not even verify whether the procedure was

   effective.

           105.     And Philips reportedly had regular meetings where such quality issues would be

   discussed. In 2018, as a result of a Consent Decree entered into with the Justice Department,

   Philips established a Quality & Regulatory Committee that met in all subsequent relevant years.

   According to the 2019 20-F: “The Quality and Regulatory Committee was established in view of

   the importance of the quality of the company’s products, systems, services, and software. The

   Committee provides broad oversight of compliance to the regulatory requirements that govern the

   development, manufacturing, marketing and servicing of the company’s products.” One of the

   things discussed at the meetings were “[c]omplaint handling and post market surveillance.” In

   2018, “[t]he Chief Executive Officer and the Chief Quality Officer were present during” the seven

   meetings of the Quality & Regulatory Committee. 2

           106.     However, none of the risks associated with the Foam was disclosed to the public,

   who kept on using these products not knowing the risk caused by them. For the year ended 2018,

   sales from the Company’s Sleep & Respiratory Care business accounted for 24% of all income

   from sales in the Personal Health segment. For the same year, the Company reported income from

   sales from Personal Health of €7,228,000 and Company-wide income from sales of €18,121,000.

           107.     But, as complaints about the devices continued to roll in, a formal CAPA, CAPA

   7211, was finally opened on June 19, 2019, according to the FDA. Even then, CAPA 7211

   concerned Trilogy ventilators only.




   2
    In 2019, the CEO, CLO, and Chief Quality Officer were present at the eight meetings of the Quality & Regulatory
   Committee. And, in 2020, the CEO, CLO, COO, and Chief Quality & Regulatory Officer was present at the five
   Quality & Regulatory Committee meetings.


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          108.    According to the FDA, another test report was generated in 2019 related to the

   already well-documented issues with the Foam. The test report, dated May 22, 2019, documented

   a chemical reaction if the Foam was exposed to high heat and humidity.

          109.    According to the FDA, also in May, four CPAP units were returned to a service

   center with degraded sound abatement foam.

          110.    In 2019, according to the FDA, Philips was also testing DreamStation 1 emissions.

   And the DreamStation 1 was failing – releasing toxic levels of Formaldehyde.

          111.    However, Philips remained silent and its sales continued to increase. For the year

   ended 2019, sales from the Company’s Sleep & Respiratory Care business accounted for 47% of

   all income from sales in the Connected Care segment. For the same year, the Company reported

   income from sales from Connected Care of €4,674,000 and Company-wide income from sales of

   €19,482,000.

          112.    As a result of rising complaints and CAPA 7211, polyester polyurethane foam

   degradation issues concerning CPAPs, BiPAPs, and Trilogy Ventilators were discussed at all

   management review meetings, since January 31, 2020, according to the FDA. However, it kept

   promoting and selling its products, which it said were “quality” and complied with FDA and ISO

   requirements and guidance.

          113.    In 2020, there was more evidence that Philips’ products could be toxic. According

   to the FDA, two different reports dated January 30, 2020 examined 2019 emissions testing of the

   DreamStation 1. Each report documented that “that the tolerable limits of the Formaldehyde

   compound were exceeded.”

          114.    However, Philips not only kept selling the products containing the Foam that were

   already on the market, Philips created new products with the Foam. For example, as previously




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   discussed, in April 2020, it introduced E30 ventilator with an immediate production of 15,000

   units/week to supposedly aid in the ventilator shortage caused by the Covid pandemic. Philips had

   received emergency use authorization for this supposedly life-saving device, while not disclosing

   the severe risks associated with the Foam.

          115.    According to the FDA, a Biological Risk Assessment, dated June 2, 2020, was

   conducted as a result of field reports regarding degraded Foam in various CPAP and ventilator

   products. The Biological Risk Assessment found there was “potential for carcinogenicity,

   mutagenicity, and systemic toxicity, the biological and toxicological risks from exposure to

   degraded PE-PUR foam are of concern and the severity of harm is crucial.”

          116.    According to the FDA, on December 10, 2020, Philips had yet another damning

   Biological Risk Assessment. As later quoted in the FDA Form 483, this Biological Risk

   Assessment states in no uncertain terms that users are at serious risk:

          The cytotoxicity and positive genotoxicity results observed from degraded PE-PUR
          foam samples indicate a potential patient risk. Potential cytotoxicity and
          genotoxicity leading to carcinogenicity are possible outcomes from degraded PE-
          PUR foam exposure. Overall, based on an understanding of the toxicological
          significance of the foam degradants and the results of the ISO 10993 testing to
          include mutagenic responses in both a bacterial and mammalian system, the
          degraded PE-PUR foam is not considered biocompatible and presents a significant
          biological risk to those patient populations who are exposed to degraded PE-PUR
          foam.

          117.    But you would not know any of this if you were following Philips’ public

   statements. In fact, in public statement after public statement, Philips stressed “safety” as one of

   its biggest concerns. For example, in describing the Company’s E30 ventilator to investors on

   April 20, 2020 during an earnings call, van Houten said: “[T]he E30 . . . is an adaptation from a

   bi-plane ventilator, to which we have changed the software, added sensors, added filters, so that it

   is safe and suitable for critical care.”




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          118.    For the year ended 2020, sales from the Company’s Sleep & Respiratory Care

   business accounted for 49% of all income from sales in the Connected Care segment. For the same

   year, the Company reported income from sales from Connected Care of €5,564,000 and

   Company-wide income from sales of €19,535,000.

          119.    In the first month of 2021, the mounting evidence of harm – evidence known to

   Philips but not the market – continued to grow. According to the FDA, a reported dated January

   11, 2021, stated plainly:

          Based on an understanding of the toxicological significance of the foam degradants and
          the results of the biological testing to include mutagenic responses in both a bacterial
          and mammalian system, the degraded PE-PUR foam is not considered biocompatible
          and presents a significant biological risk to patients exposed to the degraded PE-PUR
          foam. Potential cytotoxicity and genotoxicity leading to carcinogenicity are possible
          outcomes from degraded PE-PUR foam exposure.

          120.    According to the FDA, an internal report at the Company dated January 13, 2021,

   found the Foam to be “mutagenic.” Another report dated that same day stated the Foam had

   “cytotoxic potential,” meaning it could be toxic to cells.

          121.    During this time, none of this was disclosed to the market. Philips also did not

   conduct adequate investigations or take sufficient corrective actions.

           Materially False and Misleading Statements Issued During the Class Period

          122.    Throughout the Class Period, Defendants made statements that were materially

   false and misleading when made because they omitted the following material information

   necessary to make them not misleading under the circumstances in which they were made. This

   material information, known to Philips at different times throughout the Class Period, includes,

   inter alia, that: (i) Philips had deficient product manufacturing controls or procedures; (ii) the

   Company’s sales revenues from the Company’s Bi-Level PAP and CPAP devices were

   unsustainable because of the substantial risk of regulatory action or product recall; (iii) in 2015,



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   Philips received multiple complaints about foam degradation issues, as evidenced by an October

   30, 2015 Philips sent to its foam supplier and later internal reports; (iv) on or around November

   15, 2015, Philips was made aware of a preventative maintenance servicing procedure implemented

   by another Philips entity in another country on Trilogy ventilator products, but did not institute a

   CAPA as they should have and, in fact, failed to conduct any “further investigation, health hazard

   evaluation, risk analysis, or design review. . . in response to foam degradation issues and

   complaints in the field related to Trilogy ventilator products”; (v) a Philips report, dated April 1,

   2016, which utilized field samples obtained in October 2015 from a Trilogy device, “document[ed]

   base polymer cleavage and embrittlement of the returned foam material of the related field

   samples”; (vi) a Philips test report dated August 30, 2016 focusing on samples from the Trilogy

   200 ventilator was conducted as a result of “field reports/complaints regarding foam degradation

   in Trilogy 200 ventilator devices in 2015” and found the foam showed “bad resistance against high

   humidity in combination with high temperature”; (vii) a November 25, 2016 Philips test report,

   again resulting from “field reports/complaints regarding foam degradation in Trilogy 200

   ventilator devices in 2015” documented that other tested foams had better resistance to high

   humidity at high temperature; (viii) Philips received approximately eighty complaints related to

   foam degradation, on non-Trilogy ventilator devices, from 2014 to 2017; (ix) Philip’s consumer

   complaints from January 2008 to 2017 resulted in over 175,000 hits for the “keywords

   contaminants, particles, foam, debris, airway, particulate, airpath, and black”; (x) in April 2018,

   the Company opened an informal CAPA to examine Trilogy 100 and 200 devices (but not products

   with similar design) due to units returning from the field where foam was degrading and getting

   into the motor/air path, but it was closed two months later and no formal CAPA was ever initiated;

   (xi) even the reports associated with the informal CAPA were found to be “inadequate because




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   they [did] not accurately reflect the known data at that time”; (xii) in response to the informal

   CAPA, Philips issued a so-called “Field Communication,” which required in certain circumstance

   the Inlet Air Path Assembly and Removable Air Path Foam were to be replaced, but no verification

   of the effectiveness of this procedure was performed, nor was it reported to the FDA; (xiii) it was

   not until June 19, 2019 that Philips implemented a full-fledged CAPA, which even then only

   concerned Trilogy devices, did not include all known complaints and “therefore, was not

   adequately performed to identify, or detect the severity or magnitude of potential quality

   issues/concerns” and was not reported to the public until 2021; (xiv) the €250 million reserve taken

   would be inadequate; (xv) the Company sought to deflect responsibility by blaming ozone cleaning

   products; (xvi) the silicone-based foam used in the replacement program (and used in a singular,

   similar device marketed outside the U.S.) failed a safety test because of the release of certain

   chemicals of concern, called volatile organic compounds (VOCs); and (xvii) because of the

   aforementioned, and the failure to properly analyze or report any of it, Philips was in violation of

   FDA and ISO regulation and guidance at all times throughout the Class Period.

          123.    Defendants knew by at latest 2015 that there were problems with the Foam and they

   were violating FDA regulations by not initiating a CAPA and/or reporting the problems known to

   them, but they disclosed none of this to the public.

          124.    The Class Period begins on February 23, 2016, the day the Company filed its

   Annual Report on SEC Form 20-F for the year ended December 31, 2015 (the “2015 20-F”).

   Appended to the 2015 20-F as exhibits were signed certifications pursuant to the Sarbanes-Oxley

   Act of 2002 (“SOX”) by the Individual Defendants, attesting that “[t]he [2015 20-F] fully complies

   with the requirements of section 13(a) or 15(d) of the Securities Exchange Act of 1934 and




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   information contained in the [2015 20-F] fairly presents, in all material respects, the financial

   condition and results of operations of the Company.”

          125.    In the 2015 20-F, in a section containing a message from van Houten to Philips’

   shareholders, the 2015 20-F stated, in relevant part:

          In 2015, our multi-year Accelerate! program again helped us to step up growth and
          increase margins, despite deteriorating macro-economic conditions in a number of
          markets. Through Accelerate! and the implementation of the Philips Business
          System (PBS) we continue to drive improvements across the organization. The
          PBS is helping us to further tighten our focus on quality and excellence and
          enhance productivity through continuous improvement methodologies, while
          embedding new capabilities and making us more agile, entrepreneurial and
          customer-centric, with a culture of higher performance.

          126.    In the 2015 20-F, in explaining its Sleep & Respiratory Care business, the Company

   stated that its “products improve patient outcomes, provide better value, and help secure access to

   high-quality care, while reducing environmental impact.”

          127.    In the 2015 20-F, in explaining its Healthcare portfolio, which the Sleep &

   Respiratory Care products were considered part of that year, the Company stated: “Our Accelerate!

   program continues to drive improvements in healthcare, resulting in enhanced customer centricity

   and service levels, faster time-to-market for our innovations, strengthened quality and compliance

   systems, and better cost productivity. We increased our investments in, among others, healthcare

   informatics, personal health solutions and our quality systems.”

          128.    In the 2015 20-F, the Company further stated:

          At Philips, we deliver innovative, integral technology solutions designed to create
          value by improving the quality and delivery of care while lowering cost. Our broad
          and deep clinical expertise and technology leadership across the health continuum
          and commitment to customer collaboration are core to our business and truly
          differentiate us.

          Philips is one of the world’s leading healthcare companies (based on sales) along
          with General Electric and Siemens. The competitive landscape in the healthcare
          industry is evolving with the emergence of a considerable number of new market



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           players. The United States, our largest market, represented 43% of Healthcare’s
           global sales in 2015[.]

           129.       In the 2015 20-F, the Company also stated:

           Commitment to quality
           . . . We are committed to compliance with regulatory product approval and quality
           system requirements in every market we serve, by addressing specific terms and
           conditions of local and national regulatory authorities including the US FDA[.]

                                                          [. . .]

           7.5 Compliance risks
                                                          [. . .]

           Philips is exposed to non-compliance with data privacy and product safety laws.
           Philips’ brand image and reputation would be adversely impacted by
           non-compliance with various product safety laws[.] . . . Philips is exposed to the
           risk that its products, including components or materials procured from suppliers,
           may prove to be not compliant with safety laws, e.g. chemical safety regulations.
           Such non-compliance could result in a ban on the sale or use of these products.
           Philips operates in a highly regulated product safety and quality environment.
           Philips’ products are subject to regulation by various government agencies,
           including the FDA (US) and comparable foreign agencies. . . . The risk exists that
           product safety incidents or user concerns could trigger FDA business reviews
           which, if failed, could lead to business interruption which in turn could adversely
           affect Philips’ financial condition and operating results. E.g. the voluntary,
           temporary suspension in 2014 of new production at our Healthcare facility in
           Cleveland, Ohio targeted to further strengthen manufacturing process controls after
           certain issues in this area were identified during an ongoing FDA inspection.

           130.       The Healthcare portfolio increased from 2014. The Company reported EBITA

   amounted to EUR 1,024 million, or 9.4% of sales, compared to EUR 616 million, or 6.7% of sales,

   in 2014.

           131.       The statements referenced in ¶¶ 124-30 were materially false and misleading when

   made for the reasons specified in Paragraph 122 at subdivisions (i)-(v), (viii), (ix) and (xvii),

   particularly because Philips had already received multiple complaints about the Foam being used

   in its products.




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          132.    On April 25, 2016, the Company announced its earnings for the first quarter of

   2016. The Company reported positive sales increase for its HealthTech, including the Sleep &

   Respiratory Care products. Specifically, in relation to the DreamStation products, the Company

   reported the “Dream Family solution, which is designed to provide the sleep therapy experience

   for people with obstructive sleep apnea, is showing strong traction in Europe and the US, with

   more than 200,000 Dream Family users since its introduction in 2015[.]” The Company also

   reported “mid-single-digit growth in Sleep & Respiratory Care.”

          133.    That same day, the Company hosted an earnings call with investors to discuss the

   Company’s financial and earnings results for the First Quarter of 2016 (the “1Q2016 Earnings

   Call”). During the 1Q2016 Earnings Call, Bhattacharya stated: “I would also like to remind you

   that in Q1, the profitability of our Sleep & Respiratory Care business within [P]ersonal Health was

   negatively impacted by about 100 basis points, as anticipated, due to the change in the US

   reimbursement for home ventilation which we are able to partly offset by a strong performance of

   the recently introduced Dream Family sleep therapy program. We expect this negative headwind

   from this change in reimbursement to have a similar impact in Q2.” In response to an analyst’s

   questions concerning the “Personal Health margin” for the quarter, Bhattacharya stated: “The first

   quarter was partially impacted, as we said, with the Sleep & Respiratory business because it had a

   dip compared to last year with the reimbursement cuts.”

          134.    During the 1Q2016 Earnings Call, van Houten said: “Sleep & Respiratory Care

   achieved mid-single-digit growth, driven in particular by Philips’ new Dream Family sleep therapy

   program which we launched in Europe and in the United States. This Dream Family helps to

   improve the sleep therapy experience for people with obstructive sleep apnea. To date, more than




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   200,000 people are using the Dream Family in the United States since its introduction in the fourth

   quarter of 2015. We are now launching this in Japan.”

          135.    The statements referenced in ¶¶ 132-34 were materially false and misleading when

   made for the reasons specified in Paragraph 122 at subdivisions (i)-(vi), (viii), (ix) and (xvii),

   particularly because Philips had already received multiple complaints about the Foam being used

   in its products and had already documented Foam breakage issues in a report dated April 1, 2016.

          136.    In the Company’s 2015 Annual Report to Shareholders, “Analyst Selection,”

   released on or about May 12, 2016, van Houten said: “Our Health & Wellness and Personal Care

   businesses performed very well, delivering another year of high growth and margin expansion.”

          137.    On May 12, 2016, at the Annual General Shareholders meeting, van Houten said:

   “Philips brand is ideally positioned to provide chronic care solutions to people right into their home

   setting and we aim to expand our portfolio in this decision. For example, for people with a chronic

   sleep condition, we introduced the Dream Family which delivers sleep therapy for people with

   obstructive sleep apnea. The range includes sleep masks, but [sic] also devices that are connected

   to the cloud, allowing online coaching of the patient. In just a few months, we have already gained

   more than 200,000 users!”

          138.    The statements referenced in ¶¶ 136-37 were materially false and misleading when

   made for the reasons specified in Paragraph 122 at subdivisions (i)-(vi), (viii), (ix) and (xvii),

   particularly because Philips had already received multiple complaints about the Foam being used

   in its products, had already documented Foam breakage issues in a report dated April 1, 2016 and

   knew there was a great risk problems with the Foam would impact the Dream Family line.




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          139.    On July 25, 2016, the Company announced its earnings for the second quarter of

   2016. Again, the Company boasted of high-single-digit growth in Sleep & Respiratory Care

   helping to drive growth in the Company’s Personal Health business.

          140.    That same day, the Company hosted an earnings call with investors to discuss the

   Company’s financial and earnings results for the Second Quarter of 2016 (the “2Q2016 Earnings

   Call”). During the 2Q2016 Earnings Call, van Houten said: “One of the strong performers in the

   Personal Health segment is our Sleep & Respiratory Care business. This business grew high

   single-digit, driven by mid-teens growth in sleep as a result of the rollout of the Dream Station

   portfolio, which is also driving increased customer satisfaction and market share gains.”

          141.    During the 2Q2016 Earnings call, an analyst inquired of the growth outlook for

   Philips’ Personal Health segment. In response, van Houten said: “[W]e are committed to mid to

   high single-digit growth in Personal Health. We believe that, that is suitable. We see that in

   multiple of the business groups; for example, Sleep and Respiratory care performed very well, lots

   of innovation going on there with our cloud-based connected sleep solutions. We are outpacing

   competition there.”

          142.    The statements referenced in ¶¶ 139-41 were materially false and misleading when

   made for the reasons specified in Paragraph 122 at subdivisions (i)-(vi), (viii), (ix) and (xvii),

   particularly because Philips had already received multiple complaints about the Foam being used

   in its products, had already documented Foam breakage issues in a report dated April 1, 2016 and

   knew there was a great risk problems with the Foam would impact the Dream Family line.

          143.    On October 24, 2016, the Company announced its earnings for the third quarter of

   2016. The Sleep & Respiratory Care division again experienced high-single-digit growth over the

   quarter. Specifically, the Company represented that its “Personal Health businesses grew by 7%




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   on a comparable basis, with growth across the portfolio.” The Company’s “adjusted EBITDA”

   for the Personal Health portfolio was “supported by high-single digit growth in Sleep &

   Respiratory Care,” contributing to an increase “by 130 basis points” in adjusted EBITDA “as a

   result of higher sales volumes as well as improved cost productivity.”

          144.    That same day, the Company hosted an earnings call with investors to discuss the

   Company’s financial and earnings results for the Third Quarter of 2016 (the “3Q2016 Earnings

   Call”). During the 3Q2016 Earnings Call, van Houten said:

          We continued our strong momentum in the Personal Health businesses as sales
          grew by 7% on a comparable basis and adjusted EBITDA improved by 130 basis
          points as a result of higher sales volumes as well as improved cost productivity.
          Sales grew across the entire Personal Health portfolio, most notably double-digit
          growth in Health & Wellness and supported by high-single digit growth in Sleep &
          Respiratory Care and mid-single digit growth in Personal Care and Domestic
          Appliances.
          We continue to see strong adoption around the world of our leading Personal Health
          solutions. Growth geographies in Western Europe grew in the high-single digits,
          while North America grew mid-single digit. We remain committed to sustaining
          mid- to high-single digit growth in Personal Health, enabled by our strong
          innovation pipeline.

          145.    The statements referenced in ¶¶ 143-44 were materially false and misleading when

   made for the reasons specified in Paragraph 122 at subdivisions (i)-(vi), (viii), (ix) and (xvii),

   particularly because Philips had already received multiple complaints about the Foam being used

   in its products, had already documented Foam breakage issues in a report dated April 1, 2016,

   knew there was a great risk problems with the Foam would impact further growth of the Sleep &

   Respiratory line.

          146.    On January 24, 2017 (the “January 24, 2017 Release”), the Company released its

   fourth quarter and full year highlights. In the Company’s 2016 Annual Report to Shareholders,

   van Houten said: “Throughout market-leading propositions in Personal Health, we have natural

   touchpoints with consumers to promote healthy lifestyles, which are critical to good health. For


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   example, our Dream Family is a comprehensive solution comprising sleep therapy devices, a

   comfortable masks [sic], therapy management software and services to provide a good night’s

   sleep for people with obstructive sleep apnea.”

          147.    The Company further stated: “Building on the success of the integrated Dream

   Family solution in the US, Europe and Japan, the Philips DreamStation Go portable CPAP solution

   was introduced. DreamStation Go is a compact and lightweight device designed to provide sleep

   therapy for travelers with obstructive sleep apnea.”

          148.    The January 24, 2017 Release reported mid-single-digit growth in the Sleep &

   Respiratory Care division quarter-over-quarter. The Company report a “19% improve in Adjusted

   EBITA to EUR 1 billion, net income of EUR 640 million and sales of EUR 7.2 billion in Q4, with

   the HealthTech portfolio growing at 5%.”

          149.    On January 24, 2017, the Company hosted an earnings call with investors to discuss

   the Company’s financial and earnings results for the Fourth Quarter of 2016 (the “4Q2016

   Earnings Call”). During the 4Q2016 earnings Call, van Houten said:

          The Personal Health businesses grew by 7% on a comparable basis[.] . . .
          There was growth across the portfolio, led by double-digit growth in Health &
          Wellness and high-single-digit growth in Domestic Appliances, while the adjusted
          EBITA margin improved by 100 basis points in the fourth quarter.
          For the Personal Health businesses in mature geographies we had comparable sales
          growth in the high-single-digits, driven by double-digit growth in Western Europe
          and high-single-digit growth in North America. This was partly offset by a
          low-single-digit decline in other mature geographies.
                                                  [. . .]
          We remain committed to sustaining mid- to high-single-digit sales growth in
          Personal Health, enabled by our strong innovation pipeline.
                                                  [. . .]
          Building on the success of the Philips’ integrated Dream Family solution in the
          United States, Europe and Japan, we recently introduced a Philips DreamStation
          Go portable CPAP solution. DreamStation Go is a compact and lightweight device
          designed to provide sleep therapy for travelers with obstructive sleep apnea.


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          150.    The statements referenced in ¶¶ 146-49 were materially false and misleading when

   made for the reasons specified in Paragraph 122 at subdivisions (i)-(ix) and (xvii), particularly

   because Philips had already received multiple complaints about the Foam being used in its

   products, had already documented Foam breakage issues in a report dated April 1, 2016 and, in

   another report, dated November 25, 2016, had already documented issues if the Foam was exposed

   to high humidity or high temperature.

          151.    On February 21, 2017, the Company filed its Annual Report on SEC Form 20-F for

   the year ended December 31, 2016 (the “2016 20-F”). Appended to the 2016 20-F as exhibits

   were signed certifications pursuant to the Sarbanes-Oxley Act of 2002 (“SOX”) by the Individual

   Defendants, attesting that “[t]he [2016 20-F] fully complies with the requirements of section 13(a)

   or 15(d) of the Securities Exchange Act of 1934 and information contained in the [2016 20-F]

   fairly presents, in all material respects, the financial condition and results of operations of the

   Company.”

          152.    In the 2016 20-F, in a message from van Houten to shareholders, the Company

   stated: “[W]e again stepped up our investments in quality, growth initiatives and innovation.” Van

   Houten continued, “With a strong commitment to continuous improvement, we will deliver the

   meaningful innovation and quality our customers expect—and take the next steps on our journey

   to reach our goal of improving the lives of 3 billion people a year by 2025!”

          153.    In the 2016 20-F, the Company stated:

          Segment performance 3.1.1
          For [products including the Devices], we are subject to the applicable requirements
          of the US FDA.
                                                  [. . .]
          Commitment to quality
          . . . We are committed to compliance with regulatory product approval and quality
          system requirements in every market we serve, by addressing specific
          requirements of local and national regulatory authorities including the US FDA[.]


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                                                 [. . .]
          5.5 Compliance risks
          Philips is exposed to non-compliance with product safety laws and data privacy.

          . . . Philips is exposed to the risk that its products, including components or
          materials procured from suppliers, may prove to be not compliant with safety laws,
          e.g. chemical safety regulations. Such non-compliance could result in a ban on the
          sale or use of these products.
          Philips operates in a highly regulated product safety and quality environment.
          Philips’ products are subject to regulation by various government agencies,
          including the FDA (US) and comparable foreign agencies. . . . The risk exists that
          product safety incidents or user concerns could trigger FDA business reviews
          which, if failed, could lead to business interruption which in turn could adversely
          affect Philips’ financial condition and operating results.

          154.    The Company reported sales rose to EUR 17.4 billion in its HealthTech portfolio.

   On a comparable basis sales increased by 5% in the portfolio, which includes the Sleep &

   Respiratory Care division. There was a reported mid-single-digit growth in Sleep & Respiratory

   Care as compared to the previous year.

          155.    The statements referenced in ¶¶ 151-54 were materially false and misleading when

   made for the reasons specified in Paragraph 122 at subdivisions (i)-(ix) and (xvii), particularly

   because Philips had already received multiple complaints about the Foam being used in its

   products, had already documented Foam breakage issues in a report dated April 1, 2016 and, in

   another report, dated November 25, 2016, had already documented issues if the Foam was exposed

   to high humidity or high temperature.

          156.    On April 11, 2017, Philips announced the release of yet another product using the

   same Foam it knew to be dangerous. In a release announcing the new DreamStation Go sleep

   therapy device, Philips did not warn of any potential issues with Foam degradation. Instead, the

   Company described the product as “its newest and smallest positive airway pressure (PAP) device

   designed to simplify travel for patients living with obstructive sleep apnea (OSA).”



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          157.    The Company further stated about the DreamStation Go:

          DreamStation Go delivers the same clinically-proven performance and comfort, for
          reliable, convenient therapy on-the-go.

          Designed with traveling patient needs in mind, DreamStation Go is the product of
          over 30 years of sleep therapy innovation.

          ...

          OSA affects more than 100 million people worldwide[i], many of whom rely
          heavily on PAP therapy to improve their quality of life. DreamStation Go is
          available in either a fixed-pressure continuous positive airway pressure (CPAP) or
          auto-titrated APAP model. Both options are Bluetooth-enabled for seamless data
          transmission to Philips’ EncoreAnywhere and Care Orchestrator cloud-based
          patient management systems for clinicians. Integration with Philip’s
          DreamMapper application enables users to easily monitor therapy adherence
          across multiple devices from one consolidated dashboard.

          DreamStation Go is the latest addition to Philips’ award-winning Dream Family
          of sleep apnea products focused on connecting and supporting the patient,
          clinician, and homecare provider to enhance patient care and quality of life.
          Dream Family has impacted more than one million patient lives since launched in
          2015.

          158.    The statements referenced in ¶¶ 156-57 were materially false and misleading when

   made for the reasons specified in Paragraph 122 at subdivisions (i)-(ix) and (xvii), particularly

   because Philips had already received multiple complaints about the Foam being used in its

   products, had already documented Foam breakage issues in a report dated April 1, 2016 and,

   another report, dated November 25, 2016, had already documented issues if the Foam was exposed

   to high humidity or high temperature. Therefore, Philips was marketing the DreamStation Go with

   the Foam knowing – but not revealing – there were risks associated with the Foam.

          159.    On April 21, 2017, Philips announced results from a recent study, that Philips

   sponsored, that supposedly showed “significant decreases in both hospital and payer costs and

   hospitalization rates for severe chronic obstructive pulmonary disease. . . with the use of advanced




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   noninvasive ventilation (NIV), specifically Philips Trilogy 100 with AVAPS-AE mode, compared

   to no NIV or the use of less advanced NIV therapy following patient discharge.”

          160.    The April 21, 2017 release detailed the growing burden COPD places on healthcare

   providers and individuals. Philips stated:

          In an effort to lessen this burden, the Philips-sponsored study reviewed how
          hospitals and payers can more efficiently and effectively manage this COPD
          treatment and related comorbidities by implementing an advanced mode of NIV in
          the home care setting. This was reviewed in a multifaceted program that
          incorporates a combination of therapies including treatment using advanced NIV
          therapy provided by Philips Trilogy100 (AVAPS-AE modality), oxygen therapy,
          respiratory therapist-led care, patient education and medication reconciliation. This
          at-home program has now proven its potential to provide both hospitals and payers
          with tremendous savings while also offering the patient with treatment at home.
                                                    ...

          With COPD being the most common cause for readmissions, this data supports the
          role of home care in COPD management. Available globally, the
          Philips Trilogy100 device used in this study offers the unique AVAPS-AE
          modality designed to tailor treatment and provide increased support for patients
          from hospital to home, while automating the titration process. It is the most widely
          dispensed portable ventilator in North America

          161.    The statements referenced in ¶¶ 159-60 were materially false and misleading when

   made for the reasons specified in Paragraph 122 at subdivisions (i)-(ix) and (xvii), particularly

   because Philips had already received multiple complaints about the Foam being used in its

   products, had already documented Foam breakage issues in a report dated April 1, 2016 and,

   another report, dated November 25, 2016, had already documented issues if the Foam was exposed

   to high humidity or high temperature.        Therefore, Philips was promoting the use of the

   Trilogy100 device as reducing health risks and costs while withholding the full truth about the

   risks associated with the device.




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          162.    On April 24, 2017, the Company released its earnings for the First Quarter of 2017.

   The release reported that sales increased to EUR 5.7 billion, with comparable sales growth of 3%

   in the HealthTech portfolio. Sleep & Respiratory Care again recorded high-single-digit growth.

          163.    On April 24, 2017, the Company hosted an earnings call with investors to discuss

   the Company’s financial and earnings results for the First Quarter of 2017 (the “1Q2017 Earnings

   Call”). During the 1Q2017 Earnings Call, Bhattacharya said:

          Growth of 5% . . . in Personal Health was driven by high single-digit growth in
          Health & Wellness and Sleep & Respiratory Care, where we saw another quarter
          of strong double-digit growth in the patient interface business with continued
          market share gains.
          As Frans mentioned, in Health & Wellness, we have a solid pipeline of new product
          introductions[.] . . . We will also launch the Philips DreamStation Go portable
          CPAP solutions. We will back these launches with the requisite support in
          advertising and promotion, which will have a dampening effect on the results of
          Personal Health in the second quarter. However, I hasten to add that we do expect
          to have continued improvements in operating results for Personal Health.

          164.    During the 1Q2017 Earnings Call, in response to an analyst’s question concerning

   “what kinds of works [sic] or progress you’ve made on actually addressing what the FDA has

   brought to your attention” concerning issues with regulatory non-compliance, van Houten said:

          The PH [(i.e., Personal Health)] margin is very much driven by strong innovations.
          Now in the quarter, we saw high single-digit growth in Health & Wellness, high
          single-digit growth in Sleep & Respiratory care. Both categories are above average
          in profitability for Personal Health. And therefore, overall, with that growth rate,
          we also saw a further mix improvement. And that then drove a nice profit
          expansion that can change a little bit if the mix changes through the year, right? So
          I’d say from a seasonality point of view, the mix is not equal in every quarter, right,
          that you need to take into account. But otherwise, we are very confident that
          Personal Health is on a good path and that we continue the improvement. . . .

          165.    The statements referenced in ¶¶ 162-64 were materially false and misleading when

   made for the reasons specified in Paragraph 122 at subdivisions (i)-(vii), (viii), (ix) and (xvii),

   particularly because Philips had already received multiple complaints about the Foam being used

   in its products, had already documented Foam breakage issues in a report dated April 1, 2016 and,


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   another report, dated November 25, 2016, had already documented issues if the Foam was exposed

   to high humidity or high temperature.

          166.    On July 24, 2017, the Company released its earnings for the Second Quarter of

   2017. The release reported that sales totaled EUR 4.3 billion, with comparable sales growth of

   4%. Net income from continuing operations amounted to EUR 161 million, driven by a 15%

   increase in Adjusted EBITA to EUR 439 million. The Company’s Personal Health businesses saw

   a “6% comparable sales growth” that the Company ascribed to “double-digit growth in Health &

   Wellness, high-single-digit growth in Personal Care and mid-single-digit growth in Sleep &

   Respiratory Care.”

          167.    That same day, the Company hosted an earnings call with investors to discuss the

   Company’s financial and earnings results for the Second Quarter of 2017 (the “2Q2017 Earnings

   Call”). During the 2Q2017 Earnings Call, van Houten announced:

          Within the Personal Health segment of sleeper respiratory [sic] care, we signed an
          agreement to acquire Respirtech, a US based provider of an innovative airway
          clearance solution for patients with chronic respiratory conditions. Highly
          complementary products to our existing portfolio will help those patients to receive
          the care they need at home. Also Respirtech will be accretive to growth and margins
          as of the first year.

          168.    During the 2Q2017 Earnings Call, in response to an analyst’s questions about the

   Company’s recent mergers and acquisitions, van Houten described the Company’s Sleep &

   Respiratory Care business as “a high-performing business group that is delivering steady

   mid-single-digit growth and high profitability.”

          169.    The statements referenced in ¶¶ 166-68 were materially false and misleading when

   made for the reasons specified in Paragraph 122 at subdivisions (i)-(ix) and (xvii), particularly

   because Philips had already received multiple complaints about the Foam being used in its

   products, had already documented Foam breakage issues in a report dated April 1, 2016 and,



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   another report, dated November 25, 2016, had already documented issues if the Foam was exposed

   to high humidity or high temperature. Philips knew or was reckless in not knowing that problems

   with the Foam would impact sales, but the Company did not adequately disclose this risk.

          170.    On October 23, 2017, the Company released its earnings for the Third Quarter of

   2017. The release reported sales of EUR 4.1 billion, with comparable sales growth of 4%, net

   income from continuing operations increased to EUR 263 million, reflecting a 12% increase in

   Adjusted EBITA to EUR 532 million. Sleep & Respiratory Care again recorded high-single-digit

   growth. The Company reported “5% comparable sales growth of the Personal Health businesses,”

   which it ascribed to “high-single-digit growth in Sleep & Respiratory Care.” The adjusted EBITA

   margin improved by 130 basis points for the Sleep & Respiratory Care businesses.

          171.    On October 23, 2017, the Company hosted an earnings call with investors to discuss

   the Company’s financial and earnings results for the Third Quarter of 2017 (the “3Q2017 Earnings

   Call”). During the 3Q2017 Earnings Call, van Houten said:

          COPD is the most common cause of hospital readmissions and a recent study
          showed that with Philips’ Trilogy home ventilators providers can save millions in
          readmission cost [sic]. We have expanded our market-leading home ventilation
          offering with the launch of the connected Trilogy ventilator in North America,
          linking it to the Philips’ Care Orchestrator. Care Orchestrator is a unique patient
          management service for people living with chronic respiratory and sleep
          conditions. This service effectively provides care coordination between patients,
          homecare workers, doctors, hospitals and payers, all enabled by our HealthSuite
          digital cloud platform. The combination of the connected Trilogy ventilator and
          the CareSage service provides a clinically-validated solution for COPD
          management which is expected to help providers lower care costs and reduce
          hospital admissions while improving the patient experience.

          172.    During the 3Q2017 Earnings Call, van Houten touted the quality of Philips’

   products, stating:

          Let me stress that there is no concern on product quality. Our products are
          market-leading, also in the area of quality and reliability and are highly
          appreciated by our customers. Further, as expected, the FDA conducted an



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          inspection of our Cleveland facility in the quarter. In accordance with normal
          practice, we submitted our response to inspection findings for review by the FDA.
          We are committed to delivering high-quality innovative products and solutions
          and over the last years, we have made significant progress in our quality
          management regulation compliance.

          173.    The statements referenced in ¶¶ 170-72 were materially false and misleading when

   made for the reasons specified in Paragraph 122 at subdivisions (i)-(ix) and (xvii), particularly

   because Philips had already received multiple complaints about the Foam being used in its

   products, had already documented Foam breakage issues in a report dated April 1, 2016 and,

   another report, dated November 25, 2016, had already documented issues if the Foam was exposed

   to high humidity or high temperature. While van Houten stated publicly “there is no concern on

   product quality,” Philips’ internal documents paint a different picture.

          174.    In the 2017 Annual Report to Shareholders, “Analyst Selection,” released on or

   about January 30, 2018, van Houten stated: “We continue to drive quality and regulatory

   performance improvement throughout the company. Nevertheless, we did not fully deliver to our

   2017 plan as we continue to address two significant regulatory challenges that arose from two

   years ago. We must continue our improvement journey forcefully.”

          175.    In the 2017 Annual Report to Shareholders, released on or about January 30, 2018,

   the Company stated:

          Philips’ Sleep & Respiratory Care business continues to grow in respiratory care,
          with strong acceptance of its market-leading home ventilation offerings. This
          portfolio was further extended with the launch of the connected Trilogy ventilator
          in North America, linking it to Philips’ unique patient management solution Care
          Orchestrator. In sleep care, continued mask share gains were driven by strong
          traction of the DreamWear family of masks, including the recently introduced
          DreamWear Pillow mask.
          Philips acquired Respiratory Technologies, a US-based provider of an innovative
          airway clearance solution for patients with chronic respiratory conditions.




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          176.    On January 30, 2018, the Company hosted an earnings call with investors to discuss

   the Company’s financial and earnings results for the Fourth Quarter of 2017 (the “4Q2017

   Earnings Call”). During the 4Q2017 Earnings Call, van Houten said:

          Expansion
          In the third quarter of 2017, we expanded our market leading home ventilation
          offering was [sic] the launch of the wirelessly connected Trilogy Ventilator in
          North America linking it to the cloud-based platform Care Orchestartor which is
          powered by the Philips Healthsuite digital platform. This established a clinically
          validated solution COPD management which will help providers’ [sic] lower care
          cost, reduce hospital admissions while improving patient experience.
          Now with connected respiratory care added to our 2.6 billion nights of sleep
          experience, Philips is leading connected sleep and respiratory therapies in the home.
          Growth
          The award-winning Trilogy Ventilator as well as our compact sleep therapy system
          DreamStation GO launched in the second quarter of last year contributed to a
          double-digit comparable growth in sleep and respiratory devices for the fourth
          quarter. Our sleep and diagnostics business also experienced mid-teens growth
          validating our intent to extend the sleep apnea market worldwide. And in-patient
          interface, we have exciting launches planned in the first [sic] of 2018 addressing
          the full mask, face mask segment, which is the largest segment of the market.

          177.    During the 4Q2017 Earnings Call, in response to an analyst’s question about the

   number of products in Philips’ Personal Health portfolio, van Houten stated: “So obviously, we

   like businesses that have recurring revenues attached to them. And several of our businesses do

   in personal health: sleep and respiratory care where you have services and masks. . . .”

          178.    The statements referenced in ¶¶ 174-77 were materially false and misleading when

   made for the reasons specified in Paragraph 122 at subdivisions (i)-(ix) and (xvii), particularly

   because Philips had already received multiple complaints about the Foam being used in its

   products, had already documented Foam breakage issues in a report dated April 1, 2016 and,

   another report, dated November 25, 2016, had already documented issues if the Foam was exposed

   to high humidity or high temperature. Therefore, Philips knew or was reckless in not knowing the

   growth it was touting was not sustainable.



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          179.    On February 28, 2018, the Company filed its Annual Report on SEC Form 20-F for

   the year ended December 31, 2017 (the “2017 20-F”). Appended to the 2017 20-F as exhibits

   were signed certifications pursuant to the Sarbanes-Oxley Act of 2002 (“SOX”) by the Individual

   Defendants, attesting that “[t]he [2017 20-F] fully complies with the requirements of section 13(a)

   or 15(d) of the Securities Exchange Act of 1934 and information contained in the [2017 20-F]

   fairly presents, in all material respects, the financial condition and results of operations of the

   Company.”

          180.    In the 2017 20-F, the Company stated:

          3.5 Our commitment to Quality
          We continue to drive quality and regulatory performance improvement throughout
          the Philips Group. Under our governance model, the Executive Committee is
          ultimately accountable for Quality at Philips, supported by the Quality &
          Regulatory team. The Quality & Regulatory team drives to one common set of
          standards through the Philips Quality Management System (PQMS), as well as
          providing transparency on performance and opportunities for further improvement.
          Inclusion of quality metrics in monthly business reviews has driven transparency
          and improvement execution.
                                                  ...
          Looking ahead we will continue to raise the performance bar, also including Quality
          in the evaluation of all senior management. With consistency of purpose, top-down
          accountability, standardization, and leveraging continuous improvement we aim to
          drive greater speed in the adoption of a Quality mindset throughout the enterprise.
                                                  [. . .]
          4.1.1 About Personal Health businesses
                                              ...
          Philips’ Personal Health businesses are subject to regulatory requirements in the
          markets where they operate. . . . We have a growing portfolio of medically
          regulated products in our Health & Wellness, Personal Care and Sleep &
          Respiratory Care businesses. For these products we are subject to the applicable
          requirements of the US FDA[.]
                                                  [. . .]
          6.5 Compliance risks
          Philips operates in a highly regulated product safety and quality environment.
          Philips’ products are subject to regulation (e.g. the new EU Medical Devices
          Regulation) by various government agencies, including the FDA (US) and


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          comparable foreign agencies. . . . The risk exists that product safety incidents or
          user concerns could trigger FDA business reviews which, if failed, could lead to
          business interruption which in turn could adversely affect Philips’ financial
          condition and operating results.

          181.    In the 2017 20 F, the Company further stated: “Philips’ Sleep & Respiratory Care

   business continues to grow in respiratory care, with strong acceptance of its market leading home

   ventilation offerings. This portfolio was further extended with the launch of the connected Trilogy

   ventilator in North America, linking it to Philips’ unique patient management solution Care

   Orchestrator. In sleep care, continued mask share gains were driven by strong traction of the

   DreamWear family of masks, including the recently introduced DreamWear Pillow mask.”

          182.    The statements referenced in ¶¶ 179-81 were materially false and misleading when

   made for the reasons specified in Paragraph 122 at subdivisions (i)-(ix) and (xvii), particularly

   because Philips had already received multiple complaints about the Foam being used in its

   products, had already documented Foam breakage issues in a report dated April 1, 2016 and,

   another report, dated November 25, 2016, had already documented issues if the Foam was exposed

   to high humidity or high temperature. Therefore, Philips knew or was reckless in not knowing the

   growth it was touting was not sustainable.

          183.    On April 23, 2018, the Company released its earnings for the First Quarter of 2018.

   The release reported sales of EUR 3.9 billion, with comparable sales growth of 5%, net income

   from continuing operations of EUR 94 million, and the Company’s Adjusted EBITA margin

   increased 130 basis points to 8.7%. Sleep & Respiratory Care again recorded high-single-digit

   growth. Comparable sales growth in the Company’s Sleep & Respiratory Care businesses was

   “4%, reflecting high-single-digit growth in Sleep & Respiratory Care.” “Overall, the Adjusted

   EBITA margin increased by 30 basis points” across the Personal Health businesses.




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          184.    That same day, the Company hosted an earnings call with investors to discuss the

   Company’s financial and earnings results for the First Quarter of 2018 (the “1Q2018 Earnings

   Call”). In the 1Q2018 Earnings Call, Bhattacharya stated:

          The Personal Health businesses delivered 4% comparable sales growth, driven by
          high single-digit growth in Sleep & Respiratory Care. As Frans mentioned, this
          includes a negative impact of 150 basis points due to lower sales in our air
          purification business in China.

          185.    During the 1Q2018 Earnings Call, van Houten said:

          The Personal Health business grew 4% a lower growth compared to previous
          quarters, due to lower demand in the air purification market in China. This was due
          to an improvement in the weather conditions in China and government policies to
          improve air quality. Nevertheless, our portfolio continued to do well as we gained
          market share in this category. This impacted the comparable sales growth of
          Personal Health business by approximately 150 basis points.

          186.    During the 1Q2018 Earnings Call, van Houten also said:

          In Sleep & Respiratory Care, high single-digit comparable sales growth was driven
          by double-digit growth in the patient interface or masks. In this area, we further
          expanded our integrated Dream Family solutions with the introduction of the
          DreamWear Full Face mask as part of our award-winning DreamWear platform.
          With this, we are addressing the largest mask segment. In Respiratory Care, we
          continued with strong performance led in ventilation by the award-winning
          Trilogy range.
          Sleep apnea has a high-incident rate globally, yet there is low awareness among the
          impacted population. To unlock the large value creation potential for Philips, we
          opened Southeast Asia’s first Sleep and Respiratory Education Center in Singapore
          to train health care professionals from across the region to better diagnose and treat
          sleep and respiratory disorders.

          187.    The statements referenced in ¶¶ 183-86 were materially false and misleading when

   made for the reasons specified in Paragraph 122 at subdivisions (i)-(x) and (xvii), particularly

   because Philips had already received multiple complaints about the Foam being used in its

   products and had already initiated an informal CAPA because of the complaints.

          188.    On July 23, 2018, the Company released its earnings for the Second Quarter of

   2018. The release reported sales of EUR 4.3 billion, with comparable sales growth of 4, net income


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   from continuing operations of EUR 186 million, and that the Adjusted EBITA margin increased

   100 basis points to 11.2%. Sleep & Respiratory Care again recorded high-single-digit growth. “In

   the Personal Health businesses, comparable sales growth was 2%, with high-single-digit growth

   in Sleep & Respiratory Care.” “The Adjusted EBITA margin” for the Personal Health businesses

   “increased by 80 basis points, driven by operational improvements.”

          189.    On July 23, 2018, the Company hosted an earnings call with investors to discuss

   the Company’s financial and earnings results for the Second Quarter of 2018 (the “2Q2018

   Earnings Call”).

          190.    During the 2Q2018 Earnings Call, van Houten said:

          The Personal Health businesses grew 2% with high single-digit growth in Sleep &
          Respiratory Care and low single-digit growth in Personal Care. Growth of the
          Personal Health businesses was impacted by a high single-digit decline in China,
          mainly due to an inventory alignment at our online distributors and lower demand
          in the air purification market. After a slow start, the Personal Health businesses
          gained momentum in the quarter, and we expect this to continue in the second half
          of the year. The increase in margin was mainly driven by growth, our productivity
          program and operational improvements, contributing to an adjusted EBITA margin
          increase of 100 basis points.
                                                  [. . .]
          Following the successful launch of the DreamWear Full Face mask in the United
          States at the end of the first quarter, the rollout of this new mask in other markets
          resulted in double-digit growth for Philips in this largest mask segment. Moreover,
          to further drive growth in the emerging sleep therapy market in China, Philips
          launched the connected Dream Family solution there.

          191.    During the 2Q2018 Earnings Call, an analyst inquired of the “single biggest risk to

   [Philips’] ability” to meet its earnings expectations in the Personal Health business; van Houten

   responded that “Sleep & Respiratory Care all along has demonstrated high growth as well.”

          192.    The statements referenced in ¶¶ 188-91 were materially false and misleading when

   made for the reasons specified in Paragraph 122 at subdivisions (i)-(xii) and (xvii), particularly

   because Philips had already received multiple complaints about the Foam being used in its



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   products, had already initiated an informal CAPA because of the complaints and even issued an

   internal corrective procedure (without notification to the FDA). Therefore, the growth of this line

   was unsustainable.

              193.    On September 28, 2018, van Houten spoke to a packed audience at the University

   of Amsterdam about Philips’ so-called innovations.3 He stated: “Our purpose is to improve the

   health of 3 billion people by 2025. Today we are already at 2.1 billion every year that are touched

   by our products and services. I mentioned that our share price from a low of around EUR 13 in

   2012 is currently around EUR 37 and still going up and we have buy ratings from all analysts. So

   we are on a good path and this journey of change never stops.”

              194.    The statements referenced in ¶¶ 193-94 were materially false and misleading when

   made for the reasons specified in Paragraph 122 at subdivisions (i)-(xii) and (xvii), particularly

   because Philips had already received multiple complaints about the Foam being used in its

   products, Philips was hiding these issues from the public, contradicting van Houten’s message that

   the Company’s purpose was to “improve the health of 3 billion people” and the Company’s growth

   in this division was unsustainable.

              195.    On October 22, 2018, the Company released its earnings for the Third Quarter of

   2018. The release reported sales of EUR 4.3 billion, with 4% comparable sales growth, that net

   income from continuing operations increased 17% to EUR 307 million, and Adjusted EBITA

   margin increased 40 basis points to 13.2%. “In the Personal Health businesses, comparable sales

   growth was 4%, with mid-single-digit growth in Sleep & Respiratory Care.” “The adjusted EBITA

   margin increased by 10 basis points” for the Personal Care businesses, “reflecting operational




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       A recording of the talk is available at https://www.youtube.com/watch?v=SHy9114eDKo.


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   improvements, largely offset by adverse currency effects and higher advertising & promotion

   spend.”

          196.   On October 22, 2018, the Company hosted an earnings call with investors to discuss

   the Company’s financial and earnings results for the Third Quarter of 2018 (the “3Q2018 Earnings

   Call”). During the 3Q2018 Earnings Call, Bhattacharya attributed a slowdown in Personal Health

   to “currency headwinds, mainly in Turkey and Argentina, trade sanctions in Iran and supply chain

   disruptions due to adverse weather conditions like floods in Hong Kong and India.”

          197.   During the 3Q2018 Earnings Call, van Houten said:

          [O]ur Sleep & Respiratory Care business continues to garner attraction for its
          market-leading home ventilation offering such as the new Trilogy Evo ventilator
          platform, which is the only portable life-support solution designed to stay with
          patients as they change care environments.
                                                 [. . .]
          Sales and cost synergies are on track, and we continue to expect to reach double-digit
          profitability in the fourth quarter this year

          198.   During the 3Q2018 Earnings Call, in response to an analyst’s questions concerning

   “long-term headwinds,” van Houten said:

          [W]e have 3 high-margin business lines in PH [(i.e., Personal Health)] that are all
          fantastic. And I would not take the headwinds as structural. We continue to expect
          strong growth potential in all 3. I mean, I’m referring to Sleep & Respiratory Care,
          Health & Wellness and Personal Care as businesses with very strong profit potential
          and growth potential. The guidance that we have given is very much intact on
          profitability, and we will come back on that during the Capital Markets Day in 2
          weeks. We have seen already a step-up in growth from second quarter to third
          quarter. Abhijit [Bhattacharya] said that we—besides the headwinds on currency,
          we also have invested about 80 basis points more in advertising and promotion.
          That’s also anticipating a strong fourth quarter.

          199.   During the 3Q2018 Earnings Call, in response to an analyst’s question about the

   apparent slowdown in momentum in the Company’s Personal Health portfolio, van Houten said:

          [T]he Sleep & Respiratory franchise is strong. International markets continue to
          grow double-digit. In the United States, we have seen a little bit more lumpiness
          to—in relation to large customer orders. I would say there is nothing structural to


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            be concerned about. The franchise is intact, and we expect also next year a strong
            growth. Perhaps on the back of this question, happy to report that our endeavors to
            step-up mask sales is [sic] going well. This, of course, always the difference
            between our competitor and us is that they have more mask sales and we had more
            systems sales. Therefore extremely pleasing that we are growing double-digit in—
            on the mask side with our Dream Series masks. And yes, as I said, I see no reason
            to change our outlook on the Sleep & Respiratory Care business.

            200.   The statements referenced in ¶¶ 195-99 were materially false and misleading when

   made for the reasons specified in Paragraph 122 at subdivisions (i)-(xii) and (xvii), particularly

   because Philips had already received multiple complaints about the Foam being used in its

   products, Philips was hiding these issues from the public, contradicting van Houten’s message that

   the Company’s purpose was to “improve the health of 3 billion people” and the Company’s growth

   in this division was unsustainable.

            201.   In the 2018 Annual Report to Shareholders, released on or about January 29, 2019,

   the Company stated:

            The company’s wide portfolio of connected consumer health platforms—such as
            our Sonicare dental solutions and our Dream Family sleep care solution—leverages
            Philips HealthSuite, a cloud-enabled connected health ecosystem of devices, apps
            and digital tools that enable personalized health and continuous care.
            . . . In Sleep & Respiratory Care, revenue is generated both through product sales
            and through rental models whereby revenue is generated over time. 4

            202.   In the 2018 Annual Report to Shareholders, released on or about January 29, 2019,

   the Company stated:

            Philips’ Sleep & Respiratory Care business continues to gain traction for its
            market-leading home ventilation offerings, such as the new Trilogy Evo
            ventilator platform, which is the only portable life support solution designed to
            stay with patients as they change care environments. Integrated with Care
            Orchestrator, Philips’ sleep and respiratory care cloud-based management system,
            Trilogy Evo will help to ease the burden of managing chronic conditions such as
            Chronic Obstructive Pulmonary Disease (COPD) by allowing physicians,
            clinicians and care providers to collaborate and coordinate care from hospitals



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       2018 Annual Report at 15.


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          to home by storing their patient prescription and therapy information in a single
          secure location.
          Philips acquired NightBalance, a digital health scale-up company based in the
          Netherlands that has developed an innovative, easy-to-use device to treat positional
          obstructive sleep apnea and positional snoring.
          At the consumer electronics show CES 2018, Philips introduced SmartSleep, the
          world’s first and only clinically proven wearable solution for consumers to improve
          deep sleep quality for people who do not get enough sleep. SmartSleep joins
          Philips’ growing portfolio of smart digital platforms and intelligent solutions that
          give consumers data-driven insights into their health and access to professional
          expertise and advise.
          Highlighting the success of Philips’ patient-centric product designs in sleep care,
          Philips has sold more than 10 million DreamWear CPAP masks and cushions in
          just three years after the Dream Family platform introduction, growing the
          DreamWear patient interface sales faster than the market.

          203.   On January 29, 2019, the Company released its earnings for the Fourth Quarter of

   2018. The release reported that sales increased to EUR 5.6 billion, with comparable sales growth

   of 5%, income from continuing operations increased to EUR 723 million and Adjusted EBITA

   margin increased to 17.4%.. Sleep & Respiratory Care again recorded high-single-digit growth.

   “The Personal Health businesses delivered comparable sales growth of 3% in Q4 2018, driven by

   high-single-digit growth in Sleep & Respiratory Care.” “For the full year [(i.e., 2018)], the

   Personal Health businesses delivered 3% comparable sales growth and an increase in Adjusted

   EBITA margin to 16.8%.”

          204.   On January 29, 2019, the Company hosted an earnings call with investors to discuss

   the Company’s financial and earnings results for the Fourth Quarter of 2018 (the “4Q2018

   Earnings Call”). During the 4Q2018 Earnings Call, Bhattacharya stated: “Sleep & Respiratory

   Care business continued its strong performance with high single-digit growth for the quarter and

   the year. The successful launch of the DreamWear Full Face mask at the end of the first quarter

   continued its good momentum as the fourth quarter and full year delivered double-digit growth for

   masks overall.”


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          205.   During the 4Q2018 Earnings Call, van Houten said:

          Our Sleep & Respiratory Care business continue to perform strongly. We have sold
          more than 10 million DreamWear CPAP masks and cushions in just 3 years after
          its introduction, highlighting the success of our patient-centric product design
          approach in health care. DreamWear is the first and only sleep apnea therapy
          platform with a modular mask system accommodating cushions to fit 95% of the
          patient population with nasal, full face and pillow options. With the hose placed on
          top of the head, the innovative design prevents red marks, discomfort and irritation
          to the nose bridge for the patient. We are committed to improve the lives of patients
          living with sleep apnea by developing solutions that enhance the patient experience
          and comfort.

          206.   During the 4Q2018 Earnings Call, van Houten said:

          To further align our business with customer needs, we recently announced that we
          have realigned our internal business structures. Effective as of January 1, 2019 this
          will lead to changes in the composition of our reporting segments. The most notable
          changes are the shift to Sleep & Respiratory Care business from the Personal Health
          segment to the renamed Connected Care segment. The Connected Care businesses
          focus on patient care solutions, advanced analytics and patient and workflow
          optimization, both inside and outside the hospital. And aim to unlock synergies
          from integrating and optimizing patient care pathways leveraging provider-payer-
          patient business models to positively impact population health and value-based
          health care.

          207.   During the 4Q2018 Earnings Call, van Houten said:

          The Personal Health businesses will focus on healthy living and primary
          preventative care. As a result of moving the higher growth Sleep & Respiratory
          Care business to the Connected Care segment, we changed the 2019, 2020 growth
          guidance of both segments. The Connected Care and Personal Health segments’
          comparable sales growth for 2019-2020 is now expected to be 4% to 6%. And the
          adjusted EBITA margin is expected to be in the 16% to 18% range by 2020 for each
          of these segments. There is no change in the 2019 to 2020 sales growth of 5% to
          7% nor the 14% to 16% adjusted EBITA margin by 2020 guidance for the
          Diagnosis & Treatment businesses. And there’s also no change to any of the overall
          Philips Group targets.

          208.   During the 4Q2018 Earnings Call, in response to an analyst’s inquiry about the

   reorganization of reporting segments affecting Sleep & Respiratory Care, van Houten said:

          [T]he high-growth of Sleep & Respiratory Care will move into Connected Care.
          And that’s the main reason why we adjusted the growth bandwidth for Personal
          Health to the 4% to 6%. But we have definitely confidence that we can achieve --
          that we can be well into that range. And then on the EBITA outlook, as Abhijit


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          promised, we will do a full restate in the course of the quarter so that it will help
          your own analysis. But there is definitely space for margin expansion. And partly
          because in 2018, we saw actually some of the high-margin category grow slower
          due to the supply constraints. Take for example oral care. And in fact, we saw
          higher growth in some of the Domestic Appliances category. So as the high margin
          categories come back fully on steam which they should and they will, then we
          already get a nice mix effect there. Moreover, the productivity program that we
          have across the company apply to Personal Health as well. We did already referred
          to the nation’s program around marketing transformation, which very much will
          benefit PH, Personal Health. As we are working on shifting into low marketing
          spend to outside external working marketing spend which could have significant
          impact in the -- in how many consumers see our promotions and advertising. So
          anyway, multiple, as this say in Dutch, (foreign language) in the fire, abilities to
          improve. And therefore, we remain confident about P[ersonal] H[ealth].

          209.    During the 4Q2018 Earnings Call, in response to another analyst’s inquiry about

   the reorganization of reporting segments affecting Sleep & Respiratory Care, van Houten stated:

          [T]he guidance change is purely related to the taking out of the high-growth and
          high profitable Sleep & Respiratory Care business. And there’s no change in the
          underlying expectations that you have on us but that I have on the business. So we
          actually are on the same side there.

          210.    During the 4Q2018 Earnings Call, in response to an analyst’s inquiry about whether

   Philips was gaining momentum in the Sleep & Respiratory market space, van Houten stated:

          Sleep & Respiratory Care has actually a very strong performance in rest of the
          world. We believe we have gained some share. On the other hand, earlier in the
          year, (inaudible) did a little bit better than us, so there was also every reason to put
          the foot on the gas. Overall, I have high confidence in the sustainability of growth
          for this category. There are many people that are not diagnosed with sleep apnea.
          We are expanding the sleep labs and the collaboration with sleep centers to help
          aid the Diagnosis & Treatment of all these elements or diseases. And then
          moreover, as you remember, we have expanded the portfolio from sleep apnea
          also to sleep disorders with the sleep band and so on. And also the ability to nudge
          people when they have light apnea and they don’t want to have a full mask
          solution so with the new products that will further enhance revenue. And then on
          the respiratory side, we saw actually -- we are gaining momentum both with the
          portable oxygen generator as well as the respiratory side. So overall, a positive and
          optimistic outlook.

          211.    The statements referenced in ¶¶ 201-10 were materially false and misleading when

   made for the reasons specified in Paragraph 122 at subdivisions (i)-(xii) and (xvii), particularly



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   because Philips had already received multiple complaints about the Foam being used in its

   products and therefore significant risk that performance of the Sleep & Respiratory line could not

   continue.

          212.    On February 27, 2019, the Company filed its Annual Report on SEC Form 20-F for

   the year ended December 31, 2018 (the “2018 20-F”). Appended to the 2018 20-F as exhibits

   were signed certifications pursuant to the Sarbanes-Oxley Act of 2002 (“SOX”) by the Individual

   Defendants, attesting that “[t]he [2018 20-F] fully complies with the requirements of section 13(a)

   or 15(d) of the Securities Exchange Act of 1934 and information contained in the [2018 20-F]

   fairly presents, in all material respects, the financial condition and results of operations of the

   Company.”

          213.    In the 2018 20-F, the Company stated:

          Our commitment to Quality, Regulatory Compliance and Integrity
          Our business success depends on the quality of our products, services and solutions
          and compliance with many regulations and standards.
                                                  ...
          Philips actively maintains FDA/ISO Quality Systems globally that establish
          standards for its product design, manufacturing, and distribution processes. Our
          businesses are subject to compliance with regulatory product approval and quality
          system requirements in every market we serve, and to specific requirements of local
          and national regulatory authorities including the US FDA[.] . . . We have a growing
          portfolio of medically regulated products in our Health & Wellness, Personal Care
          and Sleep & Respiratory Care businesses.
                                                   ...
          Failing to comply with the regulatory requirements can have severe legal
          consequences.
                                                        [. . .]
          Compliance risks
          Philips is exposed to non-compliance with product safety laws, good
          manufacturing practices and data privacy.
          Philips’ brand image and reputation would be adversely impacted by
          non-compliance with various product safety laws, good manufacturing practices
          and data protection. . . .
                                               ...


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          Philips operates in a highly regulated product safety and quality environment.
          Philips’ products are subject to regulation . . . by various government agencies,
          including the FDA (US) and comparable foreign agencies[.] . . . The risk exists
          that product safety incidents or user concerns, as in the past, could trigger FDA
          business reviews which, if failed, could lead to business interruption, which in turn
          could adversely affect Philips’ financial condition and operating results.

          214.    In the 2018 20-F, the Company further stated: “Our personal Health businesses (as

   per the 2018 reporting structure) play an important role on the health continuum—in the health

   living, prevention and home care stages—delivering integrated, connected and personalized

   solutions that support healthier lifestyles and those living with chronic disease.”

          215.    In the 2018 20-F, the Company further stated: “Leveraging our deep consumer

   expertise and extensive healthcare know-how, we enable people to live a health life in a healthy

   home environment, and to proactively manage their own health.”

          216.    In the 2018 20-F, the Company stated: “Philips’ Sleep & Respiratory Care business

   continues to gain traction for its market-leading home ventilation offerings, such as the new

   Trilogy Evo ventilator platform, which is the only portable life support solution designed to stay

   with patients as they change care environments. . . . Trilogy Evo will help to ease the burden of

   managing chronic conditions such as Chronic Obstructive Pulmonary Disease (COPD) by

   allowing physicians, clinicians, and care providers to collaborate and coordinate care from hospital

   to home[.]”

          217.    In the 2018 20-F, in reporting on the Personal Health businesses, the Company

   stated; “In 2018, sales amounted to EUR 7,228 million, a nominal decrease of 1% compared to

   2017. Excluding a 4% negative currency effect and consolidation impact, comparable sales were

   3% higher year-on-year, reflecting high-single-digit growth in Sleep & Respiratory Care.”

          218.    The statements referenced in ¶¶ 212-17 were materially false and misleading when

   made for the reasons specified in Paragraph 122 at subdivisions (i)-(xii) and (xvii), particularly



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   because Philips had already received multiple complaints about the Foam being used in its

   products and while it was touting its ability to “enable people to live a health life in a healthy home

   environment” the Company knew or was reckless in not knowing the harm its products was

   causing.

          219.    On April 29, 2019, the Company released its earnings for the First Quarter of 2019.

   The release reported sales of EUR 4.2 billion, with comparable sales growth of 2%, that income

   from continuing operations increased to EUR 171 million, and that the Adjusted EBITA margin

   improved to 8.8%. Sleep & Respiratory Care recorded low-single-digit growth. “Comparable sales

   in the Connected Care[5] decreased 1%, with low-single-digit growth in Sleep & respiratory Care.”

   “The Adjusted EBITA margin” for the Connected Care businesses “decreased to 8.3%.”

          220.    On April 29, 2019, the Company hosted an earnings call with investors (the

   “1Q2019 Earnings Call”). During the 1Q2019 Earnings Call, Bhattacharya stated:

          [T]he Sleep & Respiratory business has shown low single digit growth impacted by
          a decline within our hospital respiratory business.
          The successful DreamWear Full Mask range continued its strong momentum
          delivering double-digit growth for masks overall. The launch of our DreamWisp
          mask in the first quarter will be supporting growth in the coming quarters as well.
          ...

          221.    During the 1Q2019 Earnings Call, van Houten stated:

          [T]he focus [of the Connected Care business] is on patient care solutions, advanced
          analytics and patient and workflow optimization inside and outside the hospital and
          aim to unlock synergies from integrating and optimizing patient care pathways and
          leveraging provider-payer-patient business models. . . . We’ve also teamed up with
          the United States insurance company, Humana, to improve care for at-risk,
          high-cost populations. . . .
          Our therapy solutions to treat obstructive sleep apnea, a condition that affects more
          than 100 million patients globally, continues to garner healthy demand, supported
          by the strong reception of the DreamStation GO expanded portable therapy options.


   5
    Beginning in 2019, the Company reported the results from its Sleep & Respiratory Care line
   within its Connected Care portfolio.


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          222.    The statements referenced in ¶¶ 219-21 were materially false and misleading when

   made for the reasons specified in Paragraph 122 at subdivisions (i)-(xii) and (xvii), particularly

   because Philips had already received multiple complaints about the Foam being used in its

   products and while it was touting its focus on “patient care solutions” it was not telling the public

   about the risks patients were facing because of the Company’s machines.

          223.    On July 22, 2019, the Company released its earnings for the Second Quarter of

   2017. The release reported that sales increased to EUR 4.7 billion, with comparable sales growth

   of 6% and 8% comparable order intake growth, income from continuing operations increased to

   EUR 260 million, and Adjusted EBITA improved to 11.8%. Sleep & Respiratory Care again

   recorded high-single-digit growth. “Comparable sales in the Connected Care businesses increased

   6%, with mid-single-digit growth in Monitoring & Analytics and Sleep & Respiratory Care.

   Comparable order intake showed a mid-single-digit decline, reflecting the uneven order intake

   dynamics. The Adjusted EBITA margin decreased to 12.1%, mainly due to tariffs, adverse

   currency impact and mix.” The Company reported sales of EUR 1,161 from the Connected Care

   businesses for the quarter. The Company stated that “Philips’ solutions to treat obstructive sleep

   apnea, a condition that affects more than 100 million patients globally, continue to garner health

   demand, supported by the continued strong reception for DreamStation GO’s expanded portable

   therapy options.”

          224.    On July 22, 2019, the Company hosted an earnings call with investors to discuss

   the Company’s earnings and financial results for the Second Quarter of 2019 (the “2Q2019

   Earnings Call”). During the 2Q2019 Earnings Call, Bhattacharya attributed growth in the Sleep

   & Respiratory Care business to “the success of the DreamWear Full Face mask and the launch of

   our DreamWisp minimal contact mask in the first quarter.”




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          225.    The statements referenced in ¶¶ 223-24 were materially false and misleading when

   made for the reasons specified in Paragraph 122 at subdivisions (i)-(xiii) and (xvii), particularly

   because Philips had already received multiple complaints about the Foam being used in its

   products and had finally even enacted a formal CAPA to try to investigate the multiple complaints,

   all of which were being hidden from the investing public.

          226.    On October 28, 2019, the Company released its earnings for the Third Quarter of

   2019. The release reported sales of EUR 4.7 billion, with comparable sales growth of 6%, EUR

   211 million in income from continuing operations, and an adjusted EBITA margin of 12.4%. Sleep

   & Respiratory Care again recorded mid-single-digit growth. “Comparable sales in the Connected

   Care businesses increased 5%, with mid-single-digit growth in Monitoring & Analytics and Sleep

   & Respiratory Care. Comparable order intake was in line with Q3 2018. The adjusted EBITA

   margin decreased 4.5 percentage points to 11.3%.” The Company reported sales of EUR 1,145

   from the Connected Care business for the quarter.

          227.    On October 28, 2019, the Company hosted and earnings call with investors to

   discuss the Company’s earnings and financial results for the Third Quarter of 2019 (the “3Q2019

   Earnings Call”). During the 3Q2019 Earnings Call, Bhattacharya stated: “The Sleep & Respiratory

   Care business grew mid-single digit, partly offset by a decline in home ventilation.”

          228.    During the 3Q2019 Earnings Call, van Houten said:

          Connected Care consists of strong businesses with good profit pools and leading
          market positions, notably in the attractive franchises of Patient Monitoring &
          Analytics and Sleep & Respiratory Care. These leading businesses represent
          almost 90% of the Connected Care revenue. In the near term, the impact of
          headwinds and several transformations underway, together with the investments to
          drive future growth in adjacent markets, affect profitability.
          The fundamentals of the Connected Care business, however, remain very strong.
          I’m confident that this segment will contribute to Philips’ overall performance
          improvement. We have made several interventions in the Connected Care



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          businesses during 2019, and we expect that they will start gradually contributing to
          performance improvement in the coming quarters.

          229.   During the 3Q2019 Earnings Call, in response to an analyst’s questions about what

   efforts Philips was “taking to improve the operation performance” of the “Connected Care”

   business, van Houten said:

          Yes, in Connected Care, we have several measures to improve. Now let’s first
          unpack a little bit the various drivers that set us back. So we spoke about the
          headwinds of tariffs. But besides that, we also saw some more price erosion in
          the quarter, which we relate to the need for stricter price management. We don’t
          relate it to structural market trends. And we also saw an unfavorable product
          mix in Sleep & Respiratory care basically due to the respiratory side of the house.
          And we think we can improve the mix going forward in the fourth quarter,
          therefore, having the benefit of a higher-margin product mix. We also saw some
          cost elements in the quarter that we do not think will continue and thereby expecting
          an improvement of profitability coming through quickly. And then finally, you
          know how we are keen to reduce inventories. And I think we had underestimated
          a little bit that the effort to reduce inventories would lead to an under-recovery of
          factory overhead costs. So that also hit us.
          Now personally, I don’t like it when I need to give you such a long list of stuff
          because we as management are accountable for that. Now we have sat down with
          the management of Connected Care, even personally I did that again last week.
          We feel confident about the measures that are underway. We will expect to see
          already an improvement in the fourth quarter. Then—and we expect further
          improvement coming through next year.                Nevertheless, we felt it was
          appropriate . . . that we take the guidance of Connected Care somewhat down,
          recognizing that it will take longer before . . . the adjacencies and the investments
          in adjacencies will materialize and thereby lifting up the profitability structurally
          longer term.

          230.   During the 3Q2019 Earnings Call, in response to an analyst’s questions about the

   Company’s Sleep & Respirator Care margins for the quarter, Bhattacharya stated:

          First, let me put the discussion on Sleep [& Respiratory Care] to bed, so to say. So
          Sleep [& Respiratory Care] is a good business for us, good double-digit growth
          with very good margin. So that’s not the issue. We had good growth in the mass
          business. We good growth [sic] in the system. So that has gone very well. What
          has happened in Respiratory Care is we have our Home Ventilation business which
          has very, very high margins actually, which had after many quarters had a decline.
          Normally, this business was growing double digits. And this happened because of
          a change in reimbursement qualification criteria, which came into effect in July,
          where those who claim reimbursement have to undergo further tests, have to show


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          better compliance. So it has increased the paperwork and therefore, in the short
          term, has caused the decline. This was compensated by stationary oxygen, which
          has lower margin. So that is what has had an impact on the mix.
                                                  [. . .]
          [W]e don’t, of course, for competitive reasons, don’t give margins on all our
          businesses and a specific guidance on each and every component. But let me just
          give you a coloring of Connected Care in total. So Monitoring & Analytics and
          Sleep & Respiratory Care constitute just short of 90%, as Frans mentioned in his
          speech, right? So these are 2 strong businesses which are—which have very good
          margins, accretive to the group.

          231.    The statements referenced in ¶¶ 226-30 were materially false and misleading when

   made for the reasons specified in Paragraph 122 at subdivisions (i)-(xiii) and (xvii), particularly

   because Philips had already received multiple complaints about the Foam being used in its

   products and had finally even enacted a formal CAPA to try to investigate the multiple complaints,

   all of which were being hidden from the investing public.

          232.    On March 13, 2019, Philips issued a press release discussing a study, sponsored by

   Philips, entitled Comparison of Physiological Performance of Four Adaptive Servo Ventilation

   Devices in Patients with Complex Sleep Apnea in the American Journal of Respiratory and Critical

   Care Medicine. The study that compared different sleep apnea devices, including the DreamStation

   ASV. In the release, Philips’ Chief Medical liaison, Teofilo Lee-Chiong, stated: “Philips provides

   healthcare professionals and patients with innovative treatment solutions and services. The safety

   of patients who use our devices is our top priority. We also wish to maximize the benefits that

   patients receive from using our technology.”

          233.    The statements referenced in ¶ 232 were materially false and misleading when

   made for the reasons specified in Paragraph 122 at subdivisions (i)-(xiii) and (xvii), particularly

   because Philips had already received multiple complaints about the Foam being used in its

   products, which were being hidden from the public, therefore showing that the “safety of patients”

   was not the “top priority” of Philips.


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           234.      In the Company’s 2019 Annual Report to Shareholders, released on or about

   January 28, 2020, van Houten said:

           Our Connected Care businesses had a challenging year, even as we retained market
           share. The businesses posted modest growth, though profitability decreased. The
           fundamentals remain solid—our Connected Care businesses have leading market
           positions and good scope for margin expansion. We have taken decisive actions
           and expect these to gradually become visible in performance in the course of 2020.
           In January 2020, I appointed Roy Jakobs as the new leader of the Connected Care
           businesses to further drive the turnaround.

           235.      On January 28, 2020, the Company released its earnings for the Fourth Quarter of

   2019. The release reported that sales increased to EUR 6 billion, with comparable sales growth of

   3%, income from continuing operations amounted to EUR 550 million and Adjusted EBITA

   margin increased to 17.9%. Sleep & Respiratory Care again recorded steady sales. For the

   Connected Care business, the Company reported sales of EUR 1,354 for the quarter. “Comparable

   sales growth was 2%, with mid-single-digit growth in Monitoring & Analytics and flat sales in

   Sleep & Respiratory Care.” For the full year 2019, the Company reported sales from the

   Connected Care businesses of EUR 4,674. “Comparable sales growth” for the year “was 3%, with

   low-single-digit growth in Sleep & Respiratory Care.”

           236.      On January 28, 2020, the Company hosted an earnings call with investors, during

   which the Company discussed Philips’ earnings and financial results for the Fourth Quarter of

   2019 (the “4Q2019 Earnings Call”). During the 4Q2019 Earnings Call, Bhattacharya stated that

   “sales for the Connected Care business grew 2% in the fourth quarter[.] . . . The Sleep &

   Respiratory Care business comparable sales was [sic] in line with Q4 2018, on the back of overall

   tough comparables as well as soft ventilation market. The sales for Connected Care grew 3% for

   the full year.”

           237.      During the 4Q2019 Earnings Call, van Houten said:




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          On the Sleep & Respiratory Care side, we have seen good performance in the sleep
          business in the fourth quarter. In fact, through the year, while the hospital—the
          home ventilation business was—had a slowdown due to the changes in the
          reimbursement process and we consequently sold more of the oxygen business that
          had a lower margin. And we expect that reimbursement situation to ease up in the
          course of 2020. The sleep business will continue with strong momentum.
          Of course, I’m very much aware that on the mask side, 2018 was a very strong year
          for us. 2019 became a stronger year for our competitor, but we will fight back, and
          we think that we are also there looking at an increased momentum during the year.

          238.    During the 4Q2019 Earnings Call, in response to an analyst’s request for “a bit

   more detail on” what Philips “would specifically be focusing on in Connected Care.” In response,

   van Houten said:

          I bring to recollection that Connected Care has 2 very strong businesses with one,
          Sleep & Respiratory Care, the other one, Monitoring and Analytics. We already
          saw an improving momentum in Monitoring & Analytics. We expect an improving
          momentum in Sleep & Respiratory Care. Once you have those 2 fully engaging
          and performing, that will give a great platform of margin expansion.

          239.    The statements referenced in ¶¶ 234-38 were materially false and misleading when

   made for the reasons specified in Paragraph 122 at subdivisions (i)-(xiii) and (xvii), particularly

   because Philips had already received multiple complaints about the Foam being used in its

   products, which were being hidden from the public, and the risk there would not be “improving

   momentum in Sleep & Respiratory Care” was great.

          240.    On February 25, 2020, the Company filed its Annual Report on SEC Form 20-F for

   the year ended December 31, 2019 (the “2019 20-F”). In the 2019 20-F, the Company stated:

          241.    In a section containing a letter from van Houten to Philips’ shareholders, the 2019

   20-F stated, in relevant part:

          As we step up our transformation, we continue to be guided by our three-pronged
          strategic roadmap: Better serve customers and improve quality; Boost growth in
          core business; Win with solutions along the health continuum. We are making
          steady progress on our commitment to quality and operational excellence, as
          demonstrated by improving quality indicators, customer Net Promoter Scores and
          lower waste. The standardization and digitalization of internal processes, levering


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           the Philips Integrated IT landscape, is leading to higher productivity and agility.
           Our continued focus on boosting growth in the core has delivered market share
           expansion in the Diagnosis & Treatment segment in particular. Revenues from
           solutions, long-term contracts and service business models – including new
           business models, such as software-as-a-service, pay-per-user and technology
           managed services – now stand at over one third of sales.

   (emphasis in original.)

           242.    Further, in a section discussing the Company’s strategy and business, the 2019 20-

   F stated, in relevant part:

           With our global reach, deep clinical and technological insights and innovative
           strength, we are uniquely positioned in ‘the last yard’ to consumers and care
           providers, delivering:
                  connected products and services supporting the health and well-being of
                   people
                  integrated modalities and clinical informatics to deliver precision diagnosis
                  real-time guidance and smart devices for minimally invasive interventions
                  connected products and services for chronic care.

   In that same section, the 2019 20-F listed “[b]etter serve customers and improve quality” as one

   of the Company’s “key strategic imperatives and value creation objectives,” and stated that this

   imperative was driven by “[i]mprov[ing] customer experience, quality systems, operational

   excellence and productivity.”

           243.    In addition, in discussing how the Company creates value, the 2019 20-F listed

   manufacturing as one of the six forms of capital that Philips “draws upon for its business

   activities,” stating, in relevant part, “[w]e apply Lean techniques to our manufacturing processes

   to produce high-quality products. We manage our supply chain in a responsible way.”

           244.    Moreover, in discussing the Company’s Connected Care businesses, the 2019 20-

   F stated, in relevant part:

           Spanning the entire health continuum, the Connected Care businesses are tasked
           with improving patient outcomes, increasing efficiency and enhancing patient and
           caregiver satisfaction, thereby driving towards value-based care. Our solutions


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         build on Philips’ strength in verticals (monitoring & analytics, sleep & respiratory
         care, and therapeutic care) and horizontals (population health management and
         connected care informatics) to improve clinical and economic outcomes in all care
         settings, within and outside the hospital.
         Philips has a deep understanding of clinical care and the patient experience that,
         when coupled with our consultative approach, allows us to be an effective partner
         for transformation, both across the enterprise and at the level of the individual
         clinician. Philips delivers services that take the burden off hospital staff with
         optimized patient and data flow, predictive analytics, improved workflow,
         customized training and improved accessibility across our application landscape.
                                                   ***
                Sleep & Respiratory Care: Sleep offerings span from consumer sleep
                 solutions, including those for disease-state sleep such as obstructive sleep
                 apnea, to end-to-end solutions that encompass consumer engagement,
                 diagnostics, people-centric therapy, cloud-based connected propositions
                 and care management services. Respiratory offerings include COPD care
                 management with digital and connected solutions; Hospital Respiratory
                 Care (HRC) provides invasive and non-invasive ventilators for acute and
                 sub-acute hospital environments; Home Respiratory Care supports the
                 home care environment.

         245.    Moreover, in the 2019 20-F, the Company stated:

         Quality, Regulatory Compliance and Integrity
         Our business success depends on the quality of our products, services, and
         solutions, and compliance with many regulations and standards on a global basis.
         ...
                                                   ...
         Responsibility for Quality & Regulatory Compliance rests with the Chief Quality
         & Regulatory Officer, who reports operationally to the Chief Operations Officer
         and – for regulatory matters – directly to the Chief Executive Officer.
         Quality
         Philips is committed to delivering the highest quality products, services and
         solutions compliant with all applicable laws and standards. We are investing
         substantially in embedding quality in our organizational culture. We will continue
         to raise the performance bar. Quality is an integral part of the evaluation of all levels
         of management. With consistency of purpose, top-down accountability,
         standardization, leveraging continuous improvement we aim to drive greater speed
         in the adoption of a quality mindset throughout the enterprise.
         Regulatory Compliance
         Philips actively maintains Quality Systems globally that establish standards for its
         product design, manufacturing and distribution processes; these standards are in
         compliance with Food and Drug Administration (FDA)/International Organization



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          for Standardization (ISO) requirements. Our businesses are subject to compliance
          with regulatory pre-marketing and quality system requirements in every market we
          serve, and to specific requirements of local and national regulatory authorities
          including the US FDA[.] . . .
          We have a growing portfolio of regulated products in our Personal Health and Sleep
          & Respiratory Care businesses.
                                                [. . .]
          Compliance risks
          Philips is exposed to non-compliance with the various regulatory regimes their
          products and services are subject to, including data privacy requirements.
          Philips’ products and services are subject to regulation . . . by various government
          and regulatory agencies (e.g. FDA (US)[.]). . . . Philips’ increased focus on the
          healthcare sector increases its exposure to such highly regulated markets[.]
          . . . [C]onditions imposed by regulatory authorities could result in product recalls
          or a temporary ban on products and/or stoppages at production facilities, or
          increased implementation costs in the roll-out of products and services or claims
          for damages. The risk also exists that product safety incidents or user concerns,
          as in the past, could trigger business reviews by the FDA or other regulatory
          agencies: if failed, these reviews could lead to business interruption, which in turn
          could adversely affect Philips’ financial condition and operating results, as well as
          our reputation and brand. . . . Non-compliance with any applicable laws and
          regulations, including with respect to product regulation and data privacy, may
          result in penalties, cost of proceedings and litigation, and repair costs, any of which
          may have a material adverse effect on Philips’ financial condition and results of
          operations.

          246.    In the 2019 20-F, the Company reported that 47% of its sales from the Connected

   Care businesses were from Sleep & Respiratory Care.            Reporting on the Connected Care

   businesses, the Company stated: “In 2019, sales amounted to EUR 4,674 million, 8% higher on a

   nominal basis compared to 2018. Excluding a 4.6% positive currency effect and consolidation

   impact, comparable sales increased by 3%, with low-single-digit growth in Sleep & Respiratory

   Care and Monitoring & Analytics.”

          247.    The statements referenced in ¶¶ 240-46 were materially false and misleading when

   made for the reasons specified in Paragraph 122 at subdivisions (i)-(xiii) and (xvii), particularly

   because Philips had already received multiple complaints about the Foam being used in its




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   products, which were being hidden from the public, and the Company was not adequately reporting

   risks to the market.

           248.    On April 14, 2020, Philips issued a press release entitled, “Philips details plans to

   increase its hospital ventilator production to 4,000 units/week by Q3 2020, and introduces its new

   Philips Respironics E30 ventilator with an immediate production of 15,000 units/week.” The press

   release stated, in relevant part:

           [Philips] today provided an update on its plans to double the production of its
           hospital ventilators by May 2020 and achieve a four-fold increase by the third
           quarter of 2020. This plan builds on Philips’ initial production increase in the first
           three months of the year, which already enabled the supply of additional
           ventilators—that are critical for the treatment of COVID-19 patients—to hospitals
           in the most affected regions in China, southern Europe and the US. To further
           address the huge global demand, Philips introduced its new Philips Respironics E30
           ventilator, a versatile and easy-to-use non-invasive and invasive ventilator, which
           has been designed for large scale production.
           “In line with Philips’ mission, we are fully committed to helping as many
           healthcare providers as possible diagnose, treat and monitor the growing
           numbers of COVID-19 patients,” said Frans van Houten, CEO of Royal Philips.
           “We have been mobilizing as a company to do so since January. The collaboration
           with our trusted partners Flex and Jabil will rapidly expand our hospital ventilator
           production capacity, and reinforce the supply chain to enable the ramp up to a
           production of 4,000 hospital ventilators per week by the third quarter. To
           complement this, our team has developed the new Philips Respironics E30
           ventilator, which can be safely used when there is limited access to a fully featured
           critical care ventilator. The Philips Respironics E30 ventilator can deliver a range
           of treatment options, and we will quickly scale its production to 15,000 units per
           week in April.”
                                                   ***
           Introduction of Philips Respironics E30 for emergency use to fill the critical
           hospital ventilation shortage
           To further address the pressing need for critical care ventilators, Philips has been
           working closely with leading respiratory physicians and medical device regulators
           in the U.S. and other countries to develop a readily available ventilator that fills the
           critical hospital ventilation shortage.
           Designed for large scale production by a team deeply experienced in respiratory
           care, the Philips Respironics E30 ventilator is optimized to treat patients with
           respiratory insufficiency. This easy-to-use ventilator offers quick set-up and simple
           operations allowing healthcare providers with a wide range of skill sets to treat and
           monitor patients. The Philips Respironics E30 can be used non-invasively, as well


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          as invasively, offering the flexibility to adapt to the treatment needs of patients with
          COVID-19.

          249.      The statements referenced in ¶ 248 were materially false and misleading when

   made for the reasons specified in Paragraph 122 at subdivisions (i)-(xiii) and (xvii), particularly

   because Philips had already received multiple complaints about the Foam being used in its

   products and it produced the E30 using the same Foam.

          250.      On April 20, 2020, the Company released its earnings for the First Quarter of 2020.

   The release reported sales of EUR 4.2 billion, with comparable sales decline of 2%, that income

   from continuing operations amounted to EUR 42 million, and an Adjusted EBITA margin of 5.9%.

   Sleep & Respiratory Care recorded double-digit growth. Nevertheless, “[c]omparable sales in the

   Connected Care businesses increased 7%, with double-digit growth in Sleep & Respiratory Care.

   Comparable order intake showed a very strong double-digit increase, driven by strong demand for

   patient monitors and hospital ventilators. The Adjusted EBITA margin increased to 9.8%, mainly

   due to growth and productivity.”

          251.      On April 20, 2020, Philips issued a press release announcing the Company’s

   earnings results for the First Quarter of 2020 on SEC Form 6-K. The press release stated, in

   relevant part:

          Comparable sales in the Connected Care businesses increased 7%, with double-
          digit growth in Sleep & Respiratory Care. Comparable order intake showed a very
          strong double-digit increase, driven by strong demand for patient monitors and
          hospital ventilators. The Adjusted EBITA margin increased to 9.8%, mainly due to
          growth and productivity.
                                                    ***
          To further address the unprecedented demand for ventilators, Philips introduced the
          Philips Respironics E30 ventilator for emergency use when a fully featured critical
          care ventilator is not available. Philips is targeting a production of the new
          ventilator - which has been designed for large-scale production - of 15,000 units
          per week in April.




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           252.    That same day, Philips hosted an earnings call with investors and analysts to discuss

   the Company’s earnings and financial results for the First Quarter of 2020 (the “1Q2020 Earnings

   Call”). During the scripted portion of the 1Q2020 Earnings Call, van Houten stated, in relevant

   part:

           To further address the strong global demand in hospital ventilation, we are rolling
           out our new Philips Respironics E30 ventilator, a versatile and easy-to-use
           ventilator for emergency use where there is limited access to a fully featured critical
           care ventilator. The E30 has been designed for large-scale production and will scale
           to 15,000 units per week in April. With the strong demand to expand ICU bed
           capacity, we are also working to significantly increase the production volume of
           patient monitors.

           253.    During the 1Q2020 Earnings Call, van Houten also stated:

           To further address the strong global demand in hospital ventilation, we are rolling
           out our new Philips Respironics E30 ventilator, a versatile and easy to use ventilator
           for emergency use where there is limited access to a fully featured critical care
           ventilator. The E30 has been designed for large-scale production and will scale to
           15,000 units per week in April.
           With the strong demand to expand ICU bed capacity, we are also working to
           significantly increase the production volume of patient monitors

           254.    During the 1Q2020 Earnings Call, Bhattacharya stated: “The sales for the

   Connected Care businesses grew 7%. Sleep and [R]espiratory [C]are sales grew in the double

   digits, primarily due to strong shipments of respiratory devices.”

           255.    During the 1Q2020 Earnings Call, in response to an analyst’s question about the

   E30 ventilator, van Houten said:

           [T]he E30 . . . is an adaptation from a bi-plane ventilator, to which we have changed
           the software, added sensors, added filters, so that it is safe and suitable for critical
           care. But, as it is a derivative of a bi-plane, it comes from a high-volume platform.
           That also makes it easier to manufacture at high volumes and without lots of
           accessories, it would be in the order of magnitude of €2,500.
           On how sustainable it is, we think that there will be a peak demand and then it will
           go down again. This of course depends on what will happen in emerging markets.
           I think that is the big unknown. This could be quite a suitable product for emerging
           markets, but we are not counting on this being a long lasting, high volume product.



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          Since we are leveraging our other existing production lines for sleep and respiratory
          care, we would then go back to producing other types of equipment there.
          In terms of the order book, most of the orders that we have received are firm orders.
          I think what we can all observe from the dialogues or from the medical folks is that
          this pandemic will be with us for quite a long time. It may have its resurgences,
          therefore we can expect that health systems around the world will want to have
          some spare capacity in their critical care equipment, in their ICU capacity. Call
          that stockpiling or call it something else, I think society will demand from these
          healthcare systems that they are prepared for a resurgence of cases, and therefore I
          am not that worried that orders would be cancelled.

          256.    During the 1Q2020 Earnings Call, in response to another analyst’s question about

   the distinction between invasive and non-invasive respiratory care devices and the impact on the

   Company’s revenues, van Houten said:

          You need to have ventilators that measure the distress the patient is in, that can
          react to that, so there needs to be sensors and analytics. Moreover, there needs to
          be filters adapted to the machine to avoid viruses spreading through the exhaust of
          the machine. Moreover, the insight is that even non-severe cases still need higher
          saturated oxygen levels to help them with their recovery and a CPAP machine
          cannot do that. So our E30 and EV300 can all deliver higher oxygen levels as they
          can be connected to oxygen supplies, whereas the CPAP machine just takes normal
          air out of the atmosphere and blows it into the lungs, so it is quite a different
          therapy.
          Now, the E30, that is derivative of the biplane, comes out of our high-volume
          production lines. We are redirecting some of the capacity from our Sleep
          business for that, but the factory lines that we have in that business we can ramp
          them quite easily, and therefore we do not see/expect a big impact on our Sleep
          business. By the way, the Sleep business had a positive growth in the first quarter,
          which was, of course, rewarding to see. I know that many questions were there
          with regards to how we are performing in Sleep, so first quarter a positive growth.

          257.    During the 1Q2020 Earnings Call, in response to an analyst’s questions regarding

   the E30 ventilator, van Houten stated:

          The E30 is really targeted to support and augment capacity of hospitals in the
          crisis. It is not intended to replace intensive care ventilators as such, but more to
          support those patients that are already having respiratory distress but are not yet
          in the intensive care unit. The product is just launched, so it is early days to say
          how much uptake there will be. We expect, certainly, emerging markets to have a
          strong interest. The E30 can support both invasive as well as non-invasive
          ventilation and so it was approved under the FDA emergency regulation, so it is
          a versatile product and it is at much lower cost. So early days but we expect high


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          demand, and, as we have shown, we can quickly ramp-up and, if necessary, we can
          also ramp-down if the product would have less uptake, but at this time we expect a
          big uptake.

          258.    The statements referenced in ¶¶ 250-57 were materially false and misleading when

   made for the reasons specified in Paragraph 122 at subdivisions (i)-(xiii) and (xvii), particularly

   because Philips had already received multiple complaints about the Foam being used in its

   products and it produced the E30 using the same Foam.

          259.    On April 24, 2017, the Company released its earnings for the First Quarter of 2017.

   The release reported that sales increased to EUR 5.7 billion, with comparable sales growth of 3%

   in the HealthTech portfolio. Sleep & Respiratory Care again recorded high-single-digit growth.

          260.    On July 20, 2020, the Company issued a press release announcing the Company’s

   earnings results for the Second Quarter of 2020 on SEC Form 6-K. The Company reported sales

   of EUR 4.4 billion, with 6% comparable sales decrease, income from continuing operations of

   EUR 213 million, an Adjusted EBITA margin of 9.5%, and operating cash flow of EUR 558

   million. Nevertheless, the press release continued, in relevant part:

          Comparable sales in the Connected Care businesses increased 14%, with
          double-digit growth in Sleep & Respiratory Care and mid-single-digit growth in
          Monitoring & Analytics. Comparable order intake more than doubled, driven by
          strong demand for patient monitors and hospital ventilators. The Adjusted EBITA
          margin increased to 17.8%, as additional investments to ramp up production were
          more than offset by operating leverage.

          261.    On July 20, 2020, the Company hosted an earnings call with investors to discuss

   Philips’ earnings and financial results for the Second Quarter of 2020 (the “2Q2020 Earnings

   Call”). During the 2Q2020 Earnings Call, Bhattacharya stated:

          The sales of the Connected Care business grew a robust 14% in the second quarter.
          Sleep and Respiratory Care sales grew double-digit due to strong shipments of
          respiratory devices. . . .
          [W]e have steeply ramped up production of respiratory devices and significantly
          increased the production of patient monitors in the second quarter. Taking our full


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          COVID-19 portfolio into account, we are investing more than €100 million to meet
          urgent demand from our customer this year, and we anticipate a high volume of
          shipments in the second half of the year to fulfil[l] the orders we have on hand for
          these products.

          262.    During the 2Q2020 Earnings Call, van Houten said:

          We successfully tripled our ventilator production during the quarter, supporting the
          treatment of patients in the most affected regions of the world and we are on track
          to achieve the planned fourfold increase to 4,000 units per week in July.
                                                   [. . .]
          [There was] a strong 14% comparable sales growth in the Connected Care
          businesses in the period. Comparable equipment order intake grew a robust 27%
          driven by the strong demand for our . . . hospital ventilators[.] . . .
                                                   [. . .]
          [C]omparable order intake in Connected grew by 167% with very strong growth
          seen across the world. The demand for hospital ventilators increased multifold[.]

          263.    During the 2Q2020 Earnings Call, van Houten said: “[M]onitor[s] and ventilators

   are both high-margin—gross margin businesses. Of course, it greatly contributes to operational

   leverage.”

          264.    During the 2Q2020 Earnings Call, in response to an analyst’s questions about the

   Company’s sales growth, van Houten said:

          In the third quarter, we will see a strong contribution from Connected Care. We
          have a big order book of monitors and ventilators that we will continue to deliver.
          We have mentioned that we have been successful in ramping our production to
          approximately fourfold by July, now, currently. And it will take us many months
          to deliver that order book. So strong positive growth on Connected Care.

          265.    During the 2Q2020 Earnings Call, in response to an analyst’s questions as to

   whether the Company’s revenues from the Sleep & Respiratory Care business were short-term or

   long-term, van Houten said: “The realisation that COVID is going to be with us for at least two

   years, and that more capacity needs to be built—that realisation I think is top of mind of healthcare

   ministers. And so after the initial wave of kind of crisis demand, I think we will see an ongoing




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   demand to build stockpiles, to build more capacity and have you know, a higher ICU bed

   availability, just to be safe.”

           266.    During the 2Q2020 Earnings Call, in response to another analyst’s questions as to

   whether the Company’s revenues from the Sleep & Respiratory Care business were short-term or

   long-term, van Houten said:

           [T]he Connected Care platform that we talked about, so often—we now see a strong
           interest in that. I refer to the Veterans Administration—Veterans Affairs giving us
           a 10-year contract[.] . . . Therefore even if let’s say the initial peak in Connected
           Care will start tapering off, and also on ventilators that will happen, then we are
           working very hard to get the new babies, the new areas to grow up quickly and take
           over from there and also then to deliver on some of the promises that we have been
           making around Connected Care.

           267.    During the 2Q2020 Earnings Call, in response to an analyst’s questions about the

   Company’s E30 ventilator, van Houten said:

           [T]he E30 ventilator was approved under the emergency approval of the FDA. It
           was a great accomplishment. What we’ve also learned is that not every government
           in the world is comfortable with that emergency approval. And several
           governments still give preference to the Trilogy Evo and the E300 ventilators and
           the V60 ventilators, which are truly intensive-care hospital ventilators, over the
           E30. Right. And of course, those have a much higher sales price. Therefore, if
           you don’t mind so much that they give preference to the more sophisticated
           ventilators.
           So the E30 was launched; we immediately got orders in April, tens of thousands.
           And that’s where we are, currently. I think there’s still opportunity, perhaps for the
           emerging markets to pick that up further, although, also in emerging markets, we
           see the strong interest in the E300 in particular.

           268.    During the 2Q2020 Earnings Call, in response to an analyst’s questions about the

   Company’s representations about its production capacity, van Houten said:

           [T]here are still orders coming in. So that’s back to the discussion, you know, first
           wave of the emergency response, subsequently waves of building infrastructure that
           is still going to come, and emerging markets are also ordering as we speak. It’s just
           that the visibility of the backlog is about two quarters at the moment, and with
           capacity increased, our response to delivering on those orders has greatly improved.
           By the way, that 4X will be achieved by the end of July. So we’re almost there.




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          269.    During the 2Q2020 Earnings Call, in response to an analyst’s questions about the

   Company’s representations about its ability to secure supply contracts for the ventilators, van

   Houten said:

          Let’s say the ventilators do not always get service contracts immediately. And
          certainly, during this emergency response, the procurement people at hospitals were
          just scrambling to get their hands on the ventilators. So we are following that up
          with a big effort to also offer services, as well as even stockpile maintenance
          services, because I think what some governments discovered is that they had some
          stockpile, but it was out of date, and therefore it was not completely useful. We
          are, to say, extending our technology managed service line to also extend to
          ventilator program.

          270.    During the 2Q2020 Earnings Call, in response to an analyst’s questions as to

   whether the Company’s revenues from the Sleep & Respiratory Care business were short-term or

   long-term, Bhattacharya said: “[W]e booked the big US orders in April, so if you take that out, I

   think the order intake growth is still pretty solid both in monitoring and in ventilators. So no big

   decline through the quarter.”

          271.    During the 2Q2020 Earnings Call, in response to an analyst’s question about the

   E30 production ramp-up, Bhattacharya said:

          [T]he E30 is basically a modified BiPAP. So while we said we ramp up production
          to the 15,000, . . . that was a flexible capacity, together with our BiPAP capacity.
          So we are producing to order now and, you know, we have sold a couple of tens of
          thousands of units. So it’s not that it hasn’t, but we are not stuck with high
          inventories or anything, because that is a thing that we can flex together with our
          BiPAP capacity. So, so far so good and, like Frans said, it’s an emergency
          ventilator. And if there is future demand in emerging markets, we still have the
          ability to ramp that up very quickly, you know, but we don’t mind selling the E300.
          A more sophisticated unit.

          272.    The statements referenced in ¶¶ 259-71 were materially false and misleading when

   made for the reasons specified in Paragraph 122 at subdivisions (i)-(xiii) and (xvii), particularly

   because Philips had already received multiple complaints about the Foam being used in its




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   products and it was continuing to promote its products, including the E30 ventilator, as if they

   were definitely safe, despite the Company’s ongoing CAPA investigating their safety.

           273.    In an interview with Bloomberg released online on September 15, 2020, 6 van

   Houten specifically promoted the actions Philips took during the pandemic. He stated:

           Philips is an innovation company. . . Innovators should serve the unmet needs of
           the world. . . I believe in transparency. We are a good path of impacting billions of
           lives through our innovations and as a result growing the company faster. . . Back
           in early March when the whole world became panicky, we had a conversation to
           say: ‘What have we seen in china? What have we seen in Italy?’ Clearly the demand
           for acute care and equipment and software and informatic solutions is going to rise
           dramatically and we said it’s our purpose to improve people’s lives through
           innovation. So we are going to go all out to see whether we can increase capacity
           to see if we can respond to the need for ventilators and patient monitors . . . We
           decided in March to invest EUR 100 to build a four-fold manufacturing increase so
           we could meet demand. . . And we took all the suppliers in the supply chain to help
           out. And it was amazing because people were so motivated to improve people’s
           lives and risks that people worked day and night to make that happen. So by June
           already we had achieved our four-fold increase in capacity.

           274.    The statements referenced in ¶ 273 were materially false and misleading when

   made for the reasons specified in Paragraph 122 at subdivisions (i)-(xiii) and (xvii), particularly

   because Philips had already received multiple complaints about the Foam being used in its

   products and it was continuing to promote its products, including the E30 ventilator, as if they

   were definitely safe, despite the Company’s ongoing CAPA investigating their safety.

   Specifically, van Houten promoted the Company as a pandemic savior because, in part, the

   Company produced a new ventilator to help hospitals – the same ventilator that Defendants knew

   or were reckless in not knowing of the ongoing, undisclosed risk that the product would later need

   to be recalled for failure to meet the requisite product safety regulations.




   6
     Available at https://www.bloomberg.com/news/videos/2020-09-15/philips-ceo-van-houten-on-company-s-
   commitment-to-climate-action-video.


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           275.    On October 19, 2020, the Company issued a press release announcing the

   Company’s earnings results for the Third Quarter of 2020 on SEC Form 6-K. The Company

   reported sales of EUR 5.0 billion, with a 10% comparable sales growth, that income from

   continuing operations increased to EUR 341 million, that Adjusted EBITA margin improved to

   300 basis points to 15.4%, and that operating cash flow increased to EUR 770 million. The press

   release went on to state, in relevant part, that:

           Comparable sales in the Connected Care businesses increased 42%, with double-
           digit growth in Monitoring & Analytics and Sleep & Respiratory Care. Excluding
           the partial termination of the ventilator contract with HHS, comparable order intake
           showed a double-digit increase, with strong growth across all businesses. The
           Adjusted EBITA margin increased to 27.1%, driven by higher volumes and
           operating leverage.

           276.    That same day, Philips hosted an earnings call with investors and analysts to discuss

   the Company’s earnings results for the Third Quarter of 2020 (the “3Q2020 Earnings Call”).

   During the scripted portion of the 3Q2020 Earnings Call, van Houten stated, in relevant part:

           Connected Care grew a very strong 42% in the quarter, driven by the high volume
           of shipments to fulfill the order for patient monitors and respiratory care. . . .
           Comparable equipment order intake grew 3% in the quarter, excluding the impact
           from the unexpected partial termination of the April 2020 contract with HHS which
           was communicated in August. Quarter intake growth was driven by the demands
           for patient monitors, hospital ventilators, computer tomography and portable
           ultrasound systems. Customer response to our innovative products and solutions
           remains very positive and we have—we expect to have a continued increasing
           market share in the professional healthcare market.

           277.    During the 3Q2020 Earnings Call, Bhattacharya said:

           The sales for Connected Care business grew a very strong 42% in Q3, driven by
           shipments of patient monitors and respiratory care solutions. As mentioned by
           Frans, we have ramped up the production of these devices to meet urgent demand
           and fulfil[l] the orders we have on hand for these products.

           278.    During the 3Q2020 Earnings Call, Bhattacharya said:

           [A]s mentioned by Frans, order intake grew 3% in Q3, excluding the impact on the
           partial cancellation of the H[H]S contract. This based [sic] on double-digit growth



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          seen in the first half of the year, resulting in double-digit growth year-to-date and a
          strong order book for the Group as depicted on page 29 of our IR booklet.
          For reference, if the booking and cancellations of the HHS deal had taken place in
          the same quarter, so assuming that the booking and cancellation had happened in
          Q4, the order intake growth for Q2 would have been high-single digit compared to
          the 27% reported previously.
          Comparable order intake in Connected Care grew by 26% in the quarter, excluding
          the impact from the HHS contract, with double-digit growth across all businesses.

          279.    During the 3Q2020 Earnings Call, in response to an analyst’s questions about the

   impact of the HHS contract cancellation on the Company’s profits, van Houten said:

          [W]e had approximately 30,000, or so, ventilators in 2019 and a seven-fold increase
          this year, in which the cancellation of the 30,000 by the US takes a bite out of that.
          But it is still a very sizeable step-up versus 2019.
          It’s the expectation that the hospital ventilator market will return to a 2019 level in
          2021. . . . [W]e are not the only one that is affected, but the way, by partial
          cancellation; also two other vendors it happened to them [sic].
          And still, as Abhijit said, we still see orders coming in, in the fourth quarter. There
          are still countries in the world that are under-equipped when it comes to acute care,
          and depending on how COVID-19 develops, it could well be that we will also see
          stockpile programmes coming up from various governments. It’s, for example,
          being debated in the European Commission. . . .
                                                   [. . .]
          I mentioned hospital respiration to go down, but then the home ventilation and sleep
          apnoea [sic] market will strongly recover, right, and therefore, we can be—and then
          the tele-health market will also get a boost, so we can expect Connected Care to be
          in that 5-6% bracket in 2022 after we have compensated for the spike. And you
          heard Abhijit say basically that if you think about Connected Care versus 2019,
          then next year should be in positive growth territory as well. I think first that, we
          should be able to model that.

          280.    The statements referenced in ¶¶ 275-79 were materially false and misleading when

   made for the reasons specified in Paragraph 122 at subdivisions (i)-(xiii) and (xvii), particularly

   because Philips had already received multiple complaints about the Foam being used in its

   products and it was continuing to promote its products, including the E30 ventilator, as if they

   were definitely safe, despite the Company’s ongoing CAPA investigating their safety.




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          281.   In the 2020 Annual Report to Shareholders, released on or about January 25, 2021,

   van Houten said:

          Faced with the COVID-19 pandemic, Philips demonstrated strength and agility,
          working intensely together with healthcare providers to cope with the challenges
          for both acute and regular healthcare. At the same time we continued to support
          people with their personal health. More than ever, we have the potential to
          accelerate the transformation of healthcare with our innovative solutions.
                                                  [. . .]
          In 2020, Philips again demonstrated its relevance in bringing meaningful
          innovation to improve people’s health and well-being, as we responded to the
          COVID-19 pandemic. As a company, we continue to focus on delivering against
          our triple duty of care—meeting critical customer needs, safeguarding the health
          and safety of our employees, and ensuring business continuity.
          . . . We significantly increased production of critical care ventilators, provided ICU
          monitoring & analytics solutions, and rolled out telehealth solutions to relieve the
          pressure on scarce resources. . . .
          In parallel, we continued to support health systems with delivery of regular care,
          entering into multiple long-term strategic partnerships—all featuring
          result-oriented business models—to transform healthcare by enhancing patient care
          and improving productivity. We also found new ways to serve consumers seeking
          to live a health life, prevent disease and proactively manage their own health. In
          total, our products and solutions improved the lives of 1.75 billion people in 2020,
          including 207 million people in underserved communities.
                                                  [. . .]
          Our performance in 2020
          COVID-19 impacted every part of our business in 2020. Nevertheless, despite the
          challenging circumstances, we were able to execute our plans and return to growth
          in the second half of the year. . . .
                                                  [. . .]
          Our Connected Care businesses posted exceptional growth, fueled by
          COVID-19-related demand for our hospital ventilation and monitoring & analytics
          solutions.

          282.   On January 25, 2021, Philips issued a press release announcing the Company’s Q4

   and full year 2020 results on SEC Form 6-K. For the quarter, the Company reported sales of EUR

   6.0 million, with 7% comparable sales growth, that income from continuing operations increased

   to EUR 608 million, that the Adjusted EBITA margin improved 110 basis points to 19.0%, and



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   that operating cash flow increased to EUR 1,305 million. The press release continued, in relevant

   part, that:

           Comparable sales in the Connected Care businesses increased 24% in the quarter,
           with double-digit growth in Monitoring & Analytics and Sleep & Respiratory Care.
           Comparable order intake showed a 17% increase, with strong growth across all
           businesses. The Adjusted EBITA margin increased to 27.2%, due to operating
           leverage and productivity programs. For the full year, the Connected Care
           businesses delivered 22% comparable sales growth and an Adjusted EBITA margin
           of 21.5%.
                                                   ***
           Philips’ ongoing focus on innovation and partnerships resulted in the following key
           developments in the quarter and the year:
                                                   ***
            Expanding its range of patient-centric solutions for the home, Philips launched the
            BiPAP A40 EFL non-invasive ventilator. With this introduction, Philips is
            extending its respiratory care solutions with a new ventilation therapy feature to
            treat COPD patients with expiratory flow limitation (EFL) with targeted therapy
            to reduce symptoms and increase their comfort while sleeping.

           283.   That same day, Philips hosted an earnings call with investors and analysts to discuss

   the Company’s earnings and financial results for the Fourth Quarter of 2020 (the “4Q2020

   Earnings Call”). During the 4Q2020 Earnings Call, van Houten stated, in relevant part:

           [. . .] I am pleased that we have recorded comparable sales growth of 7% in Q4.
           Connected Care grew a very strong 24%, driven by the demand for patient monitors
           and respiratory care. Our Diagnosis & Treatment businesses delivered encouraging
           sequential improvement and returned to growth with a 1% comparable sales
           increase. Sales for Personal Health grew a solid 5%.
           Comparable equipment order intake grew 7% in Q4, with double-digit growth in
           Connected Care and 3% growth in Diagnosis & Treatment. This was driven by
           strong demand for our patient monitors, hospital ventilators, radiology informatics,
           computed tomography, x-ray and ultrasound systems.
                                                   ***
           Now I would like to provide some color on some of our initiatives to respond to
           customer needs and support healthcare professionals and consumers. In the quarter,
           we expanded our range of patient-centric solutions for the home with the launch of
           the BiPAP A40 non-invasive ventilator. With this introduction, we extend our
           respiratory care solutions with a new ventilation therapy feature to treat COPD
           patients with expiratory flow limitation, or EFL.



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          284.    During the 4Q2020 Earnings Call, van Houten stated:

          Connected Care grew a very strong 24%, driven by the demand for patient monitors
          and respiratory care. . . . Comparable equipment order intake grew 7% in Q4 with
          double-digit growth in Connected Care[.] . . . This was driven by strong demand
          for . . . hospital ventilators[.] . . .
          Customer response to our innovative products and solutions remains very positive,
          resulting in market share gains and strong year-end order book in both Connected
          Care and Diagnosis and Treatment.
          285.    During the 4Q2020 Earnings Call, Bhattacharya stated, in relevant part:

          The sales for Connected Care businesses grew a strong 24% in Q4 . . . In the full
          year, comparable sales for Connected Care grew 22% with double-digit growth in
          both Monitoring & Analytics and Sleep & Respiratory Care. Order intake for
          Connected Care grew strong double digits in the full year.

          286.    During the 4Q2020 Earnings Call, in response to an analyst’s question: “[H]ave

   you been able to secure all the service contracts for all the new ventilator sales you realized last

   year[,]” van Houten said:

          We are working very hard to secure service contracts for this vast installed base
          that is now in place. We are also working with governments who have stockpile
          programmes to remind them that just having it in a stockpile is not a recipe for
          success; you need to maintain it. I think this was a lesson also observed in the
          United States.
          I would say still some potential there to do more but definitely possible. Now, in
          any case, it usually takes a year between a delivery and a service contract to have
          an impact on Philips because the first year is like warranty and everything else. But
          we’re working on it.

          287.    The statements referenced in ¶¶ 281-86 were materially false and misleading when

   made for the reasons specified in Paragraph 122 at subdivisions (i)-(xiii) and (xvii), particularly

   because Philips had already received multiple complaints about the Foam being used in its

   products and it was continuing to promote its reaction to the pandemic, which included introducing

   a new ventilator that Defendants knew, but did not disclose, would need to be recalled for failure

   to meet the requisite product safety regulations.




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          288.    On February 23, 2021, the Company filed its Annual Report on SEC Form 20-F for

   the year ended December 31, 2020 (the “2020 20-F”). Appended to the 2020 20-F as exhibits

   were signed certifications pursuant to the Sarbanes-Oxley Act of 2002 (“SOX”) by the Individual

   Defendants, attesting that “[t]he [2020 20-F] fully complies with the requirements of section 13(a)

   or 15(d) of the Securities Exchange Act of 1934 and information contained in the [2020 20-F]

   fairly presents, in all material respects, the financial condition and results of operations of the

   Company.”

          289.    In the 2020 20-F, for 2020, Defendants reported net income of $1.187 billion, or

   $1.29 per diluted share, on revenue of $19.535 billion.

          290.    In a section containing a letter from van Houten to Philips’ shareholders, the 2020

   20-F stated, in relevant part:

          In 2020, Philips again demonstrated its relevance in bringing meaningful
          innovation to improve people’s health and well-being, as we responded to the
          COVID-19 pandemic. As a company, we continue to focus on delivering against
          our triple duty of care – meeting critical customer needs, safeguarding the health
          and safety of our employees, and ensuring business continuity.
                                          ***
          The developments of the past year validate our strategy to innovate the provision
          of care along the health continuum – putting the patient at the center, improving
          diagnosis and treatment pathways, enabling the integration of care across care
          settings, and increasing care provider productivity. At the same time, we help
          consumers to live healthier lifestyles and to cope with chronic disease. Increasingly,
          we are able to connect home and hospital care through telehealth platforms. This
          approach is resonating more strongly than ever.
          Customers appreciate the comprehensive and strategic view we take of the future
          of health and healthcare. They want innovative solutions – smart combinations
          of systems, devices, informatics, data and services – that can help them deliver on
          the Quadruple Aim of better health outcomes, improved patient experience,
          improved staff experience, and lower cost of care. Given the learnings from
          COVID-19, they are especially keen to discover how we can support care outside
          the hospital.
                                                   ***
          Our Connected Care businesses posted exceptional growth, fueled by COVID-19-
          related demand for our hospital ventilation and monitoring & analytics solutions.


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                                                    ***
           We aim to drive customer preference by getting even closer to our customers and
           consumers, making Philips easier to do business with, and further improving our
           quality, operational excellence and productivity. To do this, we are driving the
           digital transformation in every area of our business, leveraging our integrated IT
           landscape – from the way we connect and engage with our customers and
           consumers to seamlessly connecting our solutions, e.g. to enable remote servicing
           and upgrades.

           291.    Further, in discussing the Company’s Connected Care businesses, the 2020 20-F

   stated, in relevant part:

           Spanning the entire health continuum, the Connected Care businesses help broaden
           the reach and deepen the impact of healthcare with solutions that leverage and unite
           devices, informatics, data and people across networks of care, to enable our
           customers to deliver on the Quadruple Aim – better health outcomes, improved
           patient experience, improved staff experience, and lower cost of care.
                                                    ***
                  Sleep & Respiratory Care: Philips’ cloud-based sleep and respiratory
                   patient management solutions enable the care of more than 10.5 million
                   connected patients, driving adherence, reimbursement and remote patient
                   management. From consumer sleep solutions, including those for disease-
                   state sleep such as obstructive sleep apnea, to end-to-end solutions that
                   encompass consumer engagement, diagnostics, people-centric therapy,
                   cloud-based connected propositions and care management services. The
                   COVID-19 crisis has put respiratory care at the top of the list for delivering
                   critical and chronic care to patients. Respiratory offerings include COPD
                   (Chronic Obstructive Pulmonary Disease) care management, with digital
                   and connected solutions; Hospital Respiratory Care provides invasive and
                   non-invasive ventilators for acute and sub-acute hospital environments;
                   Home Respiratory Care supports chronic care management in the home.

           292.    In addition, the 2020 20-F contained substantively similar statements regarding the

   Company’s manufacturing capabilities, product design quality, and regulatory compliance as

   discussed, supra, ¶¶ 244-45.

           293.    In the 2020 20-F, the Company stated:

           Quality & Regulatory
           Our business success depends on the quality of our products, services and solutions,
           and compliance with many regulations and standards on a global basis. . . .
                                                    ...


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          Regulatory Compliance
          Philips actively maintains Quality Systems globally that establish processes for its
          product design, manufacturing and distribution processes; these standards are in
          compliance with Food and Drug Administration (FDA)/International
          Organization for Standardization (ISO) requirements. Our business are subject
          to compliance with regulatory pre-marketing and quality system requirements in
          every market we serve, and to specific requirements of local and national regulatory
          authorities including the US FDA[.] . . .
                                                   ...
          We have a growing portfolio of regulated products in our Personal Health and
          Sleep & Respiratory Care businesses. . . .
                                                   ...
          . . . Failing to comply with the regulatory requirements can have significant legal
          and business consequences. . . .
                                                   ...
          Compliance risks
          Philips is exposed to non-compliance of its products and services with various
          regulations and standards including quality, product safety and data privacy.
          Philips operates in a highly regulated product safety and quality environment and
          its products and services, including parts or materials from suppliers, are subject to
          regulation by various government and regulatory agencies (e.g. FDA (US)[.]). . . .
          . . . Non-compliance with conditions imposed by regulatory authorities could result
          in product recalls, a temporary ban on products, stoppages at production facilities,
          remediation costs, fines or claims for damages. Product safety incidents or user
          concerns, as in the past, could trigger business reviews by the FDA or other
          regulatory agencies, which, if failed, could trigger these impacts.
                                                   ...
          Non-compliance could adversely impact Philips’ financial condition or operating
          result through lost revenue and cost of any required remedial actions, penalties or
          claims for damages. These issues could also further negatively impact Philips’
          reputation, brand, relationship with customers and market share.

          294.   In the 2020 20-F, the Company reported that 49% of its sales from the Connected

   Care businesses were from Sleep & Respiratory Care.            Reporting on the Connected Care

   businesses, the Company stated: “In 2020, sales amounted to EUR 5,564 million, 19% higher than

   in 2019 on a nominal basis. Excluding a 2.9% negative currency effect and consolidation impact,

   comparable sales increased by 22%, with double-digit growth in both Monitoring & Analytics and




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   Sleep & Respiratory Care, as our innovations in these therapeutic areas were able to hep our

   customers combat the pandemic.”

          295.    The statements referenced in ¶¶ 288-94 were materially false and misleading when

   made for the reasons specified in Paragraph 122 at subdivisions (i)-(xiii) and (xvii), particularly

   because Philips had already received multiple complaints about the Foam being used in its

   products and Defendants were not properly disclosing these known risks to the public.

          296.    On April 26, 2021, Philips issued a press release announcing the Company’s

   financial results for the First Quarter of 2021 on SEC Form 6-K. The Company reported sales of

   3.8 billion, with 9% comparable sales growth, that net income amounted to EUR 40 million, and

   that the Adjusted EBITA margin improved 390 basis points to 9.5%. The Company reported sales

   from the Connected Care businesses of EUR 1,161. “Comparable sales growth was 7%” across

   the Connected Care businesses, “with double-digit growth in Hospital Patient Monitoring, partly

   offset by a mid-single-digit decline in Sleep & Respiratory Care.” Nevertheless, “Adjusted EBITA

   increased by EUR 40 million” for the Connected Care businesses, “resulting in a margin of 12.8%,

   mainly driven by sales growth and productivity measures.” In the press release, van Houten said:

          Regretfully, we have identified a quality issue in a component that is used in certain
          sleep and respiratory care products, and are initiating all precautionary actions to
          address this issue, for which we have taken a EUR 250 million provision.

          297.    On April 26, 2021, the Company hosted an earnings call with investors to discuss

   Philips’ earnings and financial results for the First Quarter of 2021 (the “1Q2021 Earnings Call”).

   During the 1Q 2021 Earnings Call, van Houten said:

          Despite the ongoing impact of COVID-19, our performance gained momentum
          with a strong 9% comparable sales growth and an adjusted EBITA margin increase
          of almost 400 basis points in first quarter. . . . [O]ur Connected Care businesses
          delivered 7% comparable sales increase[.] . . . Comparable order intake for the
          Connected Care businesses decreased as anticipated, following the exceptional
          growth in Q1 2020, driven by the demand for hospital ventilators and patient
          monitors.


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          298.    During the 1Q2021 Earnings Call, van Houten said:

          On the regulatory matters, regretfully, we have identified possible risks related to
          the sound abatement foam used in certain sleep and respiratory care devices
          currently in use. And this is primarily related to the first generation DreamStation
          product family. We are in the process of engaging with the relevant regulatory
          agencies regarding this matter and initiating appropriate actions to mitigate these
          possible risks. Given the estimated scope of the intended precautionary actions
          on the installed base, we have taken a provision of €250 million. I would like to
          flag that our latest CPAP platform, the DreamStation 2 is not affected as it is of a
          different design.

          299.    During the 1Q2021 Earnings Call, an analyst asked about “some of the issues that

   have been reported by users” of the DreamStation 1 “and whether any of these have been

   significant? And what does the current provision account for as it relates to the €3-4 million

   installed base? And whether you expect any short-term impact on sales because of these issues.”

   The analyst also asked about “the broader performance of the sleep business,” specifically, “where

   are diagnosis rates relative to pre-COVID levels, and do you think you’re gaining share here?” In

   response, van Houten said:

          The issue with the DreamStation 1 family and related products come [sic] out of
          our post-market surveillance, where we have picked up reports from users that lead
          us to do this warning. The occurrence rate is very, very low and in the last year, it
          got accelerated because of what we have discovered, the use of unauthorised
          detergents in cleaning the machine. In the US there’s quite a lot of locations that
          have started to use Ozone to disinfect the machine. And in fact, that has an impact
          on the foam used in the machine which makes it degrade. Globally, we have seen
          some occurrence of that phenomena in high humidity, high temperature
          environments. As I said, the occurrence rate is very, very low, 0.03% of [sic] the
          top of my head. Nevertheless being responsible and proactive, we don’t want to
          have this happen and we are going to repair the machines in the field, for which we
          have taken the provision.
          Now, the installed base is very high given that Philips is the market leader in sleep
          apnoea [sic] CPAP devices. And there’s several millions out there, a couple of
          millions out there, and that relates then to the magnitude of the provision. I hope
          that scopes that a bit. It is early stage because we wanted to go out immediately
          and we are, also in parallel then, engaging the regulatory agencies with whom we
          have to detail out the field safety notice as is customary practice. I want to
          emphasise this is coming out of our own post-market surveillance actions.



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          Now, then, you ask, does it have impact on sales? The good thing is that we have
          launched DreamStation 2. That product is also already authorised in the United
          States, and is of a different design and is not affected by this component. Other
          countries, that product is not yet authorised and therefore we were still
          manufacturing and shipping the Dream series 1. We have, out of precautionary
          measures, put a temporary stop to the production of those units. Therefore, in
          relation to your question, can it impact sales on the short term? Yes, it can on a
          limited basis, because in the United States, which is our biggest market and the
          majority of the demand, we have the Dream series 2 to ship. We are planning to
          outsource most of the field action to show that we can do it fast and the collaborate
          [sic] third-party capacity, thereby avoiding hindrance to our own manufacturing
          line.
                                                   [. . .]
          Then, finally, I want to assure everybody on the call that we will compensate for
          the slowness in the sleep and respiratory care business. We still see good demand
          for a hospital respiration and oxygen concentrators and across Connected Care, we
          also see strong traction on Patient Monitoring. So, this is also why we kept the
          guidance on Connected Care the same as we flagged to you before; i.e., high
          single-digit to low double-digit decline year on year, given the peak of last year.

          300.   During the 1Q2021 Earnings Call, an analyst asked: “You mentioned the people

   are using Ozone, which is against the FDA regulations or against your user manual. Why is it your

   problem then if someone wants to use a cleaning agent that is not even permitted? Why are you

   taking responsibility for that in those provisions?” Van Houten responded:

          Well, patient safety is always our concern and we have—be very clear to say, first
          comes the patient. We don’t want to debate culpability at this time or who’s done
          it because that doesn’t help the patient. And so if there is something to be said
          about what is the root cause and why did people choose a certain way of cleaning
          the device, that can be an endless debate. At this time, that should not be the debate.
          We should just deal with the issue. And then later on, we can sort out better how
          this cleaning came about.

          I mean, if we look around the world, then there’s use of Ozone is typically a US
          issue. And then within the US it is related to certain regions where certain
          companies have been very active in marketing that message. But that’s all, let’s
          say, 20/20 hindsight. The FDA observed this and also put out a safety notice to
          say, don’t use ozone for CPAP machines. Nevertheless, we cannot control that.
          But we don’t want to focus on culpability questions. Our prime concern is let’s
          take this small risk out of the market and deal with it proactively.




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          301.    The statements referenced in ¶¶ 296-300 were materially false and misleading when

   made for the reasons specified in Paragraph 122 at subdivisions (i)-(xvii), particularly because

   Defendants still did not reveal the extent of the complaints and sought to minimize the harm and

   the blame they shouldered.

          302.    On September 1, 2021, the Company announced it had started a repair and

   replacement program for first-generation DreamStation devices in the US. The Company stated:

          Philips received authorization from the US Food and Drug Administration
          (FDA) for the rework of the affected first-generation DreamStation devices,
          which consists of replacement of the PE-PUR sound abatement foam with a new
          material. Philips anticipates rework to commence in the course of September 2021.
          In addition to the rework, the company has already started replacing certain affected
          first-generation DreamStation CPAP devices in the US with DreamStation 2 CPAP
          devices. Philips remains in dialogue with the FDA with respect to other aspects of
          the recall notification and mitigation plan in the US.

          303.    The statements referenced in ¶ 302 were materially false and misleading when

   made for the reasons specified in Paragraph 122 at subdivisions (i) and (xvi), as the FDA would

   later state the agency was not aware of the potential VOC issue with silicon foam when it

   authorized this corrective action.

                                        The Truth Slowly Emerges

          304.    On April 26, 2021, as part of its Quarterly Report for Q1 2021, issued well before

   the market closed in America, Philips disclosed for the first time, under a section entitled

   “Regulatory Update,” that device user reports had led to a discovery that the Foam posed health

   risks to its users. Specifically, Philips disclosed that “the [PE-PUR] foam may degrade under

   certain circumstances, influenced by factors including use of unapproved cleaning methods, such

   as ozone[], and certain environmental conditions involving high humidity and temperature.”

          305.    However, this did not alert the market to the full scale of the problem. In fact,

   Philips sought to minimize the issue by stating “[t]he majority of the affected devices are in the



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   first-generation DreamStation product family” and mentioning no other product. It also took a

   provision of only EUR250M, which was solely for repair of units in the field.

          306.    The Company also hosted an earnings call with investors to discuss the Company’s

   financial and earnings results for the First Quarter of 2016 (the “1Q2016 Earnings Call”). During

   the 1Q2016 Earnings Call, van Houten stated that “[t]he issue with the DreamStation 1 family and

   related products come out of our post-market surveillance where we have picked up reports from

   users that lead us to do this warning.”

          307.    During the 1Q2016 Earnings Call, van Houten stated the Company was “being

   responsible and proactive” even though “the occurrence rate is very, very low.” Van Houten

   sought to blame the use of ozone products in the cleaning of the machines for the device issues,

   stating that in other places in the world they had seen foam degradation in “high humidity and high

   temperature environments” but in the US it was accelerated because of “use ozone to disinfect the

   machine,” which, according to van Houten, caused the Foam to “degrade.”

          308.    During the 1Q2016 Earnings Call, van Houten sought to paint Philips as a

   responsible corporate citizen, stating: “It is early stage because we wanted to go out immediately

   and we are also in parallel then engaging the regulatory agencies with whom we have to detail out

   the field safety notice as is customary practice. I want to emphasize this is coming out of our own

   post-market surveillance actions.”

          309.    During the 1Q2016 Earnings Call, van Houten in one breadth stated he did not want

   “to debate culpability,” but then sought to limit Philip’s liability by stressing that the use of ozone

   cleaners might be to blame: “if there is something to be said about what is the root cause and why

   did people choose a certain way of cleaning the device, then that can be an endless debate . . . if

   we look around the world, the use of ozone is typically a US issue and then within the US, it is




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   related to certain regions where certain companies have been very active in marketing that

   method.”

          310.    Van Houten also took steps to minimize the impact of the provision. In response

   to an analyst question about the EUR250 million provision and whether it was “purely for the field

   repairs” or whether it also accounted for some litigation risk, van Houten stated:

          Let me say that the amount is related to the field action. I’ve already flagged that
          any slowness in the business near term is absorbed within the business and
          compensated elsewhere and therefore not expected to further impact. This is very
          early stage so we are acting on the fact that we got a few reports out of the field out
          of our post-market surveillance and our own test. We are taking proactive action
          here even though the earlier question around ozone and that’s not us, that’s
          somebody else. Doesn’t matter, we are taking proactive action. There are no
          litigations here at this time. Moreover I can say that we have not seen reports of
          severe user harm. We have seen some reports of irritation, but not severe patient
          harm.

          311.    Nowhere in the call did anyone from Philips mention the many years of complaints

   the Company had received. Nowhere did they mention any correspondence from the Foam

   manufacturer or that another Philips division had implemented – years prior – the very change that

   Philips Respironics was now undergoing.

          312.    Analysts treated this “update” in the way Philips wanted – by downplaying its

   significance. For example, on April 27, 2021, a Exane BNP Paribas Research report, which

   emphasized Philips’ increased profitability, stated the “the operational/reputational impact [to

   Philips] should prove limited.” It also stressed the supposed proactive nature of the action by

   Philips (which had “past quality/safety” issues), by stating: “Purely related to field actions and not

   litigation (proactive action by Philips; ozone not authorized as a cleaning method in the manual;

   no report of severe user harm)[.] Installed base of >3m units with a very low occurrence rate

   (approx. 0.03%)[.] Very limited impact foreseen on S&R operations since DreamStation2




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   (launched in the US) is unaffected by the faulty component and DreamStation 1 is still produced

   for Europe, but this represents a very minor part of S&R sales/demand[.]”

          313.      Other analysts, such as Credit Suisse, mentioned only the provision taken, but did

   not delve into any other impact the reported foam degradation may have on Philips.

          314.      That said, Philips’ stock already began to show the toll the issues with the Sleep &

   Respiratory Care division were taking – on April 26, 2021 the stock closed down $2.28 to end the

   day at $57.74.

          315.      However, as time went on, it became clear that Philips’ April “company update”

   was not enough – the devices would need to be recalled.

          316.      On June 14, 2021, Philips issued a voluntary recall of certain of its Bi-Level PAP

   and CPAP devices, as well as mechanical ventilators, after finding that the sound abatement foam

   used in the devices can degrade and become toxic, potentially causing cancer (the “June 14

   Release”). Specifically, in a press release announcing the recall, Philips stated that the recall was

   being done “to address identified potential health risks related to the polyester-based polyurethane

   (PE-PUR) sound abatement foam component in these devices.”

          317.      Philips further claimed the “majority of the affected devices within the advised 5-

   year service life are in the first-generation DreamStation product family.”

          318.      Philips referenced a “low complaint rate” but only chose to highlight the complaint

   rate in 2020, which was supposedly 0.03%. There was no explanation of what Philips considered

   a complaint such that it would be included in the figure provided.

          319.      The June 14 Release stated: “Philips determined based on testing that there are

   possible risks to users related to this type of foam. The risks include that the PE-PUR foam may

   degrade into particles which may enter the device’s air pathway and be ingested or inhaled by the




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   user, and the foam may off-gas certain chemicals. The foam degradation may be exacerbated by

   use of unapproved cleaning methods, such as ozone, and high heat and high humidity

   environments may also contribute to foam degradation.”

             320.   In the June 14 Release, van Houten is quoted as stating: “We deeply regret any

   concern and inconvenience that patients using the affected devices will experience because of the

   proactive measures we are announcing today to ensure patient safety . . . Patient safety is at the

   heart of everything we do at Philips.”

             321.   The recall notifications broke up the Devices into two categories. First, the recall

   notification for “Trilogy 100, Trilogy 200, Garbin Plus, Aeris, LifeVent, BiPAP V30, and BiPAP

   A30/A40 Series Device Models” stated, in relevant part that the Foam “may degrade into particles

   which may enter the device’s air pathway and be ingested or inhaled by the user” and “may off-

   gas certain chemicals.” The Company further claimed: “The foam degradation may be exacerbated

   by use of unapproved cleaning methods, such as ozone (see FDA safety communication on use of

   Ozone cleaners), and off-gassing may occur during operation.”

             322.   Philips claimed there had been no reported deaths because of the Foam issues, it

   stated:

             These issues can result in serious injury which can be life-threatening, cause
             permanent impairment, and/or require medical intervention to preclude
             permanent impairment. To date, Philips Respironics has received several
             complaints regarding the presence of black debris/particles within the airpath
             circuit (extending from the device outlet, humidifier, tubing, and mask). Philips
             also has received reports of headache, upper airway irritation, cough, chest
             pressure and sinus infection. The potential risks of particulate exposure include:
             Irritation (skin, eye, and respiratory tract), inflammatory response, headache,
             asthma, adverse effects to other organs (e.g. kidneys and liver) and toxic
             carcinogenic affects. The potential risks of chemical exposure due to off-gassing
             include: headache/dizziness, irritation (eyes, nose, respiratory tract, skin),
             hypersensitivity, nausea/vomiting, toxic and carcinogenic effects.




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             323.   Second, the recall notification for “CPAP and Bi-Level PAP Devices,” including

   the popular DreamStation line and the emergency E30 ventilator, contained a substantively

   identical explanation of why the devices were being recalled, but instead of just stating “off-

   gassing may occur during operation,” for these products Philips stated: “off-gassing may occur

   during initial operation and may possibly continue throughout the device’s useful life.”

   (Emphasis added.)

             324.   There was no explanation in the June 14 Release offered as to why only these

   devices were recalled, when other devices used the same Foam.

             325.   The June 14 Release stated: “Philips is providing the relevant regulatory agencies

   with required information related to the launch and implementation of the projected correction.

   The company will replace the current sound abatement foam with a new material and has already

   begun the preparations, which include obtaining the relevant regulatory clearances.”

             326.   Notably, Philips admitted in a June 14, 2021 statement to physicians, “[t]he absence

   of visible particles does not mean that foam breakdown has not already begun.” The Company

   stated lab analysis revealed the presence of many potentially harmful/carcinogenic chemicals, in

   the family of isocyanates, including Toluene Diamine, Toluene Diisocyanate and Diethylene

   glycol.

             327.   Additionally, the Company told physicians that two “compounds of concern” –

   Dimethyl Diazine and Phenol 2,6-bis(1,1-dimethylethyl)-4-(1-methylpropyl) - may be emitted

   from the Foam. These are VOCs, or chemical emissions from foam.

             328.   On the news of the recall and related health risks, Philips’ stock price fell $2.25 per

   share, or 3.98%, to close at $54.25 per share on June 14, 2021.




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          329.    On July 22, 2021, the FDA identified this as a Class I recall, the most serious type

   of recall. According to the FDA website, FDA Class I recalls are only identified in “a situation in

   which there is a reasonable probability that the use of or exposure to a violative product will

   cause serious adverse health consequences or death.”

          330.    In the July 22, 2021 announcement of the Class I recall status, the FDA stated:

   “There have been more than 1200 complaints and more than 100 injuries reported” related to the

   breakdown of the Foam.

          331.    On July 26, 2021, Philips issued a press release regarding its Q2 2021 results. Van

   Houten is quoted in the release as stating: “We have mobilized the necessary resources across the

   company to address the component quality issue in certain of our sleep and respiratory care

   products. We fully understand the impact that this is having on patients, as their well-being is at

   the heart of everything we do at Philips . . . We are in discussions with the relevant regulatory

   authorities to obtain authorization to start deploying the repair kits and replacement devices that

   we are producing.” He then noted that sales growth was otherwise good across the Company, but

   not in the Sleep & Respiratory Care division.

          332.    In terms of business segment performance, the release stated: “Comparable sales in

   the Connected Care businesses decreased 16%, as mid-single-digit growth in Hospital Patient

   Monitoring was more than offset by a double-digit decline in Sleep & Respiratory Care. . . The

   Adjusted EBITA margin amounted to 11.3%, mainly due to the impact in the Sleep & Respiratory

   Care business.”

          333.    The release also explained that the Company was now taking an additional EUR

   250 million reserve – for a total of EUR 500 million reserve in the first half of 2021 – to account




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   for its increase in production, service and repair capacity and the necessary repair/replacement

   actions.

           334.   The numbers for the Connected Care business were understandably dire and stated

   again later on in the release: “Adjusted EBITA decreased by EUR 64 million, resulting in a margin

   of 12.0%, mainly due to the impact in the Sleep & Respiratory Care business, partly offset by cost

   savings. Restructuring, acquisition-related and other charges were EUR 576 million, compared to

   EUR 62 million in the first half of 2020. The first half of 2021 includes a field action provision of

   EUR 500 million and EUR 38 million of restructuring and acquisition-related charges.”

           335.   The related earnings call further discussed the impact of the recall and the fact that

   the Company was no longer taking orders for sleep respiratory systems. During the 2Q2021

   Earnings Call, Bhattacharya stated: “The sales for the Connected Care businesses declined 16% in

   Q2, driven by a substantial decline in the Sleep & Respiratory Care business on the back of a very

   strong Q2 last year, as well as the headwind related to the field action.”

           336.   During the 2Q2021 Earnings Call, van Houten explained that the Company was

   waiting on FDA approval of its repair plan, but the Company expected to address all devices within

   a year of regulatory approval of the plan. He also revealed the Company was “currently not taking

   new orders for sleep therapy systems” because it was prioritizing the field repair actions. He stated

   that the Company assumed “worst-case scenario” with its recall but was still conducting research

   and tests.

           337.   Van Houten stated that Philips did not have any data “indicating that exposure to

   the particulates or emitted chemicals related to the sound abatement foam will lead to disease,”

   but the Company also could not “exclude” the chance that its Foam would lead to disease.




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          338.    Van Houten then again sought to again convince the market that Philips was

   completed dedicated to product safety, despite the current situation and its past regulatory issues,

   by stating:

          I also want to talk about the broader context of quality across Philips. In the last
          few years, we have made strong progress in our quality culture and approach,
          improved design controls, improved post-market surveillance, and improvements
          in the way that we handle correct and preventative actions. The affected products
          were designed and have been in full compliance with appropriate standards at the
          time of release and commercialization, and the component issue was identified
          through our own post-market surveyance processes.

          339.    On the 2Q2021 Earnings Call emphasized that the recall was being taken after a

   “parter,” which performs tests for the Sleep & Respiratory Care business, discovered VOCs when

   analyzing a “relatively small sample size[.]” He stated the Company had since initiated testing on

   a larger sample and also in different labs.

          340.    Van Houten explained the Company that, prior to Covid, “the Sleep

   business is €1.1 billion, of which approximately 60% is systems.” As the Company ceased

   to take system orders, that entire amount was “lost revenue.”


          341.    On this news, the stock fell $1.80 per share, or 3.75%, from a close of $47.94 on

   July 23, 2021 to a close of $46.14 on July 26, 2021.

          342.    On September 1, 2021, Philips issued an update press release (the “September 1,

   2021 Press Release”) entitled: “Philips starts repair and replacement program of first-generation

   DreamStation devices in the US in relation to earlier announced recall notification.” The release

   stated: “More than half of the affected devices in use globally are in the US. The vast majority

   (>80%) of the registered affected devices in the US to date are in the first-generation DreamStation

   product family.”




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            343.   The September 1, 2021 Press Release further stated that Philips had received FDA

   authorization for its rework of the impacted DreamStation devices (and no other devices thus far).

   Philips explained that it had begun replacing certain first-generation DreamStation CPAP devices

   in the US with DreamStation 2 CPAP devices, which the Company had claimed were not

   dangerous because they utilized a silicone-based foam. It also stated Philips intended to begin

   “rework” of other first-generation DreamStation devices that month. It did not specify the “new

   material” that would be used in the first-generation DreamStation devices that were being repaired.

            344.   In October 2021, SoClean, a maker of ozone cleaning products, sued Philips over

   the statements made in connection with its “Regulatory Update” and recall. SoClean alleged that

   Philips had tried to blame ozone cleaners when the Philips’ products design flaws were clearly to

   blame.

            345.   On November 12, 2021, the FDA took the rare step of sharing a comprehensive

   update to the public regarding its investigation of the recall of certain Philips Respironics

   ventilators, continuous positive airway pressure (CPAP) and bilevel positive airway pressure

   (BiPAP) machines (the “November 12 FDA Update”). As part of this update, the FDA disclosed:

   “In response to the recall, the FDA recently conducted an inspection of a Philips Respironics’

   manufacturing facility to determine what may have caused or contributed to the foam issues and

   assess adherence to the agency’s requirements for quality manufacturing. FDA inspections are

   designed to include the review and evaluation of records, staff training, facility operations, medical

   device production and testing, and the systems in place to ensure product quality. During the

   inspection, the FDA investigator made several observations that are outlined in an inspection

   closeout report, also known as an ‘FDA Form 483.’” The FDA Form 483 detailed Philips’ years

   of malfeasance.




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          346.    Philips’ recall was not part of a proactive effort after only a few complaints. It was

   done after years of complaints – complaints they did not fully report to the FDA nor properly

   investigate in accordance with regulatory standards. Notably, while Philips had previously tried

   to cast the blame on ozone cleaners for its products’ failures, ozone cleaners are not mentioned in

   FDA Form 483. The November 12, 2021 report was the first time the public was notified of the

   full truth – that Philips had been misrepresenting its compliance with relevant laws and burying

   years of complaints about its products.

          347.    Specifically, with the FDA Form 483, the FDA investigator, Katelyn A. Staub-

   Zamperini, laid out multiple overarching “observation”s about what she found wrong during her

   inspection of Philips Respironics, Inc., which lasted from August 26, 2021 to November 9, 2021.

   While the FDA Form 483 does not constitute a final FDA determination of whether any condition

   is in violation of the Federal Food, Drug, and Cosmetic Act or any of its implementing

   regulations—and the Company has a right to respond before the FDA takes further action—the

   allegations in the FDA Form 483 are nonetheless damning.

          348.    The first observation noted in FDA Form 483 is that “Risk analysis is inadequate.”

   Under the “Observation 1” header, the FDA reported many damaging findings.

          349.    Under Observation 1, FDA Form 483 stated that Philips had “no documented

   investigation, risk analysis, or design failure mode effect analysis to” explain why they were

   recalling some devices containing the Foam but not others. The FDA Form 483 stated that Philips

   had not “sufficiently demonstrated that other devices” should not be included in the recalls.

          350.    On or around November 25, 2015, according to the FDA, the Philips entity in

   America was made aware that another Philips entity, outside of the country, was performing a

   preventative maintenance procedure for Trilogy ventilator devices because of degradation of the




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   Foam in those devices. But Philips did nothing with regard to the Trilogy devices distributed in

   America or any of other devices utilizing the Foam. The Company performed “no further

   investigation, health hazard evaluation, risk analysis, or design review was performed, or

   documented by your firm.” And Philips did nothing to prevent Foam degradation in the devices in

   the field in the US – it did not service the products.

          351.    Philips was required to perform a risk analysis in an appropriate time frame when

   they became aware of Foam degradation and/or possible VOC emission concerns but the Company

   either performed no risk analysis or the one it performed was inadequate. Specifically, the FDA

   documented at least fourteen instances, assessments, and/or test reports, dated from 04/01/2016 to

   01/22/2021, where it was clear the Company was aware of the Foam degradation and/or possible

   VOC emission concerns, but conducted no further risk assessment and did nothing to correct the

   problem. These include test reports on samples collected based on October 2015 consumer

   complaint. In other words, Philips tested samples of Foam based on complaints, and documented

   issues with Foam breakage—including that Foam degradation was worse when the Foam was

   exposed to high temperature or high humidity—but did not follow-up or pursue corrective

   measures when these issues were documented.

          352.    In Observation 1, the FDA also revealed information about silicone foam. The FDA

   revealed that as part of testing in accordance with ISO guidelines, a Series A CPAP device utilizing

   silicon foam failed VOC testing. A test report dated August 24, 2021 reported that in the performed

   test there were compounds identified that had carcinogenic/mutagenic properties. Additionally, a

   related report explained that “pediatric patients would potentially be exposed to higher

   concentrations of compounds of concern, if they utilized an A Series CPAP device for sustained

   periods of time.” Silicone foam was being utilized in repair of the recalled devices – and in devices




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   that were being used to replace recalled devices – but apparently Philips did not follow-up with

   the “risk analysis, health hazard evaluation, or design review” as a result of this documented

   problem.

          353.     Under Observation 1, the FDA further discussed the Biological Risk Assessment,

   dated May 22, 2018, that stated “A total of 17 cases were reported pertaining to the degraded foam

   in the Trilogy ventilator device.” Except the FDA’s own investigation cast serious doubts on that

   17 number and therefore the FDA believed the 2018 assessment was inadequate because it did not

   consider      all   known      information.     Specifically,    FDA      Form      483     stated:



          Alternatively, a query of your firm’s consumer complaints from 01/01/2008 to
          current, for the keywords contaminants, particles, foam, debris, airway,
          particulate, airpath, and black, resulted in over 222,000 complaints, and over
          20,000 of which occurred between 2008 to 2017 and involved Trilogy devices.
          Additionally, your firm performed a foam related complaint data analysis in April
          2021 on complaints confirmed to be related to or involve foam degradation issues.
          The raw complaint data documents that 30 Trilogy related complaints were
          received from 2014 to 2017, and 1,254 related complaints were received across all
          products containing the affected foam, from 2014 to 2021. Therefore, this
          Biological Risk Assessment and Health Hazard Evaluation are not adequate
          because they do not accurately reflect the known data at that time.

          354.     A month later, Philips approved and closed a Health Hazard Evaluation that focused

   on Foam degradation on Trilogy 100 and Trilogy 200 ventilator devices. The FDA believed this

   too was “inadequate.” Specifically, the FDA stated that the evaluation “does not accurately reflect

   the probability and severity of harm related to such foam degradation.”           The Evaluation

   documented a “probability of harm” score that can only be used, under the Health Hazard

   Evaluation’s own instructions, if the harm that caused the investigation was the result of an

   “isolated incident and no other units are likely to be affected.” Except this very same evaluation

   stated that “Post market surveillance information revealed 17 instances allegedly related to




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   degradation of air inlet path foam.” Seventeen instances—even if there were only seventeen—

   cannot be characterized as an “isolated incident” and the FDA found no stated rationale from

   Philips about why this “probability of harm” score was the one documented under these

   circumstances.

          355.      The second observation noted in the FDA Report is that “procedures for corrective

   and preventive action have not been adequately established.” Under the “Observation 2” header,

   the FDA reported many damaging findings.

          356.      Specifically, under Observation 2, the FDA stated: “No formal CAPA was initiated

   or implemented, when appropriate, and no verification of effectiveness was performed.”

          357.      Under Observation 2, the FDA Form 483 revealed that there were 222,000

   complaints, over 175,000 of which occurred between 2008 to 2017 found by searching the

   Company’s internal database for the keywords contaminants, particles, foam, debris, airway,

   particulate, airpath, and black. Additionally, in a 2021 investigation, Philips also identified 110

   complaints specifically related to foam degradation from 2014 to 2017. But the Company

   instituted no formal investigation or risk analysis performed in any of these years related to the

   complaints.

          358.      In Observation 2, the FDA revealed that Philips went so far as to contact the Foam

   supplier as a result of customer concerns about Foam degradation, but still did not report the issue

   to the FDA or initiate a CAPA. Specifically, an email correspondence to the Foam supplier on

   October 30, 2015, indicates Philips was aware of Foam degradation issues. A response email from

   the Foam supplier on August 5, 2016 indicated that concerns about Foam degradation were

   warranted. Another email from Philips to the Foam supplier years later, dated April 20, 2018,

   again confirmed that Philips was aware of Foam degradation issues and had received consumer




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   complaints about Foam breaking apart and debris getting in the airways of Philip’s machines.

   Indeed internal 2018 emails further indicated the Foam breakdown occurred more frequently in

   high heat and humidity environments. Yet no formal CAPA was initiated or implemented and

   Philips “made the decision not to change the design, and continue to include polyester polyurethane

   foam, in the Trilogy ventilator platform of devices.”

           359.    In 2018, Philips did finally open at least an informal CAPA. In April 2018, Philips

   opened an informal CAPA, CAPA INV 0988, due to Trilogy units returned because of degradation

   of the Foam that was getting into the motor/air path of the devices. CAPA INV 0988 involved only

   Trilogy 100 and 200 because the issue supposedly only impacted these devices. However, Philips

   received approximately eighty complaints related to degradation for the Foam on non-Trilogy ventilator

   devices from 2014 to 2017.

           360.    That informal CAPA was closed on June 20, 2018 without any formal CAPA ever

   being initiated. The informal CAPA was not reported to the FDA, but Philips did make an internal

   change because of it.

           361.    Philips implemented a “Field Communication” in response to the Foam

   degradation, which required certain parts of Trilogy models were to be replaced as a preventative

   maintenance procedure. Not only was this preventative procedure not reported to the FDA, but the

   FDA found that Philips did not internally verify the effectiveness of the procedure.

           362.    A formal CAPA, CAPA 7211, was not initiated in response to field complaints of

   foam degradation in the Devices until June 19, 2019.

           363.    CAPA 7211 was ongoing for years. A foam degradation-related complaint analysis,

   dated April 9, 2021, part of CAPA 7211, identified 1,254 complaints confirmed to be related to

   foam degradation from 2014 to April 2021.




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          364.    Under Observation 2, the FDA revealed that even Philips’ own internal records

   were inconsistent. Specifically, as part of CAPA 7211, an April 9, 2021 report identified 1,254

   complaints confirmed to be related to foam degradation from 2014 to April 2021, across all

   affected product platforms. However, it somehow did not include 7 of the 17 complaints

   documented in CAPA INV 0988. Therefore the April 9, 2021 report very obviously “did not

   include all applicable complaints known at that time and therefore, was not adequately performed

   to identify, or detect the severity or magnitude of potential quality issues/concerns.”

          365.    The third observation noted in the FDA Report is that “[d]esign validation did not

   ensure the device conforms to defined user needs and intended uses.” Under the “Observation 3”

   header, the FDA reported many damaging findings.

          366.    Specifically, the FDA found under “Observation 3” that when Philips got around

   to doing a Health Hazard Evaluation, Health Hazard Evaluation ER2227646 V06, which was

   approved and closed on Jun 15, 2018, only considered how the products would impact healthy

   lungs and individuals with healthy bodily functions. However, the intended patients are individuals

   requiring mechanical ventilation, that potentially lack typical and healthy lung and bodily

   functions considered in Health Hazard Evaluation ER2227646 V06. Health Hazard Evaluation

   ER2227646 V06 does not even consider patients with a tracheostomy, which is part of the relevant

   patient population.

          367.    Additionally, the FDA found Health Hazard Evaluation ER2227646 V06

   inadequate for the separate reason that it documented “the risk and hazard evaluation based on the

   use of a humidifier and/or bacterial filter with the use of Trilogy 100 and 200 ventilator devices,

   but neither component nor [sic] attachment is required for proper use of these ventilators.” Health

   Hazard Evaluation ER2227646 V06 discusses particles needing to pass through the humidifier and




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   additionally notes that “if a bacteria filter was in place, the particulate would not reach the patient,”

   but the ventilators work without either a humidifier or bacteria filter. Both of these are accessories.

   Therefore, a proper Health Hazard Evaluation should have examined the devices utilizing only

   required parts and assessed the health hazard accordingly, but Philips did not do so.

           368.    The fourth observation noted in the FDA Report is that “[p]rocedures for design

   change have not been adequately established.” Under the “Observation 4” header, the FDA

   reported many damaging findings.

           369.    In Observation 4, the FDA took Philips to task for not sufficiently verifying whether

   any of the Company’s proposed fixes would in fact work.                            The FDA stated:

   “Specifically, design changes, including changes and updates to preventative maintenance

   schedules and servicing procedures, were not adequately verified, reviewed, or validated before

   implementation.”

           370.    The FDA explained how the preventative maintenance servicing procedure

   instituted in or around June 12, 2018, as a result of CAPA INV 0988, including replacement of

   parts of the Inlet Air Path Assembly and Removable Air Path Foam, and the intended replacement

   components “were not verified, reviewed, or validated before implementation.”

           371.    The fifth observation noted in the FDA Report is that “[a] correction or removal,

   conducted to reduce a risk to health posed by a device, was not reported in writing to FDA.” Under

   the “Observation 5” header, the FDA reported that the preventative maintenance servicing

   procedure instituted in or around June 12, 2018, as a result of CAPA INV 0988, was simply not

   reported to the FDA. The FDA Form 483 states that the preventative maintenance servicing

   procedure “was initiated due to multiple field complaints and at least 1 Trilogy unit failure, caused




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   by polyester polyurethane foam degradation. This affected foam was later found to be mutagenic,

   cytotoxic, carcinogenic, and non-biocompatible.”

              372.     The sixth observation noted in the FDA Report is that “[m]anagement with

   executive responsibility has not ensured that the quality policy is understood, implemented and

   maintained at all levels of the organization.” Under the “Observation 6” header, the FDA reported

   many damaging findings.

              373.     The FDA reported that “firm management, including management with executive

   responsibility, were aware of potential foam degradation issues concerning CPAPs, BiPAPs, and

   Trilogy ventilators since at least 01/31/2020, or earlier, and implemented no further corrective

   actions until April 2021.” In other words, Philips management was aware of the Foam issues and

   simply did nothing to ensure the Philips products were not causing harm.

              374.     The FDA noted that Philips was aware of Foam degradation in 2015 or earlier and

   Foam degradation issues were discussed at all management review meetings since at least January

   31, 2020. In attendance at these meetings were at least the Sleep and Respiratory Care Business

   Leader (Management with Executive Responsibility) and Head of Quality (Management

   Representative)7— people who had the power to initiate change. Yet nothing was announced to

   the public until April 2021.

              375.     The seventh observation noted in the FDA Report is that “[p]rocedures to ensure

   that all purchased or otherwise received product and services conform to specified requirements

   have not been adequately established.” Under the “Observation 7” header, the FDA reported many

   damaging findings, focusing on the fact that Philips had not been performing adequate quality

   control checks on the components of its devices, including its Foam.



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       According to his LinkedIn page, Rodney Mell was Head of Quality at Philips Respironics at all relevant times.


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          376.    Tellingly, and particularly damagingly, the FDA stated that Philips had “no

   established data, documentation, or written agreement that clearly describes or references the

   quality requirements of [its] raw foam supplier, or the specified requirements of the raw material

   components they supply, including raw foam components/materials.”

          377.    The FDA found that this lack of standards had already come back to haunt Philips.

   A Supplier Corrective Action Request, initiated June 21, 2021, document that an incorrect and

   non-specified polyester polyurethane, raw foam product resulted in non-conforming Trilogy Evo

   ventilatory finished devices being approved, released, and distributed, which then had to be

   corrected. Philips had not documented previous “issues or concerns” with the foam supplier.

          378.    The eighth observation noted in the FDA Report is that “[p]otential consultants

   were not evaluated and selected based on their ability to meet specified requirements.” Under the

   “Observation 8” header, the FDA reported “consultants were not evaluated and selected based on

   their ability to meet specified requirements, including quality requirements. Additionally, this firm

   did not evaluate, select, and approve these consultants, as approved suppliers before utilizing their

   consulting services on the quality issue of polyester polyurethane foam degradation and CAPA

   7211.” The FDA further stated that potential consultants did not even fill out Philips’ required

   paperwork.

          379.    The FDA also expressed further concerns regarding the plan to replace the Foam in

   the recalled CPAP and BiPAP devices with a different, silicone-based foam, a plan that had already

   begun being implemented. The November 12 FDA Update stated:

          Following the initial recall, Philips Respironics developed a plan to repair the
          polyester-based polyurethane foam in the recalled CPAP and BiPAP devices with
          a different, silicone-based foam. The FDA initially approved this plan based, in
          part, on testing the company provided to the FDA in June on the new foam.
          However, during the manufacturing facility inspection, the FDA obtained
          additional information, not previously available to the agency, regarding the


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          silicone-based foam used in a singular, similar device marketed outside the U.S.,
          which failed one safety test for the release of certain chemicals of concern, called
          volatile organic compounds (VOCs). Similar testing provided by Philips
          Respironics to the FDA on devices authorized for marketing in the U.S. had
          demonstrated acceptable results. The FDA has requested that Philips Respironics
          retain an independent laboratory to perform additional testing to determine what, if
          any, potential safety risks may be posed to patients by the silicone-based foam.


          380.    Philips issued a press release on November 14, 2021 stating that “[s]ince June 2021,

   Philips Respironics and certified testing laboratories have been conducting a comprehensive test

   and research program on the PE-PUR foam to better assess and scope potential patient health risks,

   with support from appropriately qualified third-party experts.”

          381.    Van Houten is quoted in the press release as stating: “We will work closely with

   the FDA to clarify and follow up on the inspectional findings and its recent requests related to

   comprehensive testing. Until we have concluded these discussions, we are not able to publicly

   provide further details on these responses.”

          382.    On the news of Philips’ longstanding coverup, and the possible ineffectiveness of

   its replacement plan, Philips’ stock price fell $5.46 per share, or 11.5%, to close at $42.16 per

   share on Monday, November 15, 2021.

          383.    Analysts immediately apprehended the devastating nature of the FDA’s findings.

   On November 14, 2021, following a discussion with Company management about the FDA

   Report, Barclays published a Sunday report, concluding that Company “management’s awareness

   of potential foam degradation issues well in advance of corrective actions” raises “further

   questions around the quality management processes at Philips,” thus weighing on the value of the

   Company’s securities. Barclays stated it “await[ed] more detail” from Philips in the form of the

   FDA-mandated test results of the DreamStation, “anticipated later this quarter.”




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           384.    Also on November 14, 2021, J.P. Morgan published a report concluding that the

   issues raised in the FDA Report are “likely to raise perceived risk” of investing in the Company’s

   securities. J.P. Morgan noted that the FDA has asked the Company for independent test results of

   the silicone foam that is “being used in DreamStation 2 and in the repair/replace programme to

   replace the original polyurethane foam.” The report posits that “a negative outcome on further

   testing on the DreamStation foam degradation” is a downside risk, while “a positive outcome on

   further testing on the DreamStation foam degradation” is an upside risk.

           385.    On November 15, 2021, Deutsche Bank published a report attributing the

   November 15, 2021 share price decline to “the FDA’s publication of its 483 form submission to

   Philips,” which “only added to the uncertainty surrounding the sleep care product recall.” The

   Report noted that “Philips may have known about the deficiencies for several years” as one of the

   self-explanatory reasons for the “share price reaction.” The Report also noted that Philips is

   currently conducting independent testing that “aim[s] to determine the level of health risks (incl.

   potential carcinogenic effects) for patients that used the devices” subject to the June 14, 2021

   recall, “and they should greatly impact the potential extent of litigation. These test results are still

   expected to be announced in 4Q21.” The Report concluded that [i]n light of all of these

   uncertainties around the recall and the potential extent of litigation, [Deutsche Bank] continue[s]

   to find it difficult to get excited about” investing in the Company.

           386.    On November 19, 2021, following a discussion with Company management,

   Barclays published another report concluding that there remains “some uncertainty ahead of the

   detailed [DreamStation] results later this quarter.”




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          387.    As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

   in the market value of the Company’s securities, Plaintiff and other Class members have suffered

   significant losses and damages.

                                      Post-Class Period Developments

          388.    There have been countless articles written about Philips since the recall and

   subsequent FDA revelations.

          389.    Users bringing lawsuits against Philips have alleged they developed multiple types

   of cancers as a result of their use of the Devices, including Bladder Cancer, Brain Cancer, Breast

   Cancer, Kidney Cancer, Leukemia, Liver Cancer, Lung Cancer, Lymphatic Cancer, Multiple

   Myeloma, Papillary Carcinoma, non-Hodgkin lymphoma, Prostate Cancer, Stomach Cancer and

   Thyroid Cancer. The chemicals in the Foam include isocyanates, some of which are compounds

   classified as potential human carcinogens and known to cause cancer in animals, according to the

   Occupational Safety and Health Administration. Organ cancers are of particular risk with the

   relevant chemicals. They also cause asthma and lung problems and may have additional impact on

   the eyes, nose, throat and skin.

          390.    On December 23, 2021, Philips itself issued a press release to update the public

   about testing of only the first-generation DreamStation devices. In relevant part, the release

   downplayed the long-term health impact of the devices:

          Review of this assessment by an outside medical panel and Philips Respironics has
          determined that exposure to the level of VOCs identified to date for the first-
          generation DreamStation devices is not typically anticipated to result in long-term
          health consequences for patients:

          The update on these findings is intended to inform healthcare providers of the most
          recent data, but the overall guidance for physicians and patients in the recall
          notification remains unchanged at this time.
          At the time the recall notification was issued, Philips Respironics relied on an
          initial, limited data set and toxicological risk assessment. Since then, using ISO


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          18562 guidance, VOC toxicological risk assessments were performed by certified
          testing laboratories and a qualified third-party expert based on the initial and new
          VOC testing performed to date. Philips Respironics has made this data available to
          the FDA and other competent authorities and is in the process of sharing this data
          with healthcare providers and patients.

          391.    Philips again implied that ozone cleaners were to blame for earlier issues, stating:

   “It is important to note that the tested DreamStation devices were not exposed to ozone cleaning,

   in accordance with the instructions for use.”

          392.    At the time of this filing, Philips’ stock price had not recovered to where it was on

   November 12, 2021.

                               LOSS CAUSATION/ECONOMIC LOSS

          393.    During the Class Period, as detailed above, Philips and the Individual Defendants

   made false and misleading statements and engaged in a scheme to deceive the market and set a

   course of conduct that artificially inflated the prices of Philips’ securities, and operated as a fraud

   or deceit on Class Period purchasers of Philips securities by omitting information regarding the

   safety of the Company’s products.         Later, when Defendants’ prior misrepresentations and

   fraudulent conduct became known to the market, the price of Philips’ securities declined as the

   prior artificial inflation came out of the price over time. As a result of their purchases of Philips

   securities during the Class Period, Plaintiffs and other members of the Class suffered economic

   loss, i.e., damages, under the federal securities laws.

          394.    At all relevant times, Defendants’ materially false and misleading statements or

   omissions alleged herein directly or proximately caused the damages suffered by the Plaintiffs and

   other members of the Class.

          395.    As alleged in more detail supra at ¶¶ 304-15, on April 26, 2021, Philips revealed

   that it was taking a EUR 250 million provision to account for field repair on DreamStation devices.

   This did not tell the market nearly the full truth, but yet the market still negatively processed the


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   information that it had. Philips stock closed down $2.28 to end the day at $57.74 on April 26,

   2021.

           396.   As alleged in more detail supra at ¶¶ 316-41, on June 14, 2021, on the news that

   Philips was voluntarily instituting a recall of the Devices, Philips’ stock price fell $2.25 per share,

   or 3.98%, to close at $54.25 per share on June 14, 2021.

           397.   As alleged in more detail supra at ¶¶ 345-87, the Philips’ stock price took its biggest

   hit upon the news that the FDA had found that it had covered up years of complaints about the

   Devices, not informing the public or the FDA. The FDA also was not convinced Philips’

   replacement plan was adequate or the non-recalled products were safe. On that news, Philips’ stock

   price fell $5.46 per share, or 11.5%, to close at $42.16 per share on Monday, November 15, 2021.

                          PLAINTIFFS’ CLASS ACTION ALLEGATIONS

           398.   Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

   Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who purchased or otherwise

   acquired Philips securities during the Class Period (the “Class”); and were damaged upon the

   revelation of the alleged corrective disclosures. Excluded from the Class are Defendants herein,

   the officers and directors of the Company, at all relevant times, members of their immediate

   families and their legal representatives, heirs, successors or assigns and any entity in which

   Defendants have or had a controlling interest.

           399.   The members of the Class are so numerous that joinder of all members is

   impracticable. Throughout the Class Period, Philips securities were actively traded on the NYSE.

   While the exact number of Class members is unknown to Plaintiff at this time and can be

   ascertained only through appropriate discovery, Plaintiff believes that there are hundreds or

   thousands of members in the proposed Class. Record owners and other members of the Class may




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   be identified from records maintained by Philips or its transfer agent and may be notified of the

   pendency of this action by mail, using the form of notice similar to that customarily used in

   securities class actions.

           400.    Plaintiffs’ claims are typical of the claims of the members of the Class as all

   members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

   federal law that is complained of herein.

           401.    Plaintiff will fairly and adequately protect the interests of the members of the Class

   and has retained counsel competent and experienced in class and securities litigation. Plaintiff has

   no interests antagonistic to or in conflict with those of the Class.

           402.    Common questions of law and fact exist as to all members of the Class and

   predominate over any questions solely affecting individual members of the Class. Among the

   questions of law and fact common to the Class are:

                  whether the federal securities laws were violated by Defendants’ acts as alleged
                   herein;
                  whether statements made by Defendants to the investing public during the Class
                   Period misrepresented material facts about the business, operations and
                   management of Philips;
                  whether the Individual Defendants caused Philips to issue false and misleading
                   financial statements during the Class Period;
                  whether Defendants acted knowingly or recklessly in issuing false and misleading
                   financial statements;
                  whether the prices of Philips securities during the Class Period were artificially
                   inflated because of the Defendants’ conduct complained of herein; and
                  whether the members of the Class have sustained damages and, if so, what is the
                   proper measure of damages.

           403.    A class action is superior to all other available methods for the fair and efficient

   adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

   damages suffered by individual Class members may be relatively small, the expense and burden



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   of individual litigation make it impossible for members of the Class to individually redress the

   wrongs done to them. There will be no difficulty in the management of this action as a class action.

          404.    Plaintiff will rely, in part, upon the presumption of reliance established by the fraud-

   on-the-market doctrine in that:

                 Defendants made public misrepresentations or failed to disclose material facts
                  during the Class Period;
                 the omissions and misrepresentations were material;
                 Philips securities are traded in an efficient market;
                 the Company’s shares were liquid and traded with moderate to heavy volume
                  during the Class Period;
                 the Company traded on the NYSE and was covered by multiple analysts;
                 the misrepresentations and omissions alleged would tend to induce a reasonable
                  investor to misjudge the value of the Company’s securities; and
                 Plaintiff and members of the Class purchased, acquired and/or sold Philips
                  securities between the time the Defendants failed to disclose or misrepresented
                  material facts and the time the true facts were disclosed, without knowledge of the
                  omitted or misrepresented facts.

          405.    Based upon the foregoing, Plaintiff and the members of the Class are entitled to a

   presumption of reliance upon the integrity of the market.

          406.    Alternatively, Plaintiff and the members of the Class are entitled to the presumption

   of reliance established by the Supreme Court in Affiliated Ute Citizens of the State of Utah v.

   United States, 406 U.S. 128, 92 S. Ct. 2430 (1972), as Defendants omitted material information in

   their Class Period statements in violation of a duty to disclose such information, as detailed above.

                                          NO SAFE HARBOR

          407.    The statutory safe harbor provided for forward-looking statements under certain

   circumstances does not apply to any of the false or misleading statements pleaded herein. The

   statements alleged to be false or misleading herein all relate to then-existing facts and conditions.

   Additionally, to the extent certain of the statements alleged to be false may be characterized as



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   forward looking, they were not identified specifically as “forward-looking statements” when made,

   the statements were unaccompanied by specific or meaningful cautionary statements identifying

   important factors that could cause actual results to differ materially from those in the purportedly

   forward-looking statements.

           408.    In the alternative, to the extent that the statutory safe harbor is determined to apply

   to any forward-looking statements pleaded herein, Defendants are liable for those forward-looking

   statements because at the time each such statement was made, the speaker had actual knowledge,

   or recklessly disregarded the risk, that the forward-looking statement was materially false or

   misleading, and/or the forward-looking statement was authorized or approved by an executive

   officer of Philips who knew, or recklessly disregarded the risk, that the statement was false when

   it was made.

                                                 COUNT I

    (Violations of Section 10(b) of the Exchange Act and Rule 10b-5 Promulgated Thereunder
                                      Against All Defendants)

           409.    Plaintiff repeats and re-alleges each and every allegation contained above as if fully

   set forth herein.

           410.    This Count is asserted against Defendants and is based upon Section 10(b) of the

   Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder by the SEC.

           411.    During the Class Period, Defendants engaged in a plan, scheme, conspiracy and

   course of conduct, pursuant to which they knowingly or recklessly engaged in acts, transactions,

   practices and courses of business which operated as a fraud and deceit upon Plaintiff and the other

   members of the Class; made various untrue statements of material facts and omitted to state

   material facts necessary in order to make the statements made, in light of the circumstances under

   which they were made, not misleading; and employed devices, schemes and artifices to defraud in



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   connection with the purchase and sale of securities. Such scheme was intended to, and, throughout

   the Class Period, did: (i) deceive the investing public, including Plaintiff and other Class members,

   as alleged herein; (ii) artificially inflate and maintain the market price of Philips securities; and

   (iii) cause Plaintiff and other members of the Class to purchase or otherwise acquire Philips

   securities and options at artificially inflated prices. In furtherance of this unlawful scheme, plan

   and course of conduct, Defendants, and each of them, took the actions set forth herein.

          412.    Pursuant to the above plan, scheme, conspiracy and course of conduct, each of the

   Defendants participated directly or indirectly in the preparation and/or issuance of the quarterly

   and annual reports, SEC filings, press releases and other statements and documents described

   above, including statements made to securities analysts and the media that were designed to

   influence the market for Philips securities. Such reports, filings, releases and statements were

   materially false and misleading in that they failed to disclose material adverse information and

   misrepresented the truth about Philips’ finances and business prospects.

          413.     By virtue of their positions at Philips, Defendants had actual knowledge of the

   materially false and misleading statements and material omissions alleged herein and intended

   thereby to deceive Plaintiff and the other members of the Class, or, in the alternative, Defendants

   acted with reckless disregard for the truth in that they failed or refused to ascertain and disclose

   such facts as would reveal the materially false and misleading nature of the statements made,

   although such facts were readily available to Defendants. Said acts and omissions of Defendants

   were committed willfully or with reckless disregard for the truth. In addition, each Defendant

   knew or recklessly disregarded that material facts were being misrepresented or omitted as

   described above.




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           414.    Information showing that Defendants acted knowingly or with reckless disregard

   for the truth is peculiarly within Defendants’ knowledge and control. As the senior managers

   and/or directors of Philips, the Individual Defendants had knowledge of the details of Philips’

   internal affairs.

           415.    The Individual Defendants are liable both directly and indirectly for the wrongs

   complained of herein.      Because of their positions of control and authority, the Individual

   Defendants were able to and did, directly or indirectly, control the content of the statements of

   Philips. As officers and/or directors of a publicly-held company, the Individual Defendants had a

   duty to disseminate timely, accurate, and truthful information with respect to Philips’ businesses,

   operations, future financial condition and future prospects. As a result of the dissemination of the

   aforementioned false and misleading reports, releases and public statements, the market price of

   Philips securities was artificially inflated throughout the Class Period. In ignorance of the adverse

   facts concerning Philips’ business and financial condition which were concealed by Defendants,

   Plaintiff and the other members of the Class purchased or otherwise acquired Philips securities at

   artificially inflated prices and relied upon the price of the securities, the integrity of the market for

   the securities and/or upon statements disseminated by Defendants, and were damaged thereby.

           416.    During the Class Period, Philips securities were traded on an active and efficient

   market. Plaintiff and the other members of the Class, relying on the materially false and misleading

   statements described herein, which the Defendants made, issued or caused to be disseminated, or

   relying upon the integrity of the market, purchased or otherwise acquired shares of Philips

   securities at prices artificially inflated by Defendants’ wrongful conduct. Had Plaintiff and the

   other members of the Class known the truth, they would not have purchased or otherwise acquired

   said securities, or would not have purchased or otherwise acquired them at the inflated prices that




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   were paid. At the time of the purchases and/or acquisitions by Plaintiff and the Class, the true

   value of Philips securities was substantially lower than the prices paid by Plaintiff and the other

   members of the Class. The market price of Philips securities declined sharply upon public

   disclosure of the facts alleged herein to the injury of Plaintiff and Class members.

             417.   By reason of the conduct alleged herein, Defendants knowingly or recklessly,

   directly or indirectly, have violated Section 10(b) of the Exchange Act and Rule 10b-5

   promulgated thereunder.

             418.   As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and the

   other members of the Class suffered damages in connection with their respective purchases,

   acquisitions and sales of the Company’s securities during the Class Period, upon the disclosure

   that the Company had been disseminating misrepresented financial statements to the investing

   public.

                                                COUNT II

       (Violations of Section 20(a) of the Exchange Act Against the Individual Defendants)

             419.   Plaintiff repeats and re-alleges each and every allegation contained in the foregoing

   paragraphs as if fully set forth herein.

             420.   During the Class Period, the Individual Defendants participated in the operation

   and management of Philips, and conducted and participated, directly and indirectly, in the conduct

   of Philips’ business affairs. Because of their senior positions, they knew the adverse non-public

   information about Philips’ misstatement of income and expenses and false financial statements.

             421.   As officers and/or directors of a publicly owned company, the Individual

   Defendants had a duty to disseminate accurate and truthful information with respect to Philips’

   financial condition and results of operations, and to correct promptly any public statements issued

   by Philips which had become materially false or misleading.


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             422.   Van Houten was Philips’ Chief Executive Officer and Chairman of the Board of

   Management and the Executive Committee at all relevant times and frequently spoke on behalf of

   the Company. Bhattacharya was a Member of the Executive Committee at all relevant times, Chief

   Financial Officer since October 12, 2015, and a Member of the Board of Management since

   December 18, 2015. He too frequently spoke on behalf of the Company.

             423.   As documented above, each was at meetings about quality control during the Class

   Period.

             424.   Because of their positions of control and authority as senior officers, the Individual

   Defendants were able to, and did, control the contents of the various reports, press releases and

   public filings which Philips disseminated in the marketplace during the Class Period concerning

   Philips’ results of operations. Throughout the Class Period, the Individual Defendants exercised

   their power and authority to cause Philips to engage in the wrongful acts complained of herein.

   The Individual Defendants, therefore, were “controlling persons” of Philips within the meaning of

   Section 20(a) of the Exchange Act. In this capacity, they participated in the unlawful conduct

   alleged which artificially inflated the market price of Philips securities.

             425.   Each of the Individual Defendants, therefore, acted as a controlling person of

   Philips. By reason of their senior management positions and/or being directors of Philips, each of

   the Individual Defendants had the power to direct the actions of, and exercised the same to cause,

   Philips to engage in the unlawful acts and conduct complained of herein. Each of the Individual

   Defendants exercised control over the general operations of Philips and possessed the power to

   control the specific activities which comprise the primary violations about which Plaintiff and the

   other members of the Class complain.




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          426.    By reason of the above conduct, the Individual Defendants are liable pursuant to

   Section 20(a) of the Exchange Act for the violations committed by Philips.

                                       PRAYER FOR RELIEF

                 WHEREFORE, Plaintiff demands judgment against Defendants as follows:

          A.     Determining that the instant action may be maintained as a class action under Rule

   23 of the Federal Rules of Civil Procedure, and certifying Plaintiff as the Class representative;

          B.     Requiring Defendants to pay damages sustained by Plaintiff and the Class by reason

   of the acts and transactions alleged herein;

          C.     Awarding Plaintiff and the other members of the Class prejudgment and post-

   judgment interest, as well as their reasonable attorneys’ fees, expert fees and other costs; and

          D.     Awarding such other and further relief as this Court may deem just and proper.

                                  DEMAND FOR TRIAL BY JURY

          Plaintiff hereby demands a trial by jury.

   Dated: January 3, 2022                             Respectfully submitted,

                                                      POMERANTZ LLP

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